Case 20-50527-LSS   Doc 112-1   Filed 11/05/20   Page 1 of 95




                    EXHIBIT A
FILED: KINGS COUNTY CLERK 10/21/2019 12:03 PM                                                                                                                                                                INDEX NO. 522910/2019
NYSCEF DOC. NO. 1                     Case 20-50527-LSS                                          Doc 112-1                     Filed 11/05/20                              PageRECEIVED
                                                                                                                                                                                2 of 95 NYSCEF: 10/21/2019



          SUPREME                     COURT                 OF THE                STATE              OF     NEW YORK
          COUNTY                  OF KINGS
          --------------------------------------------------------------------X                                                                                                  SUMMONS
          M.R.,
                                                                                                                                                  Index             No.:            522910 /19
                                                                              Plaintiff,                                                          Date         Purchased:               10/21 /19
                  -against-

                                                                                                                                                  Plaintiff's                designates                  Kings          County
          BOY          SCOUTS                 OF AMERICA;                             NATIONAL                        BOY                         as the        place            of    trial.

          SCOUTS               OF AMERICA                               FOUNDATION;                           SCOUTS
          BSA;          GREATER                     NEW YORK                         COUNCILS,                        BOY                         The        basis          of    venue            is:

          SCOUTS               OF AMERICA;                               GREATER                     NEW YORK                                     Principal                Place           of    Business               of

          COUNCILS,                        QUEENS                 COUNCIL,                     BOY         SCOUTS               OF                defendant                 Diocese                Of        Brooklyn

          AMERICA;                    DIOCESE                      OF BROOKLYN;                             ST.
          BENEDICT                     JOSEPH                    LABRE   CHURCH;                            ST.                                   County               of New                York
          BENEDICT                    JOSEPH                     LABRE             SCHOOL;                 and        JAMES          T.
          GRACE             JR.                                                                                                                   The        principal                place         of business                   of
                                                                                                                                                  defendant                 Diocese                Of        Brooklyn              is
                                                                              Defendants.                                                         310        Prospect                 Park        West
          --------------------------------------------------------------------X                                                                   Brooklyn,                 NY          11215



          To      the      above               named                   Defendants:


                         You          are      hereby              summoned                     to    answer           the     complaint                in   this         action,            and        to     serve         a copy
          of    your        answer,                or,      if    the      complaint                 is    not        served        with         this        summons,                   to       serve              a notice            of
          appearance                  on     the         plaintiff's              attorneys,              within        twenty            days      after           the      service               of        this     summons
          exclusive            of      the     day          of    service,            where          service           is    made         by     delivery              upon           you         personally                 within
         the      state,         or    within              30      days           after        completion               of     service         where            service               is     made              in     any      other
         manner.            In        case      of         your         failure           to    appear           or    answer,           judgment               will         be        taken            against             you         by
         default         for     the       relief         demanded                 in the        complaint.


         Dated:         Brooklyn,                  New           York

                         October             21,         2019




                                                                                                                                                             Bonina,              Es         .
                                                                                                                                                 BONINA                   & BONINA,                           P.C.
                                                                                                                                               'Attorneys                  for    Plaintiff
                                                                                                                                                 16 Court              Street,             Suite         1800

                                                                                                                                                 Brooklyn,                 New          York             11241
                                                                                                                                                 Phone         No.:          (718)              522-1786




         {00164062}




                                                                                                              1 of 35
FILED: KINGS COUNTY CLERK 10/21/2019 12:03 PM                                                                                   INDEX NO. 522910/2019
NYSCEF DOC. NO. 1             Case 20-50527-LSS                                 Doc 112-1            Filed 11/05/20   PageRECEIVED
                                                                                                                           3 of 95 NYSCEF: 10/21/2019




          TO:



                 Boy        Scouts         of    America
                  1325       West        Walnut          Hill       Lane

                 Irving,        TX       75015


                 National            Boy        Scouts       of     America        Foundation
                 1325        West        Walnut          Hill       Lane

                 Irving,       TX        75015


                 Scouts        BSA
                 1325        West        Walnut          Hill       Lane

                 Irving,       TX        75015


                 Greater           New       York        Councils,           Boy    Scouts      of America
                 475       Riverside            Drive        Suite     600
                 New        York,        NY       10115


                 Greater           New       York        Councils,           Queens     Council,      Boy
                 Scouts        of America
                 475       Riverside            Drive        Suite     600
                 New        York,        NY       10115


                 Diocese           of    Brooklyn
                 310       Prospect          Park       West

                 Brooklyn,              NY       11215


                 St.    Benedict           Joseph           Labre      Church
                 94-40        118th        Street
                 South       Richmond               Hill,       NY     11418


                 St.   Benedict            Joseph           Labre      School
                 94-40        118th        Street
                 South       Richmond               Hill,       NY     11418


                 James        T.     Grace        Jr.
                 180       Thacker         Road
                Rural        Hall,       NC      27045-9629




         {00164062}




                                                                                         2 of 35
FILED: KINGS COUNTY CLERK 10/21/2019 12:03 PM                                                                                                                                                          INDEX NO. 522910/2019
NYSCEF DOC. NO. 1                         Case 20-50527-LSS                                            Doc 112-1                     Filed 11/05/20                             PageRECEIVED
                                                                                                                                                                                     4 of 95 NYSCEF: 10/21/2019




               SUPREME                       COURT                    OF           THE             STATE              OF         NEW          YORK
               COUNTY                     OF KINGS
                                                                                                                                            -------X

               M.R.,

                                                                                         Plaintiff,
                       -against-



               BOY         SCOUTS                    OF AMERICA;                               NATIONAL                     BOY           SCOUTS
                                                                                                                                                                     VERIFIED                   COMPLAINT
               OF AMERICA                           FOUNDATION;                                    SCOUTS                 BSA;          GREATER
               NEW YORK                            COUNCILS,                        BOY               SCOUTS               OF       AMERICA;
               GREATER                     NEW YORK                             COUNCILS,                       QUEENS               COUNCIL,
               BOY                  SCOUTS                            OF            AMERICA;                               DIOCESE                     OF           Index        No.:      522910 /2019
               BROOKLYN;                           ST.         BENEDICT                       JOSEPH                LABRE               CHURCH;
               ST.     BENEDICT                      JOSEPH                     LABRE                 SCHOOL;                and        JAMES            T.

               GRACE                 JR.



                                                                                       Defendants.
               -------------                                        ----¬-----------------                                       --------------X




                           Plaintiff,               by        and      through               his      attorneys,            BONINA                 & BONINA,                     P.C.,     complaining                of     the


          defendants                     herein,          as     and         for       his     Verified               Complaint             in     the        above        entitled        action,           respectfully


          shows           to this           Court,            and      alleges            upon         information                and      belief,       as follows:




                               1.             That            prior        to    the         service           of   this     Summons                 &    Complaint,                plaintiff          has     purchased


          Index         Number                       522910                                   /19      from         the     Supreme           Court           of    the     State       of New         York,        County


          of     Kings,             in    accordance                  with         the       requirements                  of the        CPLR.




                           2.                 This            case     falls       within             one      or more           of the      exceptions               to    CPLR          1602.




                                                                                             NATURE                   OF     THE          ACTION



                           3.                This             is a case          brought              by      M.R.,        who       was      a member                of the        Cub    Scouts        and       the      Boy


          Scouts           Troop            273          in     South           Richmond                    Hill,     New         York,       during           the       time     that     defendant             James        T.


          Grace          Jr.        was      Scout             Master.             Plaintiff               M.R.       was        also     a member                 and     parishioner            of    defendant            St.




          {00164060}


                                                                                                                      3 of 35
FILED: KINGS COUNTY CLERK 10/21/2019 12:03 PM                                                                                                                                                           INDEX NO. 522910/2019
NYSCEF DOC. NO. 1                    Case 20-50527-LSS                                          Doc 112-1                         Filed 11/05/20                                PageRECEIVED
                                                                                                                                                                                     5 of 95 NYSCEF: 10/21/2019




          Benedict             Joseph            Labre             Church,             and        a student                at    defendant                   St.     Benedict            Joseph         Labre       School,


          through             which        defendant                  James            T.      Grace            Jr.     gained             access            to      young         boys,       including           plaintiff



          M.R.,       through            their           Catholic           Youth             Organization                      (CYO)         sports               programs.


                         4.              As         a boy          between              the       ages         of     seven        and        eighteen,               plaintiff          and    his     family         placed


          their     trust       in     defendants,                  participating                    in      their      Cub        Scouts              and         Boy         Scouts        programs           as well         as


          their      CYO             Sports          Programs.                     The        defendants                   violated            that          trust        by      sexually        and      emotionally


          abusing             M.R.        and             others          like      him,            whose             care,       safety             and           personal            development               had     been


          entrusted            to them,             and       by    permitting                 such          abuse         to occur           on their               watch.


                         5.              With              the     passage             of     the       Child          Victims             Act,        those          who         have       endured        such        abuse


          need      no        longer          be         silent.       The         Child            Victims             Act       revives              previously                 barred       claims       (see       CPLR


          214-g),           creating           a one               year          window              within            which          to      file       such            claims         beginning          August              14,


          2019.       As       such,       this           claim       is timely.


                                                                                                        THE            PARTIES



                         6.              At        all     times       mentioned                    herein,           Defendant               BOY             SCOUTS                   OF AMERICA                  was     and


         is a congressionally                             chartered              corporation                 with       headquarters                    in     Irving,          Texas.


                         7.              At        all     times       mentioned                    herein,           Defendant               BOY             SCOUTS                   OF AMERICA                  was     and


         is authorized                 to do business                     in New             York,            and      does       business              in New             York.


                         8.              At         all       times          mentioned                       herein,            Defendant                  NATIONAL                        BOY          SCOUTS                 OF


         AMERICA                       FOUNDATION                                  was            and          is      a        congressionally                           chartered             corporation               with


         headquarters                  in Irving,                Texas.


                         9.              At         all       times          mentioned                       herein,            Defendant                  NATIONAL                        BOY          SCOUTS                 OF


         AMERICA                     FOUNDATION                                  was        and         is     authorized                to       do         business             in    New       York,          and      does


         business             in New          York.




         {00164060}                                                                                                     2



                                                                                                                4 of 35
FILED: KINGS COUNTY CLERK 10/21/2019 12:03 PM                                                                                                                                               INDEX NO. 522910/2019
NYSCEF DOC. NO. 1                Case 20-50527-LSS                                           Doc 112-1                      Filed 11/05/20                        PageRECEIVED
                                                                                                                                                                       6 of 95 NYSCEF: 10/21/2019




                         10.           At          all        times          mentioned                   herein,            Defendant                SCOUTS               BSA         was        and      is       a



          congressionally                   chartered               corporation               with        headquarters                 in Irving,       Texas.


                         11.           At      all       times        mentioned               herein,              Defendant           SCOUTS               BSA      was        and       is authorized        to


          do    business         in New               York,          and     does      business               in New           York.


                         12.           At      all        times       mentioned                herein,             Defendant            GREATER                  NEW YORK                    COUNCILS,


          BOY         SCOUTS                  OF          AMERICA                    was           and        is    a    New        York        corporation,               organized            under        and



          existing        by    virtue         of the          laws         of the         State     of New              York.


                         13.           At      all       times        mentioned                herein,             Defendant            GREATER                  NEW YORK                    COUNCILS,


          BOY         SCOUTS                  OF         AMERICA                   was        and        is        a not     for    profit      corporation,                organized            under       and



          existing        by    virtue         of the          laws         of the         State     of New              York.


                         14.             At     all       times        mentioned               herein,             Defendant            GREATER                  NEW YORK                    COUNCILS,


          BOY        SCOUTS                 OF        AMERICA,                     was        and        is    an       organization           operating            in    and     doing        business        in


          the   State      of New             York.


                        15.            At      all       times        mentioned               herein,              Defendant            GREATER                  NEW YORK                    COUNCILS,


          QUEENS               COUNCIL,                       BOY            SCOUTS                  OF        AMERICA                  was      and        is    a New          York         corporation,


          organized            under        and          existing           by    virtue       of the          laws        of the      State    of New            York.


                        16.            At      all       times        mentioned               herein,              Defendant            GREATER                  NEW YORK                    COUNCILS,


          QUEENS               COUNCIL,                      BOY            SCOUTS                 OF         AMERICA                  was     and     is    a not        for    profit       corporation,


          organized            under        and          existing           by    virtue       of the          laws        of the      State    of New            York.


                        17.              At     all       times        mentioned               herein,             Defendant            GREATER                  NEW YORK                    COUNCILS,


          QUEENS               COUNCIL,                     BOY             SCOUTS                 OF AMERICA,                         was     and     is    an    organization               operating        in


          and    doing         business            in the           State        of New        York.




          {00164060}                                                                                                 3



                                                                                                              5 of 35
FILED: KINGS COUNTY CLERK 10/21/2019 12:03 PM                                                                                                                                INDEX NO. 522910/2019
NYSCEF DOC. NO. 1                    Case 20-50527-LSS                              Doc 112-1                   Filed 11/05/20                       PageRECEIVED
                                                                                                                                                          7 of 95 NYSCEF: 10/21/2019




                          18.           At    all    times         mentioned          herein,       Defendant               GREATER                 NEW YORK                    COUNCILS,


          BOY        SCOUTS                  OF     AMERICA                 was     and      is under          the    supervision             of    and     granted        certain       powers


          duties          and        obligations             by,     defendants             BOY          SCOUTS                  OF     AMERICA,                  NATIONAL                    BOY


          SCOUTS                OF AMERICA                    FOUNDATION,                       and/or         SCOUTS             BSA.


                          19.           At    all    times         mentioned          herein,       Defendant               GREATER                 NEW YORK                    COUNCILS,


          BOY        SCOUTS                  OF AMERICA                  was       and      is licensed          to   operate          by    defendants           BOY           SCOUTS         OF


          AMERICA,                    NATIONAL                     BOY        SCOUTS              OF      AMERICA                     FOUNDATION,                      and/or        SCOUTS


          BSA.


                          20.           At    all    times         mentioned          herein,       Defendant               GREATER                 NEW YORK                    COUNCILS,


          BOY        SCOUTS                  OF AMERICA                  was       and      is authorized             to    operate         the    Boy     Scouts        organizations             in


          the      City         of    New         York,        by     defendants              BOY         SCOUTS                 OF      AMERICA,                 NATIONAL                    BOY


          SCOUTS                OF AMERICA                    FOUNDATION,                       and/or         SCOUTS             BSA.


                          21.           At    all   times          mentioned          herein,       Defendant               GREATER                 NEW YORK                    COUNCILS,


          QUEENS                 COUNCIL,                 BOY        SCOUTS              OF     AMERICA                    was    and       is under        the      supervision         of    and


          granted          certain         powers          duties       and       obligations            by,     defendants             BOY          SCOUTS             OF       AMERICA,


          NATIONAL                      BOY           SCOUTS                  OF      AMERICA                    FOUNDATION,                             SCOUTS             BSA,          and/or


          GREATER                    NEW YORK                 COUNCILS,                  QUEENS                COUNCIL,                BOY         SCOUTS            OF AMERICA.


                          22.           At    all   times          mentioned          herein,       Defendant               GREATER                 NEW YORK                    COUNCILS,


          QUEENS                 COUNCIL,                 BOY          SCOUTS                OF     AMERICA.                     was        and     is    licensed         to      operate      by


          defendants                 BOY          SCOUTS              OF       AMERICA,                  NATIONAL                      BOY          SCOUTS               OF      AMERICA


          FOUNDATION,                         SCOUTS                 BSA,          and/or       GREATER                     NEW          YORK             COUNCILS,                  QUEENS


          COUNCIL,                   BOY      SCOUTS                OF AMERICA.




          {00164060}


                                                                                                6 of 35
FILED: KINGS COUNTY CLERK 10/21/2019 12:03 PM                                                                                                                                         INDEX NO. 522910/2019
NYSCEF DOC. NO. 1                      Case 20-50527-LSS                                       Doc 112-1                      Filed 11/05/20                 PageRECEIVED
                                                                                                                                                                  8 of 95 NYSCEF: 10/21/2019




                           23.               At     all     times         mentioned              herein,          Defendant             GREATER            NEW YORK                     COUNCILS,


          QUEENS                      COUNCIL,                   BOY             SCOUTS           OF AMERICA                       was     and     is authorized           to     operate         the     Boy


          Scouts           organizations                    in     the       City      of     New         York,          by   defendants          BOY        SCOUTS              OF        AMERICA,


          NATIONAL                           BOY             SCOUTS                    OF        AMERICA                      FOUNDATION,                     SCOUTS                  BSA,             and/or


          GREATER                      NEW YORK                        COUNCILS,                  QUEENS                  COUNCIL,              BOY      SCOUTS             OF AMERICA.


                           24.               Upon         information                  and     belief,       at all       times     mentioned           herein,        Defendant              DIOCESE


          OF BROOKLYN                               was          and       still     is a religious               corporation            duly     organized         under         and        existing        by


          virtue       of the           laws      of      the     State           of New       York.


                           25.               Upon         information                  and     belief,       at all       times     mentioned           herein,        Defendant              DIOCESE


          OF BROOKLYN                               was          and      still      is a not       for     profit        corporation           duly    organized          under         and      existing


          by      virtue         of    the     laws       of the          State       of New         York.


                           26.               Upon         information                  and     belief,       at all       times     mentioned           herein,      Defendant                DIOCESE


          OF       BROOKLYN                           was        and        still     is     a religious             organization           operating         within        the       State       of     New


          York.


                           27.               Upon         information                  and     belief,       at all       times     mentioned           herein,      Defendant               DIOCESE


          OF BROOKLYN                               was         and      still      is a religious           organization               doing     business        within        the     State      of New


          York.


                           28.               Upon         information                  and     belief,       at all       times     mentioned           herein,      Defendant               DIOCESE


          OF       BROOKLYN                           owned            ST.          BENEDICT                JOSEPH                LABRE          CHURCH,               located        in      Richmond



          Hill,      New          York.


                           29.               Upon         information                  and     belief,       at all       times     mentioned           herein,      Defendant               DIOCESE


          OF BROOKLYN                               operated               ST.       BENEDICT                 JOSEPH              LABRE           CHURCH,              located          in    Richmond



          Hill,      New          York.




          {00164060}                                                                                                 5



                                                                                                           7 of 35
FILED: KINGS COUNTY CLERK 10/21/2019 12:03 PM                                                                                                                     INDEX NO. 522910/2019
NYSCEF DOC. NO. 1                Case 20-50527-LSS                               Doc 112-1                Filed 11/05/20                    PageRECEIVED
                                                                                                                                                 9 of 95 NYSCEF: 10/21/2019




                        30.            Upon       information              and   belief,      at all     times    mentioned             herein,     Defendant           DIOCESE


          OF      BROOKLYN                       maintained                ST.    BENEDICT                  JOSEPH                LABRE           CHURCH,               located        in


          Richmond             Hill,    New        York.


                        31.            Upon       information              and   belief,      at all     times    mentioned             herein,     Defendant           DIOCESE


          OF      BROOKLYN                       supervised               ST.     BENEDICT                  JOSEPH                LABRE           CHURCH,               located        in


          Richmond             Hill,    New        York.


                        32.            Upon       information              and   belief,      at all     times    mentioned             herein,     Defendant           DIOCESE


          OF BROOKLYN                         controlled            ST.   BENEDICT              JOSEPH            LABRE            CHURCH,           located      in Richmond



          Hill,   New         York.


                        33.            Upon       information              and   belief,      at all     times    mentioned             herein,     Defendant           DIOCESE


          OF      BROOKLYN                      held       itself          out    as       owning,         operating,             maintaining,         supervising            and/or



          controlling           ST.    BENEDICT                 JOSEPH           LABRE           CHURCH,                located       in Richmond         Hill,        New    York.


                        34.            Upon       information              and   belief,      at all     times    mentioned             herein,     Defendant           DIOCESE


          OF      BROOKLYN                     owned        ST.       BENEDICT                JOSEPH             LABRE            SCHOOL,           located       in    Richmond



          Hill,   New         York.


                        35.            Upon       information              and   belief,      at all     times    mentioned             herein,     Defendant           DIOCESE


          OF      BROOKLYN                    operated         ST.        BENEDICT             JOSEPH            LABRE             SCHOOL,          located       in    Richmond



          Hill,   New         York.


                        36.            Upon       information              and   belief,      at all     times    mentioned             herein,     Defendant           DIOCESE


          OF      BROOKLYN                       maintained                ST.    BENEDICT                  JOSEPH                LABRE           SCHOOL,               located        in


         Richmond             Hill,     New       York.




          {00164060}                                                                                 6



                                                                                             8 of 35
FILED: KINGS COUNTY CLERK 10/21/2019 12:03 PM                                                                                                                                         INDEX NO. 522910/2019
NYSCEF DOC. NO. 1               Case 20-50527-LSS                                     Doc 112-1                    Filed 11/05/20                         Page RECEIVED
                                                                                                                                                               10 of 95 NYSCEF: 10/21/2019




                         37.           Upon        information                 and      belief,         at all    times             mentioned         herein,       Defendant                DIOCESE


          OF BROOKLYN                         supervised               ST.     BENEDICT                    JOSEPH                   LABRE         SCHOOL,                located        in   Richmond



          Hill,   New          York.


                         38.           Upon        information                 and      belief,         at all    times             mentioned         herein,       Defendant                DIOCESE


          OF BROOKLYN                         controlled               ST.    BENEDICT                    JOSEPH                LABRE             SCHOOL,            located           in    Richmond



          Hill,   New          York.


                         39.           Upon        information                 and      belief,         at all    times             mentioned         herein,       Defendant                DIOCESE


          OF      BROOKLYN                      held          itself           out       as       owning,              operating,               maintaining,               supervising            and/or



          controlling           ST.       BENEDICT                 JOSEPH               LABRE              SCHOOL,                   located       in Richmond               Hill,      New      York.


                        40.            Upon         information                  and       belief,          at    all        times          mentioned           herein,            Defendant             ST.


         BENEDICT                  JOSEPH            LABRE                  CHURCH                was      and      still       is a religious            corporation                duly    organized


          under     and        existing       by    virtue         of the        laws      of the         State        of New           York.


                        41.            Upon         information                  and       belief,          at    all        times          mentioned           herein,            Defendant             ST.


         BENEDICT                  JOSEPH              LABRE                 CHURCH                  was         and        still      is    a not      for     profit        corporation            duly


         organized             under      and      existing            by    virtue      of the         laws      of the            State    of New       York.


                        42.            Upon         information                  and       belief,          at    all        times          mentioned           herein,            Defendant             ST.


         BENEDICT                  JOSEPH              LABRE                 CHURCH                  was         and        still      is   a religious           organization                operating


         within         the    State      of New        York.


                        43.            Upon         information                  and       belief,          at    all        times          mentioned           herein,            Defendant             ST.


         BENEDICT                 JOSEPH             LABRE                  CHURCH                was      and     still       is a religious           organization                 doing     business


         within         the    State      of New        York.




         {00164060}                                                                                         7



                                                                                                     9 of 35
FILED: KINGS COUNTY CLERK 10/21/2019 12:03 PM                                                                                                                            INDEX NO. 522910/2019
NYSCEF DOC. NO. 1             Case 20-50527-LSS                                Doc 112-1                        Filed 11/05/20                       Page RECEIVED
                                                                                                                                                          11 of 95 NYSCEF: 10/21/2019




                       44.            Upon         information               and      belief,           at      all     times          mentioned         herein,      Defendant          ST.


          BENEDICT                   JOSEPH          LABRE          CHURCH                  owned              ST.      BENEDICT                JOSEPH         LABRE         SCHOOL,


          located       in Richmond               Hill,      New    York.


                       45.            Upon         information               and      belief,           at      all     times          mentioned         herein,      Defendant          ST.


          BENEDICT                    JOSEPH               LABRE             CHURCH                     operated                ST.        BENEDICT                JOSEPH         LABRE


          SCHOOL,             located        in   Richmond           Hill,         New      York.


                       46.            Upon         information               and      belief,           at      all     times          mentioned         herein,      Defendant          ST.


          BENEDICT                   JOSEPH               LABRE           CHURCH                   maintained                    ST.       BENEDICT                JOSEPH         LABRE


          SCHOOL,            located         in Richmond             Hill,         New     York.


                       47.            Upon         information               and      belief,           at      all     times          mentioned         herein,      Defendant          ST.


          BENEDICT                   JOSEPH               LABRE           CHURCH                    supervised                   ST.       BENEDICT                JOSEPH         LABRE


          SCHOOL,            located         in   Richmond           Hill,         New     York.


                       48.            Upon         information               and      belief,           at     all      times          mentioned         herein,      Defendant          ST.


          BENEDICT                   JOSEPH               LABRE           CHURCH                       controlled                ST.       BENEDICT                JOSEPH         LABRE


          SCHOOL,            located         in Richmond             Hill,         New     York.


                       49.            Upon        information                and      belief,           at     all      times          mentioned        herein,       Defendant          ST.


         BENEDICT                    JOSEPH          LABRE           CHURCH                     held         itself        out        as   owning,      operating,        maintaining,


         supervising             and/or           controlling           ST.         BENEDICT                           JOSEPH              LABRE         SCHOOL,            located        in


         Richmond            Hill,     New        York.


                       50.            Upon        information                and      belief,           at     all      times          mentioned        herein,       Defendant          ST.


         BENEDICT                JOSEPH            LABRE           SCHOOL                was       and         still    is a corporation              duly   organized       under       and



         existing       by   virtue       of the          laws   of the       State      of New              York.




         {00164060}                                                                                     8



                                                                                            10 of 35
FILED: KINGS COUNTY CLERK 10/21/2019 12:03 PM                                                                                                                                                         INDEX NO. 522910/2019
NYSCEF DOC. NO. 1               Case 20-50527-LSS                                     Doc 112-1                           Filed 11/05/20                               Page RECEIVED
                                                                                                                                                                            12 of 95 NYSCEF: 10/21/2019




                         51.            Upon        information                  and          belief,          at         all        times             mentioned                 herein,          Defendant               ST.


          BENEDICT                     JOSEPH              LABRE               SCHOOL                   was         and            still      is        a    not     for        profit         corporation               duly


          organizedunderand                       existing            by     virtue       of the          laws        of the               State         of New         York.


                         52.            Upon        information                  and          belief,          at         all        times             mentioned                 herein,          Defendant               ST.


          BENEDICT                  JOSEPH              LABRE               SCHOOL                  was       and          still        is    a school              operating              within          the    State     of


          New       York.


                         53.            Upon        information                  and       belief,             at     all            times             mentioned                 herein,          Defendant               ST.


          BENEDICT                  JOSEPH              LABRE               SCHOOL                  regularly               conducted                       business            within         the     State       of    New


          York.


                         54.            Upon       information                  and       belief,          defendant                        JAMES              T.      GRACE                JR.       is    currently           a


         resident         of the       Town        of      Rural       Hall,      Forsyth             County,                   State        of North              Carolina.


                         55.            From        1977            through             1982,           and         for          a      considerable                   period             of      time         prior      and


          subsequent             thereto,        defendant                 JAMES              T.     GRACE                      JR.        was         resident         of       the      County            of    Queens,



          City     and      State      of New           York.


                         56.            From        1977            through             1982,           and         for          a      considerable                   period             of      time         prior      and


          subsequent            thereto,         defendant             JAMES             T.        GRACE              JR.            was      affiliated             with        Boy       Scouts           Troop        273,


         locatedin             Richmond            Hill,        Queens,          New          York.



                         57.           From       1978          through          1986,          defendant                  JAMES                   T.       GRACE               JR.      was    the        Scoutmaster


         for      Boy     Scouts         Troop          273,        as well       as Cub             Scouts               Pack             273,         located        in       Richmond              Hill,       Queens,


         New        York.


                         58.           For     several              years       prior          to       1978          defendant                        JAMES               T.     GRACE                  JR.     was      the


         assistant          Scoutmaster                 for     Boy         Scouts        Troop            273,            as        well         as     Cub        Scouts             Pack       273,         located      in


         Richmond              Hill,     Queens,              New     York.




          {00164060}                                                                                           9



                                                                                                     11 of 35
FILED: KINGS COUNTY CLERK 10/21/2019 12:03 PM                                                                                                                                                         INDEX NO. 522910/2019
NYSCEF DOC. NO. 1                  Case 20-50527-LSS                                        Doc 112-1                            Filed 11/05/20                        Page RECEIVED
                                                                                                                                                                            13 of 95 NYSCEF: 10/21/2019




                        59.              From               1977        through                 1982,          and         for         a    considerable                period            of     time         prior         and


          subsequent                thereto,           Boy         Scouts           Troop         273          as well            as Cub           Scouts           Pack    273          operated             within        the


          confines            of      and       on      the         premises               of     ST.          BENEDICT                       JOSEPH                LABRE                CHURCH                    and      ST.


          BENEDICT                     JOSEPH                LABRE                  SCHOOL,                    with         the        permission,              consent                and      approval              of    ST.


          BENEDICT                    JOSEPH                LABRE               CHURCH,                      ST.      BENEDICT                      JOSEPH              LABRE                  SCHOOL               and     the


          DIOCESE                  OF BROOKLYN.


                        60.              Defendants                     ST.          BENEDICT                        JOSEPH                   LABRE             CHURCH,                        ST.      BENEDICT


          JOSEPH               LABRE                 SCHOOL                    and         the      DIOCESE                       OF          BROOKLYN                     had           the     ability           and      the



          authority           to     control         the         activities           of   Boy          Scouts         Troop               273     as well          as Cub             Scouts         Pack         273,     and


          defendant            JAMES              T.    GRACE                  JR.


                        61.              Defendants                    BOY            SCOUTS                   OF          AMERICA;                      NATIONAL                       BOY           SCOUTS                OF


         AMERICA                     FOUNDATION;                               SCOUTS                    BSA;              GREATER                     NEW            YORK               COUNCILS,                         BOY


          SCOUTS               OF        AMERICA;                       and         GREATER                       NEW YORK                         COUNCILS,                      QUEENS                   COUNCIL,


         BOY          SCOUTS                OF AMERICA,                              had    the         ability       and         the       authority          to     control           the     activities            of   Boy


          Scouts       Troop           273        as well           as Cub           Scouts         Pack           273,          and       defendant           JAMES              T.     GRACE               JR.


                        62.              From           1977            through                 1982,          and         for         a    considerable                period            of     time         prior         and


         subsequent                 thereto,           defendant                JAMES                   T.     GRACE                    JR.      was      affiliated              with          ST.     BENEDICT


         JOSEPH               LABRE               CHURCH                      and     ST.        BENEDICT                        JOSEPH              LABRE              SCHOOL,                   as well           as their



         CYO          Sports         programs               in     several           capacities              including                 as a coach.



                        63.              Defendants                    DIOCESE                    OF           BROOKLYN,                           ST.      BENEDICT                          JOSEPH               LABRE


         CHURCH,                   and      ST.      BENEDICT                        JOSEPH               LABRE                  SCHOOL,                 had    the     ability          and      the      authority         to


         control        the        activities          of    defendant                JAMES               T.      GRACE                 JR.      in his    capacity             as a      CYO         coach.




         {00164060}                                                                                                   10



                                                                                                             12 of 35
FILED: KINGS COUNTY CLERK 10/21/2019 12:03 PM                                                                                                                                                          INDEX NO. 522910/2019
NYSCEF DOC. NO. 1                Case 20-50527-LSS                                       Doc 112-1                           Filed 11/05/20                                Page RECEIVED
                                                                                                                                                                                14 of 95 NYSCEF: 10/21/2019




                        64.                From            1977        through             1982,          and          for         a     considerable                       period         of        time       prior         and


          subsequent               thereto,              defendant             JAMES               T.      GRACE                       JR.     used         his           affiliation,           relationship                 and


          positions            with         the        Boy         Scouts        and       Cub          Scouts,              and        with        ST.       BENEDICT                         JOSEPH               LABRE


          CHURCH                and         ST.        BENEDICT                  JOSEPH             LABRE                    SCHOOL                  and          their       CYO         Sports            programs,           to


          gain     access           to      underage               boys       including            but      not         limited                to   plaintiff               M.R.,         who         he      would          then



          sexually        abuse.


                        65.                Plaintiff          M.R.        is currently             a resident                of        Bellmore,            County                of Nassau,                State     of New


          York


                        66.              From             1977         through             1982,          and          for         a     considerable                       period         of        time       prior         and


          subsequent             thereto,              plaintiff       M.R.          was     a resident                of     Richmond                    Hill,       County              of    Queens,             City     and


          State      of New           York


                        67.              From             1977        through              1982,          and          for         a     considerable                       period         of        time       prior        and


          subsequent             thereto,              plaintiff          M.R.         participated               in     Cub             Scouts           Pack            273       and        Boy      Scouts          Troop


          273,       located          at      ST.        BENEDICT                    JOSEPH               LABRE                    CHURCH                     and           ST.      BENEDICT                       JOSEPH


          LABRE          SCHOOL.


                       68.               From             1977        through              1982,          and          for         a     considerable                       period         of        time       prior        and


          subsequent               thereto,            plaintiff          M.R.         participated                in        the        CYO           Sports              Program              and      teams           of    ST.


          BENEDICT                  JOSEPH                 LABRE             CHURCH                 and      ST.         BENEDICT                        JOSEPH                   LABRE              SCHOOL.


                       69.               From            1977        through           1982,       defendant                  JAMES                 T.     GRACE                  JR.      repeatedly               sexually


          abused       plaintiff            M.R.




                                                                                                   THE          FACTS



                       70.               Defendants                  BOY             SCOUTS               OF       AMERICA,                           NATIONAL                            BOY          SCOUTS                 OF


         AMERICA                   FOUNDATION,                              and/or       SCOUTS                 BSA            (collectively                      referred           to   hereinafter               as "Boy




          {00164060}                                                                                            11



                                                                                                        13 of 35
FILED: KINGS COUNTY CLERK 10/21/2019 12:03 PM                                                                                                                                                           INDEX NO. 522910/2019
NYSCEF DOC. NO. 1                 Case 20-50527-LSS                                         Doc 112-1                       Filed 11/05/20                                Page RECEIVED
                                                                                                                                                                               15 of 95 NYSCEF: 10/21/2019




          Scouts")              operate             and       oversee          one        of     the       largest         youth          organizations                        in     the     United           States,          and


          select      and        approve              adult      leaders          to     serve         as Scoutmasters                     and      hold        other               leadership          positions.


                          71.               Defendants                   BOY           SCOUTS                   OF        AMERICA,                   NATIONAL                               BOY         SCOUTS                  OF


          AMERICA                     FOUNDATION,                           and/or             SCOUTS                BSA         retain      the     right           to        control        the      details          and     the


                                                                          leaders'
          means        and        methods              of     scout                            interactions               with      individual              scouts.


                          72.               Defendants                   BOY           SCOUTS                   OF        AMERICA,                   NATIONAL                               BOY         SCOUTS                  OF


          AMERICA                     FOUNDATION,                              and/or            SCOUTS                   BSA        are      and       were               responsible                  for       operating,


          maintaining                 and         overseeing              local        orgiulizations,                    troops       and        chapters                of        the     Boy      Scouts,            and      are


          and      were         ultimately                 responsible             for     the       approval              and     assignment                   of    Scoutmasters,                         scout        leaders


          and      volunteers,                   as well       as implementation                           of policies             and      procedures,                     including               policies            relating


          to the      safety          of        children        and      the      prevention               of     childhood               sexual        abuse.


                        73.                 Defendants                   BOY           SCOUTS                   OF        AMERICA,                   NATIONAL                               BOY         SCOUTS                  OF

                                                                                                                                                                                                                        Scouts'
          AMERICA                     FOUNDATION,                              and/or            SCOUTS                   BSA        established                     and            controlled              Boy


          policy        concerning                     membership                    qualification                   and         admittance                to        the            organization,                 and       grant


          charters         to local              councils           which         carry        out     the      business           of the         Boy       Scouts                  on    a regional           basis.


                       74.                  Defendants                   BOY           SCOUTS                   OF        AMERICA,                   NATIONAL                               BOY         SCOUTS                  OF


         AMERICA                      FOUNDATION,                                 and/or             SCOUTS                  BSA           authorized                      local            councils              and         local


          organizations                    to     charter,          sponsor,             and      operate            Boy         Scout       Troops,                 Cub            Scout          Troops         and       other


         types        of        Troops              throughout                 New          York,            including              plaintiff's              troop,                  Troop          273,       located             in


         Richmond                Hill,           County        of     Queens,             City       and        State      of New           York.


                       75.                  Defendants                   BOY           SCOUTS                   OF        AMERICA,                  NATIONAL                                BOY         SCOUTS                  OF


         AMERICA                      FOUNDATION,                               and/or            SCOUTS                    BSA,           collectively                        with          the       local         councils



         including              but        not      limited         to    Defendants                   GREATER                   NEW YORK                        COUNCILS,                           BOY            SCOUTS




          {00164060}                                                                                                 12



                                                                                                           14 of 35
FILED: KINGS COUNTY CLERK 10/21/2019 12:03 PM                                                                                                                                                         INDEX NO. 522910/2019
NYSCEF DOC. NO. 1                 Case 20-50527-LSS                                          Doc 112-1                     Filed 11/05/20                              Page RECEIVED
                                                                                                                                                                            16 of 95 NYSCEF: 10/21/2019




          OF        AMERICA                     and         GREATER                        NEW             YORK                 COUNCILS,                        QUEENS                     COUNCIL,                      BOY


          SCOUTS                 OF AMERICA,                        would              collectively               select          the        leaders           and      volunteers               each         Boy         Scout



          Troop          and     Cub        Scout        Troop           and/or            Pack      in New              York.


                         76.               Additionally,                 said      defendants               would              collectively               select        the      leaders,          counselors               and


          volunteers             of    each        Boy       Scout            Camp,           including             but        not      limited           to    Alpine           Scout          Camp           in    Alpine,


          NJ;      Ten     Mile        River        Scout         Camps               in Narrowsburg,                      NY;          and     Camp            Conron            in Holmes,                 NY.


                         77.            Defendants                     BOY            SCOUTS                OF           AMERICA,                      NATIONAL                         BOY           SCOUTS                   OF


          AMERICA                 FOUNDATION,                                and/or          SCOUTS               BSA           retained            and        exercised              the   ultimate               authority


          to    decide         who         could       be    a Scoutmaster,                         assistant            Scoutmaster,                   leader          or     volunteer              with          any    Boy


          Scout       Troop,          Cub       Scout        Pack            or Boy          Scout         Camp.


                                                                                                                  Scouts'
                         78.            In     exchange                for     use      of    the     Boy                            name,          programming                       and       endorsement,                   the



          leaders,         volunteers               and          members               of     every          Boy          Scout          Troop,                Cub       Scout          Pack          or     Boy          Scout



          Camp,          including             Troop         273         and       Pack           273,      would           pay         an     annual           membership                   fee       to     defendants


         BOY          SCOUTS                 OF AMERICA,                           NATIONAL                       BOY            SCOUTS                   OF AMERICA                            FOUNDATION,


          and/or         SCOUTS               BSA.


                                                                                                                                                                                      Scouts'
                         79.            In     exchange                for      the        opportunity               to     participate                in       the     Boy                            programming


          and      activities,         the      child        members                  of     every         Boy       Scout           Troop,            Cub        Scout         Pack        and/or            Boy         Scout



          Camp,          including             Troop             273         and      Pack          273,         and/or          their        parents            or      guardians               on        their      behalf,


         would            pay         an       annual             membership                        fee     to       defendants                     BOY               SCOUTS                    OF          AMERICA,


         NATIONAL                     BOY          SCOUTS                    OF AMERICA                      FOUNDATION,                               and/or           SCOUTS                  BSA.


                         80.            Starting            in     the        early          1900's         the          Boy         Scouts         knew              that      its     Scoutmasters,                     scout



         leaders,         volunteers               and      members                were       using         their        positions             to   sexually                 abuse       children.




          {00164060}                                                                                                13



                                                                                                           15 of 35
FILED: KINGS COUNTY CLERK 10/21/2019 12:03 PM                                                                                                                                                                              INDEX NO. 522910/2019
NYSCEF DOC. NO. 1                       Case 20-50527-LSS                                            Doc 112-1                          Filed 11/05/20                                    Page RECEIVED
                                                                                                                                                                                               17 of 95 NYSCEF: 10/21/2019




                               81.            By         1935,       the        Chief               Scout         Executive                    of   the       Boy         Scouts              acknowledged                            the     nature


          of      the      sexual           abuse         epidemic               within               the       Boy         Scouts,             acknowledging                              that      1,000          men          had        already


          been          removed               from        positions              in the              Boy        Scouts             because             they         "undertake                     to    deal           with      sex       matters


          and        become                morbid          on      the        subject               and     sometimes                    give         way          to    temptation                     and        develop              practices


                                                      degenerates."
          which            make            them


                               82.            Well         before          1977,             the      Boy            Scouts           were          aware          of the           sexual              abuse           epidemic              within


          their         ranks,             having          removed                thousands                      of      sexual          abusers                and           in     fact         having            created              a list          of


                                        Volunteers"
          "Ineligible                                              (also         known                as the            Perversion                   Files),            yet        they       failed          to        take      appropriate


          action          to ensure               that     an end             was        put        to the           abuse.


                               83.            As      a result           of     this         epidemic                  of     sexual           abuse           within              the      Boy         Scouts,                as well        as the


                        Scouts'                                                                                                              Volunteers"
          Boy                               maintenance                   of      its        list      of       "Ineligible                                                    (also         known                 as     the      Perversion



          files),         the        Boy      Scouts              were         aware            of        the        behavioral                 characteristics                       and          grooming                    techniques              of


          the       pedophiles                and         child      molesters                      who         continued                to join             the        Boy          Scouts              at alarming                   levels,           to


          gain       access             to child          victims.


                               84.           As       a result             of       this            epidemic                of        sexual          abuse             within              the         Boy         Scouts,             the       Boy


          Scouts               knew          or       should             have            known                  of      the        danger              that         pedophiles                       presented                   to      children



         participating                     in their        programs,                 long            before            plaintiff          suffered               abuse.


                               85.           Despite              decades               of     knowledge                      that      it's        scouting              program                   was        a magnet                 for      child



         molesters,                  the     Boy         Scouts          failed          to         take        reasonable                steps           to protect                 children             from            being          sexually


         abused,               failed        to take         reasonable                      steps         to root          out        pedophiles                  from            their          leadership               positions,              and


         failed           to     take       reasoñable               steps          to       ensure             that        pedophiles                 did       not          have          access            to    children                through


                                Scouts'
         the        Boy                           programs.




         {00164060}                                                                                                              14



                                                                                                                      16 of 35
FILED: KINGS COUNTY CLERK 10/21/2019 12:03 PM                                                                                                                                                      INDEX NO. 522910/2019
NYSCEF DOC. NO. 1                 Case 20-50527-LSS                                       Doc 112-1                           Filed 11/05/20                          Page RECEIVED
                                                                                                                                                                           18 of 95 NYSCEF: 10/21/2019




                          86.             From           1977           through            1982            and          for       a     considerable                  period           of     time            prior      and


          subsequent               thereto,           the       Boy       Scouts           Troop             273         and          Cub        Scouts         Pack         273       operated               upon        and


          within          the      premises              of      Defendants                    ST.         BENEDICT                         JOSEPH               LABRE                CHURCH                    and       ST.


          BENEDICT                  JOSEPH               LABRE                SCHOOL.


                          87.             Well        before             1977,          Defendants                 DIOCESE                        OF      BROOKLYN,                          ST.        BENEDICT


          JOSEPH                LABRE               CHURCH                    and        ST.         BENEDICT                         JOSEPH              LABRE                 SCHOOL                  were          aware


          and/or          should          have        been        aware           that     defendant                    JAMES               T.    GRACE                JR.      had         had     inappropriate


          contact         with      and       inappropriate                  relations              with     children.


                          88.             Well       before           1977,       Defendants                 BOY              SCOUTS               OF AMERICA,                          NATIONAL                       BOY


          SCOUTS                 OF        AMERICA                       FOUNDATION,                              and/or               SCOUTS                  BSA,          as       well         as     defendants


          GREATER                  NEW YORK                          COUNCILS,                       BOY           SCOUTS                   OF      AMERICA                     and      GREATER                      NEW

         YORK             COUNCILS,                      QUEENS                 COUNCIL,                     BOY              SCOUTS               OF AMERICA,                          were        aware             and/or


          should          have      been          aware          that      defendant                 JAMES               T.      GRACE                 JR.     had        had      inappropriate                  contact


         with       and     inappropriate                    relations          with      children.


                          89.          Well          before           1977,       Defendants                 and/or              each       of them            knew        or should              have        known            of


         JAMES             T.     GRACE              JR.'s        tendencies              to        abuse        children,              as he          frequently            sought          to    be     alone         with


         children          on their         grounds.


                      90.              Well          before           1977,       Defendants                 and/or              each       of them            knew        or     should          have        known            of


         JAMES             T.      GRACE               JR.'s         tendencies                to     abuse         children,                as    he        frequently            wrestled              with         young


         boys,      at which           time         he would              put     his     hands            down          their        pants.


                      91.              In        1975,         two       years         before          defendant                 JAMES              T.        GRACE             JR.      began           to     sexually


         abuse       and         molest          plaintiff           M.R.,        Father             Smith         of     ST.         BENEDICT                    JOSEPH               LABRE               CHURCH




         {00164060}                                                                                                15



                                                                                                           17 of 35
FILED: KINGS COUNTY CLERK 10/21/2019 12:03 PM                                                                                                                                                          INDEX NO. 522910/2019
NYSCEF DOC. NO. 1                    Case 20-50527-LSS                                            Doc 112-1                    Filed 11/05/20                             Page RECEIVED
                                                                                                                                                                               19 of 95 NYSCEF: 10/21/2019




          and       ST.      BENEDICT                         JOSEPH                LABRE                SCHOOL                was       advised            that        JAMES            T.     GRACE                JR.            had


          abused          and         had            inappropriate                contact         with         children.


                          92.                    Despite           knowledge                 of    the     above,            defendants              took         no     steps        whatsoever               to remove


          JAMES              T.       GRACE                  JR.          (hereinafter              referred            to    as     "Grace")              from          his      positions            with         the         Boy


          Scouts          and             Cub          Scouts,            and     with       the         ST.      BENEDICT                    JOSEPH                    LABRE            CHURCH                     and             ST.


          BENEDICT                        JOSEPH               LABRE                SCHOOL                 CYO           sports        programs,                 thus      permitting                him     to     continue


          to have         access                to     children,           including          but        not     limited           to Plaintiff            M.R..


                          93.                   From         approximately                    1977         through             1987,         Plaintiff             M.R.         was      a member                   of     and            a


          participant                in     Cub          Scouts           Pack      273      and       Boy        Scouts         Troop        273.


                          94.                   From         approximately                        1977         through           1987,        Plaintiff                M.R.       was         a member                   of         ST.


          BENEDICT                        JOSEPH               LABRE               CHURCH                  and       a participant                in its     CYO              Sports     Programs.


                          95.                   From        approximately                     1977         through            1982,        defendant                Grace,         through             his     leadership


          positions             in        the        Boy     Scouts             as well           as his        position           as a coach               in     the      ST.       BENEDICT                      JOSEPH


          LABRE              CHURCH                        CYO        Sports         Programs,                 had      unfettered            access             to Plaintiff           M.R..


                          96.                   From        approximately                     1977         through            1982,        defendant                Grace,         through             his     leadership


          positions             in        the        Boy     Scouts,             often       took        M.R.        to      Boy       Scouts             camps,           including             Ten         Mile         River,



          Camp          Conron,                  and       Alpine           Scout         Camp           alone,         before         the        other      campers              and        staff     arrived,                to    be


          alone       with        him.


                          97.                   From         approximately                        1977         through             1982,          defendant                Grace         repeatedly                 sexually


          abused          M.R.             on         approximately                    750        to     1,000       occasions               in     various              locations,           including                  but        not


          limited         to      the           premises             of     ST.      BENEDICT                      JOSEPH               LABRE               CHURCH                     and      ST.        BENEDICT


         JOSEPH                LABRE                    SCHOOL,                  as well          as Ten         Mile        River,          Camp          Conron,              and     Alpine             Scout          Camp,


          and     other         locations.




          {00164060}                                                                                                    16



                                                                                                               18 of 35
FILED: KINGS COUNTY CLERK 10/21/2019 12:03 PM                                                                                                                                                          INDEX NO. 522910/2019
NYSCEF DOC. NO. 1                  Case 20-50527-LSS                                           Doc 112-1                      Filed 11/05/20                            Page RECEIVED
                                                                                                                                                                             20 of 95 NYSCEF: 10/21/2019




                           98.               The          sexual         abuse           included            Grace          performing                 oral      sex     upon          M.R.       and      asking           for


          M.R.        to     perform                 oral       sex        upon          him         in     return,         tickling           and       touching             of      M.R.'s           genitals,           and


          forcible          touching                of M.R,'s              genitals            and        buttocks.


                           99.               At     the       time       he      was         subjected             to this        sexual          abuse,         M.R.         was       between          the       ages      of


          seven       and         twelve            years         old.


                                         AS AND                    FOR           A FIRST                  CAUSE             OF ACTION                         ON BEHALF                      OF
                                                                  PLAINTIFF                     M.R.          BASED                UPON            A THEORY
                                        OF        STATUTORY                         LIABILITY                         AS AGAINST                       ALL         DEFENDANTS




                           100.              That         the      Plaintiff           M.R.          repeats,         reiterates            and        realleges             each      and      every         allegation


                                                                                                                                               "FIRST"                                  "NINETY-NINTH"
          contained               in     of        the      Complaint                  set     forth         in     paragraphs                                        through


          inclusive              with        the     same          force         and      effect           as though              said     allegations                were      herein         fully      set      forth     at


          length.


                           101.              The          conduct           of     defendants,                    and/or          each      of     them,          and/or            their      agents,          servants,


          employees                and/or            staff,          constituted               violations              of    Article             130     of     the      Penal         Law        of    the      State       of


         New         York          and/or           its    predecessor                 statutes.


                           102.              The          conduct           of     defendants,                    and/or          each      of     them,          and/or            their      agents,          servants,


          employees                and/or            staff,          constituted               violations              of    Article             130     of     the      Penal         Law        of    the      State       of


         New         York,         including                but      not       limited         to violations                 of    Penal         Law          Sections          130.00,          130.05,           130.20,


          130.40,           130.45,            130.50,             130.52,          130.55,               130.60,          130.65,         130.75,            130.80,          130.95,         and       130.96.


                           103.            The            conduct           of     defendants,                    and/or          each      of     them,          and/or            their      agents,          servants,


         employees                 and/or            staff,         constituted                violations              of    Article           260       of     the      Penal         Law        of    the      State       of


         New         York         and/or            its predecessor                    statutes,            including             but    not      limited         to 260.10.




         {00164060}                                                                                                   17



                                                                                                              19 of 35
FILED: KINGS COUNTY CLERK 10/21/2019 12:03 PM                                                                                                                                                                   INDEX NO. 522910/2019
NYSCEF DOC. NO. 1                    Case 20-50527-LSS                                          Doc 112-1                             Filed 11/05/20                              Page RECEIVED
                                                                                                                                                                                       21 of 95 NYSCEF: 10/21/2019




                          104.              That          the         subject           sexual              offenses                  were           committed                    forcibly           by     the         defendants


          and/or         their         agents,            servants,               staff,        and/or               employees                     against           the      plaintiff,           who          was        a minor,


                                      defendants'
          while       under                                          custody,           supervision                    and/or               control.


                          105.              That         as a result            of the              statutory             violations                 of the        Defendants                 herein,           and/or         each        of



          them,          and/or          their           agents,             servants,                employees                    and/or              staff         as     aforesaid,               the     Plaintiff             M.R.


          endured           sexual            abuse             and      molestation,                       as     well          as         emotional              abuse,           and       sustained            serious               and


          severe         damage,              harm         and        injuries,            and        was          caused             to     suffer         severe         and       significant             conscious                  pain


          and      suffering,                including                psychological                         suffering,                  emotional                  suffering              and      emotional               distress,


          mental          anguish             and          loss        of     enjoyment                     of      life,        and          has       incurred             medical              expenses               and       other


          economic              damages              and         loss,       and        will         continue               to   experience                    and        incur       these       damages               and     losses


          in the      future.


                         106.               That         by       reason           of         the         foregoing,                  the       Plaintiff            M.R.            has      been         damaged                 in     an


          amount           in        excess        of      the        jurisdictional                      limits          of     all         lower          Courts          which            would          otherwise               have


         jurisdiction                over      the       Defendants                 herein.


                                      AS AND                   FOR          A SECOND                         CAUSE                    OF       ACTION                     ON BEHALF                        OF
                                                          PLAINTIFF                           M.R.           BASED                UPON                 A THEORY                        OF
                                                         NEGLIGENCE                                 AS AGAINST                               ALL         DEFENDANTS


                         107.               That         the     Plaintiff           M.R.             repeats,              reiterates               and       realleges             each        and       every         allegation


                                                                                                                                             "FIRST"
          contained             in    of the         Complaint                  set forth              in    paragraphs                                            through            "ONE           HUNDRED                       AND

          SIXTH"
                           inclusive               with         the      same           force         and          effect        as though                  said      allegations                were       herein         fully          set


         forth     at length.


                         108.            While                 M.R.          was         in         the      custody                   of      and         under           the       care         and       supervision                    of


         defendants               and/or           each         of     them        from                                                     1977       to      1982,        defenclants                 stood      in     the      place
                                                                                                    approximately


         of     M.R.'s          parents            (in     loco          parentis),                 and      as      such         were           responsible                 for      his       care,      well-being,                  and




         {00164060}                                                                                                         18



                                                                                                                 20 of 35
FILED: KINGS COUNTY CLERK 10/21/2019 12:03 PM                                                                                                                                                                      INDEX NO. 522910/2019
NYSCEF DOC. NO. 1                    Case 20-50527-LSS                                       Doc 112-1                               Filed 11/05/20                                 Page RECEIVED
                                                                                                                                                                                         22 of 95 NYSCEF: 10/21/2019




          safety           amongst                other      things,           and     had        a duty             to        protect            him          from         harm,           abuse,          assault         and        other



          harms,            including                but    not      limited         to sexual               abuse             and        sexual          assaults.


                            109.            From            approximately                    1977            to     1982             defendants                  had         a duty           to     care     for      the      welfare


          and      well-being                   of    M.R.         as if they             were         his        parents,                and         to protect            him       from           harm,         abuse,         assault


          and       other          harms,             including             but      not     limited                to     sexual               abuse,           as well             as physical               and          emotional


          abuse.


                            110.            Defendants                 breached              their       duty             of    care        with         respect             to M.R.


                            111.            Defendants                  breached             their           duty         to     care           for     M.R.,          failed         to    properly            carry          out     their



          duty        to    stand          in     the      place       of      her     parents,              and          were            negligent,                 careless          and         reckless           in     failing          to


          protect           him      from            harm,         abuse,         assault         and         other            harms,             including                 but     not       limited         to    sexual           abuse


          and      assaults,             as well           as physical               and     emotional                    abuse.


                            112.                Defendants                  had      both         actual             and          constructive                        notice           of      the       sexual            abuse         and


          emotional                 abuse            of     children              which          had         taken              place            in      the         Boy          Scouts           and       Cub           Scouts         for



          decades,             as        well         as     the     specific             sexual             abuse             perpetrated                      by     defendant                   Grace,          and       failed           to


          institute          appropriate                   measures            to     stop       the     abuse.


                            113.            That           as a result            of the        negligence                     and        breach           of        duty      of    defendants,                and/or          each        of



         them,             and/or          their           agents,          servants,             employees                       and/or                staff         as     aforesaid,               the      Plaintiff               M.R.


          endured             sexual              abuse        and      molestation,                    as        well          as        emotional                  abuse,          and       sustained              serious            and


          severe           damage,              harm         and      injuries,           and      was         caused                to    suffer          severe            and      significant              conscious               pain


          and      suffering,              including               psychological                   suffering,                   emotional                  suffering,                mental           anguish            and      loss      of


         enjoyment                  of    life,       and     has      incurred             medical                expenses                 and         other         economic                damages               and      loss,       and


         will      continue               to experience                 and         incur       these         damages                     and         losses         in the         future.




          {00164060}                                                                                                      19



                                                                                                               21 of 35
FILED: KINGS COUNTY CLERK 10/21/2019 12:03 PM                                                                                                                                                                        INDEX NO. 522910/2019
NYSCEF DOC. NO. 1                      Case 20-50527-LSS                                            Doc 112-1                             Filed 11/05/20                             Page RECEIVED
                                                                                                                                                                                          23 of 95 NYSCEF: 10/21/2019




                           114.               That            by         reason         of       the          foregoing,                  the      Plaintiff             M.R.           has         been           damaged               in     an


          amount             in    excess                of        the      jurisdictional                    limits           of     all       lower          Courts           which            would             otherwise                 have


         jurisdiction                  over         the       Defendants                   herein.


                                            AS AND                    FOR A THIRD                               CAUSE                    OF ACTION                      ON BEHALF                             OF
                                                               PLAINTIFF                          M.R.             BASED                 UPON             A THEORY                          OF
                                        NEGLIGENT                                SUPERVISION                                AS AGAINST                           ALL            DEFENDANTS


                        115.                  That            the        Plaintiff         M.R.           repeats,             reiterates                and     realleges              each         and       every            allegation


                                                                                                                                                 "FIRST"
          contained               in     of    the        Complaint                   set forth            in paragraphs                                               through              "ONE           HUNDRED                       AND

          FOURTEENTH"
                                                     inclusive                 with        the      same            force           and        effect     as though                  said     allegations                 were          herein



          fully      set forth              at length.


                        116.                  While                M.R.         was      under            the        care,          custody,             control,              and      supervision                  of     defendants


          and/or        each           of     them            from           approximately                         1977        to        1982,        defendants                had     a duty           to    supervise                M.R.,


          and      to protect                 him        from            harm,        abuse,            assault           and        other         harms,             including              but     not      limited            to     sexual


          assaults           as        well         as     emotional                  abuse,             and        were            responsible                 for      his      care,        well-being,                  and         safety


         amongst             other            things.


                        117.                  Defendants                       breached                 their        duty           to        properly           supervise                  M.R.,          failed          to     properly


         carry       out      their           duty        to        supervise           him         in his           activities,                and      were         negligent,              careless              and     reckless             in



         failing        to        properly                 supervise                 him         and          in     failing             to     adequately               protect             him        from             harm,          abuse,


         assault           and          other             harms,              including                 but        not       limited               to     sexual          abuse              and       assault,             as        well       as


          emotional               abuse.


                        118.                  That            as     a result           of       this      negligent                 supervision                  and          breach          of      duty         of     defendants,


         and/or         each             of     them,                and/or           their         agents,               servants,               employees                    and/or          staff          as    aforesaid,                 the


         Plaintiff           M.R.             endured                sexual           abuse             and        molestation,                   as well             as emotional                   abuse,          and         sustained


         serious           and          severe            damage,                harm            and       injuries,                and        was       caused          to      suffer            severe          and      significant




          {00164060}                                                                                                           20



                                                                                                                     22 of 35
FILED: KINGS COUNTY CLERK 10/21/2019 12:03 PM                                                                                                                                                               INDEX NO. 522910/2019
NYSCEF DOC. NO. 1                     Case 20-50527-LSS                                        Doc 112-1                           Filed 11/05/20                           Page RECEIVED
                                                                                                                                                                                 24 of 95 NYSCEF: 10/21/2019




          conscious               pain          and          suffering,              including                   psychological                    suffering,               emotional                 suffering,           mental


          anguish           and         loss          of     enjoyment                of     life,        and        has      incurred             medical              expenses               and      other      economic


          damages                and         loss,         and       will       continue             to        experience                and      incur          these       damages                 and    losses         in     the


          future.


                        119.                  That           by      reason          of      the      foregoing,                   the        Plaintiff            M.R.       has         been          damaged             in     an


          amount            in        excess           of     the        jurisdictional                   limits        of     all       lower         Courts             which          would          otherwise               have


         jurisdiction                 over       the        Defendants                herein.


                                       AS AND                     FOR         A FOURTH                         CAUSE               OF         ACTION                ON BEHALF                          OF
           PLAINTIFF                         M.R.           BASED               UPON            A THEORY                           OF         NEGLIGENT                       HIRING,                   RETENTION
                                                     AND           SUPERVISION                             AS AGAINST                            ALL         DEFENDANTS


                        120.                 That           the     Plaintiff          M.R.          repeats,              reiterates            and        realleges             each         and     every       allegation


                                                                                                                                         "FIRST"
          contained              in     of     the         Complaint               set forth          in       paragraphs                                        through           "ONE          HUNDRED                    AND

          NINETEENTH"
                                                     inclusive              with      the     same             force       and       effect         as though               said     allegations                 were     herein



          fully     set forth               at length.


                        121.                 Defendants                     and/or          each          of     them          had        a duty            to     conduct          appropriate                   and     proper



          hiring,       screening,                    and         retention           practices                to    prevent             the     hiring           and      retention             of    those        who         may


          pose      a risk             of     harm,           including               but      not         limited           to      sexual         abuse           as     well      as        emotional            abuse,         to


          minors        who            had      been          entrusted              to their         care,          custody,            supervision                and      control.


                        122.                 Defendants                     and/or         each       of       them          had      a duty           to    adequately              and         properly           supervise


         those       whom               they          did         hire      and/or          retain          in      a reasonably                  prudent            fashion,             to    prevent           those         they


         hired,       retained                and/or              accepted            as     volunteers                 from          becoming                   a risk      of    harm,             including          but      not


          limited       to       sexual              abuse           as well          as emotional                     abuse,            to    those         minors          who         had         been       entrusted          to


         their      care,        custody,                  supervision               and     control               including             the     plaintiff          herein.




          {00164060}                                                                                                    21



                                                                                                                 23 of 35
FILED: KINGS COUNTY CLERK 10/21/2019 12:03 PM                                                                                                                                                                   INDEX NO. 522910/2019
NYSCEF DOC. NO. 1                 Case 20-50527-LSS                                               Doc 112-1                             Filed 11/05/20                             Page RECEIVED
                                                                                                                                                                                        25 of 95 NYSCEF: 10/21/2019




                          123.              Defendants                     and/or         each           of them              had         a duty        to prevent                known           risks        of harm,            and      to


          prevent            their          staff         and/or             volunteers                   from             inflicting            harm            upon            the     children              who           had     been


          entrusted           to them               including                the      plaintiff            herein.


                          124.              Defendants                       and/or         each              of     them           had      a duty           to     adequately                   supervise              their        staff


          and/or          volunteers                  so      as        to     ensure              the         safety             and      well-being                 of         the     children              who           had     been


          entrusted           to them               including                the      plaintiff            herein.


                          125.              Defendants                       and/or         each              of     them           had      a duty           to     adequately                   supervise              their        staff


          and/or        volunteers                   so     as to            ensure         that          they            carried          out     their         duties           in     a marmer              which           reduced


          and/or        eliminated                  the     risk        of     harm,         including                     but      not    limited          to     sexual              abuse         as well         as emotional



          abuse,        to    those          who          had       been            entrusted                 to    their         care,      custody,              supervision                  and       control            including


          the    plaintiff            herein.


                          126.              Defendants                       and/or         each              of     them           had      a duty           to     adequately                   supervise                their      staff


          and/or       volunteers                   so as to            ensure           that          they        did      not      sexually            abuse        and/or             emotionally                 abuse,         those


          who       had       been           entrusted                to      their        care,          custody,                  supervision               and          control             including             the       plaintiff


          herein.


                          127.              Defendants                   breached                 their            duty      to     conduct           their        hiring          and        retention             practices          in      a



          reasonably                  prudent               fashion,                and           to      adequately                      and        properly                supervise                 their         staff         and/or



          volunteers,            including                  but     not        limited            to defendant                      Grace,         in      a reasonably                  prudent             fashion.


                        128.                Defendants                       were        negligent,                    careless            and       reckless               in     the        manner           in     which           they


          conducted              their        hiring            and          retention             of         staff,        including              but      not      limited             to     defendant               Grace,           and


         hired       and       retained              volunteers,                    scout          leaders,                Scoutmasters                    and      coaches              who          both      permitted                and


         promoted              a culture               of     abuse,               and      had          a history                of      abusing           those          whom               they      were         supposed               to



          coach,       care          for,    mentor               and        serve.




          {00164060}                                                                                                         22



                                                                                                                     24 of 35
FILED: KINGS COUNTY CLERK 10/21/2019 12:03 PM                                                                                                                                                                INDEX NO. 522910/2019
NYSCEF DOC. NO. 1                  Case 20-50527-LSS                                              Doc 112-1                        Filed 11/05/20                                Page RECEIVED
                                                                                                                                                                                      26 of 95 NYSCEF: 10/21/2019




                        129.                Defendants                     were         negligent,                 careless             and       reckless             in        the    manner              in     which               they


          supervised                their          staff           and/or          volunteers,                    including               but      not         limited             to       defendant              Grace,               and



          caused,        allowed                and          permitted                their         staff        and/or          volunteers               to    create            a culture            of    abuse,             and        to


          permit       that        culture              of    abuse         to exist           and         persist         for     decades.


                        130.                Defendants                     were         negligent,                 careless             and       reckless             in        the    manner              in     which               they


          supervised            their         staff           and/or        volunteers,                    including              but     not     limited          to defendant                    Grace,          in that             they


          failed      to prevent                them           from         sexually                abusing           as well           as emotionally                       abusing            those        who          had          been


          entrusted           to      their         care,           custody,               supervision                 and         control          including                 but       not      limited            to     Plaintiff


         M.R.


                        131.                Defendants                     were            negligent,                careless             and       reckless                in      their       failure            to      properly


         supervise            their         agents,            servants,              employees,                   staff         and/or         volunteers               so as to             ensure        that         they      were


         not       sexually           abusing                 as     well        as     emotionally                    abusing,             the     children                who         were         entrusted               to        their



         care,       custody,           supervision                       and     control             including             but     not       limited           to Plaintiff                M.R.


                        132.                That         as a result               of      this       negligent              hiring,          retention            and           supervision                by     defendants,


         and/or         each          of      them,             and/or            their           agents,            servants,             employees                   and/or           staff        as      aforesaid,                  the


         Plaintiff        M.R.              endured                sexual         abuse             and       molestation                  as well             as emotional                   abuse,         and          sustained


         serious        and         severe              damage,              harm             and      injuries,            and         was       caused          to        suffer          severe          and         significant


         conscious              pain          and            suffering,               including                  psychological                    suffering,                 emotional               suffering                  mental


         anguish         and          loss         of        enjoyment                of      life,        and       has        incurred          medical              expenses                and        other          economic


         damages              and       loss,           and        will         continue              to     experience                 and       incur         these            damages             and         losses           in     the


         future.




         {00164060}                                                                                                        23



                                                                                                                  25 of 35
FILED: KINGS COUNTY CLERK 10/21/2019 12:03 PM                                                                                                                                                                INDEX NO. 522910/2019
NYSCEF DOC. NO. 1                      Case 20-50527-LSS                                            Doc 112-1                          Filed 11/05/20                               Page RECEIVED
                                                                                                                                                                                         27 of 95 NYSCEF: 10/21/2019




                          133.                 That         by        reason            of     the       foregoing,                    the        Plaintiff              M.R.        has      been        damaged             in    an


          amount            in         excess          of       the      jurisdictional                      limits          of      all     lower           Courts          which           would         otherwise            have


          jurisdiction                 over       the       Defendants                   herein.


                   AS AND                 FOR             A FIFTH                  CAUSE                 OF           ACTION                    ON BEHALF                           OF     PLAINTIFF                 M.R.
                                          BASED                   UPON             A THEORY                               OF NEGLIGENT                                  INFLICTION                    OF
                                                  EMOTIONAL                                  DISTRESS                       AGAINST                     ALL             DEFENDANTS


                          134.                That          the       Plaintiff          M.R.          repeats,                 reiterates             and       realleges            each      and    every         allegation


                                                                                                                                                "FIRST"
          contained               in     of     the     Complaint                  set forth             in paragraphs                                              through              "ONE        HUNDRED                  AND

          THIRTH-THIRD"
                                                          inclusive               with         the       same              force           and         effect           as   though          said     allegations               were


          herein         fully         set forth             at length.


                          135.                Defendants                     and/or             each            of         them,           and/or               their        agents,          servants,            employees,


          volunteers               and/or             staff,       had       the        power,           the          ability         and        the     authority,              as well        the   duty,        to    stop      the



          negligent,               improper,                    unlawful                and         egregious                   conduct                described              hereinabove              that        resulted            in


          plaintiff         M.R.              suffering               severe        emotional                  distress.


                          136.                Defendants                     and/or             each            of         them,           and/or               their        agents,          servants,            employees,


          volunteers               and/or              staff,          had        the        duty      to       intervene                  to    stop,          prevent             and    prohibit         the     negligent,


          improper,               unlawful                and         egregious                conduct                described                 hereinabove                  that      resulted       in     plaintiff          M.R.



          suffering              severe          emotional                 distress.


                          137.                Defendants                     and/or             each            of         them,           and/or               their        agents,          servants,            employees,


          volunteers               and/or             staff,       knew           or     should          have              known            that       the       failure        to   properly         act     would         and        in


          fact     did     cause          plaintiff               M.R.         to suffer             severe               emotional              distress.


                          138.                Defendants                     and/or             each            of         them,           and/or               their        agents,          servants,            employees,


          volunteers               and/or             staff,          negligently                   failed           to     act      to     stop,        prevent             and/or        prohibit          the    negligent,




          {00164060}                                                                                                            24



                                                                                                                     26 of 35
FILED: KINGS COUNTY CLERK 10/21/2019 12:03 PM                                                                                                                                                               INDEX NO. 522910/2019
NYSCEF DOC. NO. 1                    Case 20-50527-LSS                                                 Doc 112-1                     Filed 11/05/20                             Page RECEIVED
                                                                                                                                                                                     28 of 95 NYSCEF: 10/21/2019




          improper,              unlawful                    and      egregious                 conduct             described              hereinabove,                 thus        resulting           in plaintiff             M.R.



          suffering            severe              emotional                 distress.


                          139.               That             as      a result            of     the     negligent               infliction               of      emotional               distress         of     defendants,


          and/or          each          of          them,               and/or           their          agents,           servants,                employees,                   volunteers               and/or          staff         as



          aforesaid,             the        Plaintiff              M.R.           endured               sexual         abuse           and        molestation                   as well         as emotional                  abuse,


          and        sustained              serious             and       severe             damage,            harm           and     injuries,           and         was       caused         to    suffer       severe           and


          significant                conscious                  pain         and        suffering,              including              psychological                    suffering,              emotional               suffering


          and        emotional                   distress,            mental            anguish            and        loss      of     enjoyment                  of    life,       and      has      incurred           medical


          expenses             and          other          economic                damages                and        loss,      and        will      continue              to    experience              and      incur        these


          damages              and      losses               in the       future.


                         140.                That            by       reason            of       the     foregoing,                  the      Plaintiff            M.R.             has     been        damaged                in    an


          amount          in         excess             of      the      jurisdictional                   limits          of     all       lower         Courts            which           would         otherwise               have


         jurisdiction                over          the       Defendants                   herein.


                 AS AND                 FOR               A SIXTH                   CAUSE                OF         ACTION                  ON BEHALF                           OF        PLAINTIFF                    M.R.
                 BASED                 UPON                  A THEORY                           OF      INTENTIONAL                                INFLICTION                         OF      EMOTIONAL
                                                                        DISTRESS                       AGAINST                  ALL          DEFENDANTS


                         141.                That            the      Plaintiff           M.R.          repeats,             reiterates            and         realleges            each      and       every       allegation


                                                                                                                                           "FIRST"
         contained              in     of        the      Complaint                 set        forth     in     paragraphs                                        through             "ONE           HUNDRED                   AND

         FORTIETH"
                                        inclusive                     with        the        same        force         and        effect           as     though             said      allegations               were         herein



         fully        set forth         at length.


                         142.                Defendants                      and/or              each          of      them,           and/or             their         agents,             servants,             employees,


         volunteers              and/or                staff,      engaged               in willful,             contumacious,                      and         outrageous                conduct         with      respect            to



         M.R.,          with          the         intent           to     cause,             and/or           with        reckless                disregard             of      the       probability             of      causing


         plaintiff        M.R.              to     suffer          severe          emotional                  distress.




         {00164060}                                                                                                       25



                                                                                                                    27 of 35
FILED: KINGS COUNTY CLERK 10/21/2019 12:03 PM                                                                                                                                                        INDEX NO. 522910/2019
NYSCEF DOC. NO. 1                   Case 20-50527-LSS                                          Doc 112-1                      Filed 11/05/20                            Page RECEIVED
                                                                                                                                                                             29 of 95 NYSCEF: 10/21/2019




                         143.              Defendants                   and/or            each           of     them,           and/or               their          agents,           servants,            employees,


          volunteers             and/or           staff,         engaged           in willful,            contumacious,                        and        outrageous              conduct          with      respect          to



          M.R.,         with         the     intent           to     degrade            and      abuse          M.R.,           and/or              to    satisfy       and        gratify         their       own        sick


          sexual        desires.


                         144.              Defendants                   and/or            each           of     them,           and/or               their          agents,           servants,            employees,


          volunteers                and/or           staff         committed               these         horrific             acts       with            malicious,            abusive            and       oppressive



          intent,       and      with        the      likelihood             of        causing         plaintiff         M.R.            to    suffer          severe         emotional            distress.


                         145.              That         as     a result           of     the     intentional              infliction                 of    emotional              distress         of      defendants,


          and/or         each         of     them,             and/or         their        agents,             servants,               employees                 and/or           staff      as      aforesaid,            the


          Plaintiff        M.R.            endured               sexual       abuse            and       molestation                 as well              as emotional                 abuse       and       emotional



          distress,        and        sustained                serious         and        severe          damage,              harm            and        injuries,         and       was      caused          to    suffer


          severe        and      significant                  conscious            pain        and       suffering,            including                  psychological                 suffering,          emotional



          suffering,           mental             anguish             and     loss        of     enjoyment               of     life,         and        has    incurred           medical            expenses            and


          other       economic               damages                and      loss,       and      will        continue            to      experience                  and     incur       these        damages            and


          losses        in the       future.


                         146.              That         by         reason         of     the      foregoing,               the          Plaintiff              M.R.         has       been        damaged            in     an


          amount          in        excess         of      the      jurisdictional                   limits        of    all     lower              Courts          which          would          otherwise            have


         jurisdiction               over       the      Defendants                 herein.



                                    AS AND                 FOR          A SEVENTH                         CAUSE                OF       ACTION                   ON BEHALF                        OF
                                                           PLAINTIFF                      M.R.         BASED              UPON                 A THEORY                       OF
                                                                   BATTERY                     AGAINST                   ALL            DEFENDANTS


                         147.              That         the      Plaintiff         M.R.          repeats,           reiterates                and        realleges          each       and     every         allegation


                                                                                                                                  "FIRST"
         contained             in    of the          Complaint               set       forth      in paragraphs                                            through            "ONE           HUNDRED                 AND




          {00164060}                                                                                                26



                                                                                                              28 of 35
FILED: KINGS COUNTY CLERK 10/21/2019 12:03 PM                                                                                                                                                                  INDEX NO. 522910/2019
NYSCEF DOC. NO. 1                Case 20-50527-LSS                                                 Doc 112-1                          Filed 11/05/20                                Page RECEIVED
                                                                                                                                                                                         30 of 95 NYSCEF: 10/21/2019



          FORTY-SIXTH"
                                                   inclusive              with         the         same            force       and         effect         as though                said     allegations            were        herein



          fully       set forth        at length.


                         148.             The           horrific             acts          of      the          defendants                  and/or             each        of       them,        and/or          their        agents,


          servants,            employees,                      volunteers                  and/or               staff         amounted                   to     harmful              and       offensive            contacts             to


          plaintiff          M.R.,           all        of     which            were             done            intentionally                     by     the       defendants                 and      without            plaintiff


          M.R.'s         consent.


                         149.             Such           acts         were       of        a sexual                 and       sexually             ab.usive             nature        as well          as an       emotionally


          abusive        nature,            and         were          done       without                 plaintiff's               consent.


                         150.             Such           acts         were        done             for        the       purposes              of        degrading               and       abusing          M.R.,          and/or         to



          gratify        the       sick        sexual                 desires          of         the          defendants                  and/or              each       of        them,        and/or          their        agents,


          servants,          employees,                      volunteers               and/or              staff.


                         151.             As        a        direct       and          proximate                      result          of      the        battery           and/or             sexual         battery          by        the



          defendants,              plaintiff                 M.R.        was        caused                to       suffer          serious          and         severe             personal          injuries,           emotional



          distress,          conscious                   pain          and       suffering,                     psychological                       suffering,                  emotional              suffering,             mental


          anguish         and        loss          of        enjoyment                of        life,         and       has        incurred              medical           expenses              and       other         economic


          damages            and      loss,             and      will        continue                    to     experience                  and         incur       these           damages            and       losses            in   the


          future.


                         152.             That          as a result              of        the          battery           and/or           sexual             battery         of     defendants,               and/or        each        of



          them,        and/or        their          agents,             servants,                employees,                    volunteers                 and/or           staff       as aforesaid,               the     Plaintiff


          M.R.         was       caused                 to      suffer          severe                  and         significant               conscious                   pain         and       suffering,              including


         psychological                 suffering,                     emotional                  suffering,                 mental           anguish              and      loss        of     enjoyment             of     life,        and


          has       incurred          medical                  expenses                and              other         economic                 damages                  and         loss,      and      will        continue              to


          experience            and       incur              these       damages                  and         losses          in the        future.




          {00164060}                                                                                                          27



                                                                                                                    29 of 35
FILED: KINGS COUNTY CLERK 10/21/2019 12:03 PM                                                                                                                                                                   INDEX NO. 522910/2019
NYSCEF DOC. NO. 1                     Case 20-50527-LSS                                          Doc 112-1                          Filed 11/05/20                                 Page RECEIVED
                                                                                                                                                                                        31 of 95 NYSCEF: 10/21/2019




                          153.               That          by       reason            of        the       foregoing,                    plaintiff            M.R.             is    entitled          to        compensatory


          damages               from         the     defendants,               and          is further               entitled            to punitive               and        exemplary              damages.


                          154.               That         by        reason          of        the       foregoing,                  the         Plaintiff           M.R.            has      been          damaged             in      an


          amount           in     excess             of     the      jurisdictional                      limits            of     all     lower           Courts          which             would           otherwise              have


         jurisdiction                 over         the    Defendants                  herein.


                                      AS AND                FOR          AN EIGHTH                               CAUSE                  OF ACTION             ON BEHALF                                    OF
                                                            PLAINTIFF                           M.R.          BASED                UPON                A THEORY   OF
                                                                     ASSAULT                       AGAINST                      ALL             DEFENDANTS


                         155.                That         the     Plaintiff           M.R.             repeats,            reiterates               and      realleges               each      and      every            allegation


                                                                                                                                           "FIRST"
          contained              in    of     the        Complaint              set        forth        in    paragraphs                                           through            "ONE          HUNDRED                    AND

          FIFTY-FOURTH"
                                                         inclusive             with             the      same             force         and         effect         as    though             said       allegations                 were


          herein        fully         set forth            at length.


                         156.                The         horrific            acts        of       the        defendants                   and/or             each        of        them,       and/or            their       agents,


          servants,             employees,                  volunteers                   and/or              staff        were           intended             to     create           and      did         in    fact      create           a


          reasonable              apprehension                       in plaintiff                M.R.          of     immediate                  harmful            and        offensive             contacts            including


          but   not       limited             to     sexual          contacts              to      M.R.'S             person,             all     of   which            were         done       intentionally                 by      the


          defendants              and        without             plaintiff           M.R.'S               consent.


                         157.                Such         acts       were       of         a sexually                 abusive             nature,            and        were         done      intentionally                  by      the


          defendants              without                M.R.'S         consent.


                         158.                Such         acts       were       done             for      the        purposes               of      degrading                 and      abusing             M.R.,          and/or       to



          gratify        the          sick         sexual           desires           of         the         defendants                  and/or             each         of        them,       and/or            their       agents,


          servants,         employees,                     volunteers               and/or              staff.


                         159.                As      a     direct        and          proximate                      result         of      the        assault           and/or             sexual          assault          by       the



         defendants,                  plaintiff            M.R.         was         caused              to       suffer         serious             and      severe            personal            injuries,             emotional




          {00164060}                                                                                                       28



                                                                                                                  30 of 35
FILED: KINGS COUNTY CLERK 10/21/2019 12:03 PM                                                                                                                                                               INDEX NO. 522910/2019
NYSCEF DOC. NO. 1                Case 20-50527-LSS                                             Doc 112-1                          Filed 11/05/20                               Page RECEIVED
                                                                                                                                                                                    32 of 95 NYSCEF: 10/21/2019




          distress,            conscious               pain            and        suffering,                 psychological                        suffering,              emotional                 suffering,              mental


          anguish         and        loss       of         enjoyment                of       life,        and       has        incurred             medical           expenses                and        other         economic


          damages              and     loss,          and        will        continue                to      experience                   and       incur      these           damages              and       losses             in     the


          future.


                         160.            That          as a result                of     the         assault          and/or            sexual         assault         of       defendants,                 and/or         each          of



          them,       and/or         their           agents,            servants,              employees,                    volunteers               and/or         staff        as aforesaid,                  the     Plaintiff


          M.R.          was       caused              to     suffer              severe              and          significant               conscious               pain          and         suffering,               including


          psychological                  suffering,                   emotional               suffering,               mental              anguish           and     loss         of    enjoyment                 of     life,         and


          has       incurred           medical               expenses                   and          other          economic                 damages               and         loss,         and     will        contiñue                to


          experience             and      incur            these        damages                and         losses         in the          future.


                         161.            That          by          reason           of        the         foregoing,                  plaintiff             M.R.          is    entitled            to      compeñsatory


          damages             from       the     defendants,                     and        is further              entitled           to punitive             and        exeñiplary                damages.


                         162.            That          by        reason            of       the        foregoing,                 the        Plaintiff             M.R.         has          been        damaged                 in      an


          amount          in     excess           of       the        jurisdictional                      limits        of      all       lower        Courts         which             would            otherwise                    have


         jurisdiction             over         the     Defendants                   herein.


                          STATEMENT                                REGARDING                               INTENT                     TO SEEK                PUNITIVE                        DAMAGES



                        While            not                               punitive               . damages                  as       a     separate              cause          of      action,             Plaintiff                puts
                                                      seeking

                                                                        Defendants'
         Defendants               on      notice            that                                       acts         and        omissions              and      statutory               violations             were        wonton


          and       reckless         and         evidence                 of      disregard                  of     the        rights        and         safety       of        the      general            public          and          of


         Plaintiff.            Punitive              damages              will         be     requested               to punish                 Defendants                and      deter        others         from         similar


          conduct.




                         WHEREFORE,                              M.R.,           demañds                  a monetary                  judgment               in the        form         of    damages             against               the


         Defendants               and/or         each            of     them,          on the          First         Cause            of Action.




          {00164060}                                                                                                      29



                                                                                                                  31 of 35
FILED: KINGS COUNTY CLERK 10/21/2019 12:03 PM                                                                                                                                 INDEX NO. 522910/2019
NYSCEF DOC. NO. 1              Case 20-50527-LSS                                 Doc 112-1                   Filed 11/05/20                          Page RECEIVED
                                                                                                                                                          33 of 95 NYSCEF: 10/21/2019




                        WHEREFORE,                        M.R.,         demañds          a monetary              judgment               in the   form       of   damages             against         the


          Defendants            and/or         each      of them,         on the       Second          Cause           of    Action.



                        WHEREFORE,                        M.R.,         demands          a monetary              judgment               in the   form       of   damages             against         the


          Defendants            and/or         each      of     them,     on the       Third       Cause          of Action.



                        WHEREFORE,                       M.R.,          demands          a monetary              judgment               in the   form       of   damages             against         the


          Defendants            and/or         each      of them,         on the       Fourth          Cause          of Action.



                       WHEREFORE,                        M.R.,          demañds          a monetary              judgment               in the   form       of   damages             against         the


          Defendants            and/or         each     of them,          on the       Fifth       Cause         of Action.



                       WHEREFORE,                        M.R.,          demands          a monetary              judgment               in the   form       of   damages             against         the


          Defendants            and/or         each     of      them,     on the       Sixth       Cause         of Action.



                       WHEREFORE,                        M.R.,          demands          a monetary              judgment               in the   form       of   damages             against         the


          Defendants            and/or         each     of them,          on the       Seventh          Cause          of Action.



                       WHEREFORE,                        M.R.,          demands          a monetary              judgment               in the   form       of   damages             against         the


          Defendants            and/or         each       of      them,     on     the        Eighth        Cause            of    Action,       together          with       the        costs    and


          disbursements             of this          action.




                                   PLAINTIFFS                      DEMAND                A TRIAL                 BY JURY                 ON ALL          ISSUES.




          Dated:       Brooklyn,              New       York
                       October          21,    2019


                       "I   have        read     the     foregoing          and        I certify        that,         upon        information           and      belief,       the       source       of
         which        is the     review         of     a file     maintained             by     my     office,         that       the    foregoing       Summons                   and    Verified
          Complaint            is not     frivolous            as defined         in   Subsection               (c)    of     Section        130-1.1        of the         Rules     of the




          {00164060}                                                                                   30



                                                                                               32 of 35
FILED: KINGS COUNTY CLERK 10/21/2019 12:03 PM                                                                            INDEX NO. 522910/2019
NYSCEF DOC. NO. 1              Case 20-50527-LSS   Doc 112-1    Filed 11/05/20              Page RECEIVED
                                                                                                 34 of 95 NYSCEF: 10/21/2019



                                Administrator."
                       Chief




                                                                       Y       rs,     tc.,




                                                                                 Bo            a, Esq.
                                                                       Bonina         &       Bonina,            P.C.
                                                                       Attorneys              for    Plaintiff
                                                                       16 Court             Street      -   Suite         1800

                                                                       Brooklyn,              New       York            11241
                                                                       Phone         No.:       (718)       522-1786




          {00164060}                                       31



                                                        33 of 35
FILED: KINGS COUNTY CLERK 10/21/2019 12:03 PM                                                                                                           INDEX NO. 522910/2019
NYSCEF DOC. NO. 1                   Case 20-50527-LSS                 Doc 112-1               Filed 11/05/20                         Page RECEIVED
                                                                                                                                          35 of 95 NYSCEF: 10/21/2019
   STATE      OF NEW       YORK,       COUNTY      OF KINGS              ss:



   I, the undersigned,    am an attorney admitted to practice in the courts of New York, and
                     certify that the annexed
                     has been compared by me with the original and found to be a true and complete copy thereof.
    Attorney's
    Certification



                     John Bonina, Esq. say that: I am the attorney of record, or of counsel with the attorney(s) of record, for the plaintiff(s).
        X            I have read the annexed SUMMONS          AND VERIFIED        COMPLANT      know the contents thereof and the same are true to my
    Attorney's       knowledge, except those matters therein which are stated to be alleged on information and belief, and as to those matters I believe them
   Verification By   to be true. My belief, as to those matters therein not stated upon knowledge, is based on the following. By a review of a file maintained
    Affinnation
                     in my office.

                     The reason I make this affirmation    instead of Plaintiff(s)   is Plaintiff     re de(s) in a County other than th                 ne in which I maintain   my
                     office.

   I affirm that the foregoing statements are true under penalties of perjury.
   Dated:   October 21, 2019                                                                              ------     -----------               ------ -----------   -
                                                                                                    oni    a,      sq.
   STATE      OF NEW       YORK,       COUNTY      OF KINGS              ss:


                     being sworn says: I am the plaintiff in the action herein; I have read the annexed know the contents thereof and the same are true to my
                     knowledge, except those matters therein which are stated to be alleged on information and belief, and as to those matters I believe them
     Individual      to be true.
    Verification
                   the                                                    of
                   a corporation, one of the parties to the action; I have read the annexed
     Corporate     know the contents thereof and the same are true to my knowledge, except those matters therein which are stated to be alleged
    verificatio"
                   on information and belief, and as to those matters I believe them to be true.
   My belief, as to those matters therein not stated upon knowledge, is based on the following:
   Sworn to before me on
                                                                                          _______________                          ________________________________..



   STATE      OF NEW       YORK,       COUNTY      OF KINGS
                                                                    ss:
   , being sworn says: I am not a party to the action, am over the age of 18 years of age and reside in
   On, I served a true copy of the annexed in the following manner:


                     by mailing the same in a sealed envelope, with postage prepaid thereon, in a post-office or official depository of the U.S.
     ServiceBy       Postal Service within the State of New York, addressed to the last known address of the addressee(s) as indicated below:
       Mail


                     by E-filing    the same with the Supreme Court - New York County to the addressee(s) as indicated                       below:
     Serviceby
      E-filing

                     by transmitting the same to the attorney by electronic means to the telephone number or other station or other limitation designated by
    ServiceBy        the attomey for that purpose. In doing so I received a signal from the equipment of the attorney indicating that the transmission
    Electronic       was received, and mailed a copy of same to that attomey, in a sealed envelope, with postage prepaid thereon, in a post office or
     Means           official depository of the U.S. Postal Service within the State of New York, addressed to the last known address of the addressee(s) as I
                     indicated below:


                     by depositing the same with an overnight delivery service in a wrapper properly addressed. Said delivery was made prior to the latest
     Service         time designated by the overnight delivery service for overnight delivery. The address and delivery service are indicated below:
           By
     Overnight
      Delivery

   Sworn to before       me on
   _______________                 _____________________________________                  ________                 ________________________________________________




   {00163982}


                                                                                 34 of 35
FILED: KINGS COUNTY CLERK 10/21/2019 12:03 PM                                                                                                                             INDEX NO. 522910/2019
NYSCEF DOC. NO. 1                      Case 20-50527-LSS                        Doc 112-1                   Filed 11/05/20                          Page RECEIVED
                                                                                                                                                         36 of 95 NYSCEF: 10/21/2019

           Index         No.:       522910/2019
           SUPREME                  COURT         OF THE          STATE         OF       NEW YORK
           COUNTY               OF KINGS


           M.R.,


                                                                                             Plaintiff,
                           -against-



           BOY           SCOUTS             OF AMERICA;  NATIONAL    BOY                                           SCOUTS              OF        AMERICA   FOUNDATION;
           SCOUTS               BSA;       GREATER   NEW YORK COUNCILS,                                             BOY           SCOUTS         OF AMERICA;    GREATER
           NEW YORK                     COUNCILS,              QUEENS            COUNCIL,                  BOY            SCOUTS              OF AMERICA;    DIOCESE    OF

           BROOKLYN;                     ST.    BENEDICT               JOSEPH             LABRE             CHURCH;                  ST.      BENEDICT                 JOSEPH             LABRE
                      CATHOLIC                          YOUTH              ORGANIZATION                      - DIOCESE                 OF BROOKLYN;                           and   JAMES              T.
           SCHOOL;
           GRACE   JR.,


                                                                                             Defendants.


                                                            SUMMONS                 AND         VERIFIED                  COMPLAINT


                                                                            BONINA              & BONINA,                     P.C.

                                                                               Attorneys            for    Plaintiff(s)
                                                                             16 Court           Street,      Suite         1800

                                                                             Brooklyn,           New        York          11241
                                                                             Tele.       No.:      (718)       522-1786
                                                                              Fax     No.:        (718)       243-0414


           Pursuant        to 22 NYCRR         130-1.1,     the undersigned,         an attorney admitted to practi                          in the courts     ofNew      York State         certifies
            that, upon       information       and belief     and reasonable          inquiry,  the contentions co tai                       ed in the annexed         docume             are      t
           frivolous.

                                                                                                          Signature·
           Dated:         October      21, 2019
                                                                                                          Print     Sig       r's Na          : John   Bonina,         Esq.


           Service        of a copy of the within                                                                                                             is hereby       admitted.
           Dated:


                                                                                                          Attorney(s)         for
                                                                                                                          -
           PLEASE           TAKE       NOTICE
                                 that the within        is a (certified)     true copy of a entered                in the office       of the clerk      of the within          named     Court        on

             Notice of
                 Entry
                                 that an Order   of which the within is a true copy will                           be presented        for     settlement      to the Hon.
                                 one of the judges of the within named Court,
             Notice of                                                                                                                         20                             M
                                 at                                          on                                                                        , at
             Settlement
                 Dated:                                                                                                                BONINA                 & BONINA,               P.C.
                                                                                                                                       Attorneys for Plaintiff(s)
                                                                                                                                        16 COURT    STREET
                                 To:                                                                                                   BROOKLYN,                N.Y.      11241
                                 Attorney(s)      for




    {00163982}



                                                                                             35 of 35
Case 20-50527-LSS   Doc 112-1   Filed 11/05/20   Page 37 of 95




                    EXHIBIT B
FILED: QUEENS COUNTY CLERK 10/11/2019 11:49 AM                                                 INDEX NO. 717381/2019
NYSCEF DOC. NO. 1       Case 20-50527-LSS        Doc 112-1     Filed 11/05/20      Page RECEIVED
                                                                                        38 of 95 NYSCEF: 10/11/2019



         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF QUEENS
         ------------------------------------------------------------------X
                                                                               Index No.:
         N.P.,

                                         Plaintiff,                            SUMMONS

                                 V.
                                                                               Venue is based on residence
                                                                               of one or more Defendant ST.
         LAWRENCE SVRCEK, ST. DEMETRI OS GREEK                                 DEMETRIOS GREEK
         ORTHODOX CHURCH, GREEK ORTHODOX                                       ORTHODOX CHURCH,
         ARCHDIOCESE OF AMERICA, THE BOY SCOUTS OF                             ST. DEMETRIOS GREEK
         AMERICA, and THE BOY SCOUTS OF AMERICA                                ORTHODOX CHURCH
         GREATER NEW YORK COUNCILS,                                            8435 152nd St, Jamaica, NY
                                                                               11432.


                                         Defendants.

          -----------------------------------------------------------------X



         To the above-named Defendants:



                 YOU ARE HEREBY SUMMONED to answer the attached Verified Complaint of

         Plaintiff, N.P., dated October 11, 2019, a true and accurate copy of which is served upon you

         herewith. You must serve your Verified Answer upon the undersigned attorneys either (1) within

         twenty days after service of this Summons and the attached Verified Complaint, exclusive of the

         day you received it. if you were served personally in the State of New York, or (2) within thirty

         days after service, exclusive of the day you received it, if you were not served personally in New

          York State.

                 PLEASE TAKE NOTICE that should you fail to serve your Verified Answer within the

         time prescribed under applicable law, Plaintiff, N.P., will take judgment against you by default




                                                        1 of 28
FILED: QUEENS COUNTY CLERK 10/11/2019 11:49 AM                                                                                                          INDEX NO. 717381/2019
NYSCEF DOC. NO. 1                 Case 20-50527-LSS                                Doc 112-1       Filed 11/05/20                 Page RECEIVED
                                                                                                                                       39 of 95 NYSCEF: 10/11/2019



          for     the    relief      demanded                  in     the   Verified   Complaint    pursuant       to    Section          3215     of   the   New   York


          Civil     Practice             Law          and    Rules.


         Dated:          New       York,              New     York
                         October               11,    2019


                                                                                                    BELLUCK         &      FOX,     LLP




                                                                                                    Kristina      Georgi         , Esq
                                                                                                            5th               5th
                                                                                                    546         Avenue,            Floor
                                                                                                   New     York,        New       York     10036




         To:


         LAWRENCE                        SVRCEK
         700      Latham           Lane

         Orient,         NY       11957




         ST.      DEMETRIOS                          GREEK            ORTHODOX          CHURCH
         8435       152nd          St,     Jamaica,            NY      11432




         GREEK            ORTHODOX                           ARCHDIOCESE               OF AMERICA
         8 E 79th          St, New              York,        NY       10075


         THE        BOY           SCOUTS                OF AMERICA
         1325       W.     Walnut              Hill     Lane         # S406

         Irving         Texas       75038




         THE        BOY           SCOUTS                OF AMERICA
         GREATER                  NEW            YORK           COUNCILS
         475      Riverside              Dr,     New         York,      NY     10115




                                                                                          2 of 28
FILED: QUEENS COUNTY CLERK 10/11/2019 11:49 AM                                                                                                                                            INDEX NO. 717381/2019
NYSCEF DOC. NO. 1                Case 20-50527-LSS                                        Doc 112-1                     Filed 11/05/20                       Page RECEIVED
                                                                                                                                                                  40 of 95 NYSCEF: 10/11/2019



         SUPREME                 COURT                  OF THE               STATE             OF    NEW YORK
         COUNTY                 OF QUEENS
         ------------------------------------------------------------------------X
                                                                                                                                                     Index         No.:

         N.P.,


                                                                          Plaintiff,                                                                 COMPLAINT


                                                          v.

                                                                                                                                                     Jury     Trial        Demanded


         LAWRENCE                      SVRCEK,                   ST.      DEMETRIOS                        GREEK
         ORTHODOX                      CHURCH,                    GREEK                ORTHODOX
         ARCHDIOCESE                      OF AMERICA,                                 THE        BOY         SCOUTS               OF
         AMERICA,                  and          THE       BOY           SCOUTS                 OF AMERICA
         GREATER                 NEW YORK                         COUNCILS


         _________ ________ ________________________________________-------------X



                        N.P.,         by        his    undersigned                 attorneys,          for     his      Complaint,              alleges         on     personal           knowledge             as


         to himself             and        on     information                and      belief      as to      all     other       matters,       as follows:


                                                                                   NATURE               OF         THE         ACTION


                        1.                 This        action      is timely             commenced                   pursuant           to   the     New        York            State    Child       Victims



         Act,     dated         February                14,     2019      (22      NYCRR              202.72).             and    CPLR          §214-g.


                        2.                 The         Child           Victims            Act        allows            individuals              whom            a     sexual            offense(s)          was


         committed              against               as a child,             recourse           against           those       who      both       committed               the      sexual        offense(s)


         and/or        those       who            permitted            the     sexual          offense(s)            and      failed     to address          it.


                        3.                 This       is an action               to recover           damages                arising     from        LAWRENCE                       SVRCEK             sexual


         molestation              of       Plaintiff            N.P.         during       the       years      of      1977-1982,               when        N.P.          was      approximately               11


         years       old.


                                                                                                              N.P.'
                        4.                 LAWRENCE                          SVRCEK                  was                       was      a      gym        and         science           teacher        at      St.



         Demetrios,              N.Y.             Day         School,          which           was     the         parochial           school        of     ST.       DEMETRIOS                      GREEK




                                                                                                        3 of 28
FILED: QUEENS COUNTY CLERK 10/11/2019 11:49 AM                                                                                                                                         INDEX NO. 717381/2019
NYSCEF DOC. NO. 1               Case 20-50527-LSS                                     Doc 112-1                   Filed 11/05/20                         Page RECEIVED
                                                                                                                                                              41 of 95 NYSCEF: 10/11/2019



         ORTHODOX                        CHURCH,                   which             was        under           the       direction              and         control           of          the         GREEK


         ORTHODOX                      ARCHDIOCESE                         OF AMERICA.


                        5.             During          the     summer           of     1977       LAWRENCE                        SVRCEK               was     in    charge           of     the       summer



         school        at St. Demetrios,                 N.Y.        Day        School          at which          N.P.      was         a student.



                        6.             During          the     periods          of     abuse,         LAWRENCE                         SVRCEK              maintained                an     office            at    St.



         Demetrios,             N.Y.         Day       School,         wherein             he    would          engage            in    sexually          explicit        behavior                    and         lewd



         and      lascivious           conduct         with        N.P..


                                                                                                                 N.P.'
                        7.               LAWRENCE                      SVRCEK                   was      also                Boy          Scout        Scoutmaster,                   Troop             number



         346,       which        was      a part         of    THE         BOY             SCOUTS               OF     AMERICA,                    and       THE          BOY              SCOUTS                   OF


         AMERICA                GREATER                  NEW YORK                       COUNCILS.


                        8.             LAWRENCE                      SVRCEK                   engaged            in      sexually           explicit           behavior              and          lewd             and



         lascivious            conduct          with     N.P.        on    multiple             occasions             between            1977       and       1982,       in    Queens                 County,


         at      St.   Demetrios,             N.Y.           Day     School           and       at various            campsites                including            but   not        limited                to,      10


         Mile       River       and      Apline         Scout        Camp            during        Boy      Scout        trips,


                        9.             During          the    period       of        molestation           N.P.        brought           his     concerns            to the     church                board          of



         ST.       DEMETRIOS                    GREEK              ORTHODOX                       CHURCH.                 LAWRENCE                         SVRCEK               was          removed                 as


         N.P.'
                       Scoutmaster              but    remained            as a teacher               at St.      Demetrios,              N.Y.         Day     School.



                        10.            LAWRENCE                      SVRCEK,                    ST.     DEMETRIOS                        GREEK               ORTHODOX                            CHURCH,


         GREEK               ORTHODOX                   ARCHDIOCESE                             OF AMERICA,                        THE         BOY           SCOUTS             OF AMERICA,


         and      THE          BOY       SCOUTS               OF AMERICA                        GREATER                  NEW YORK                      COUNCILS                     will         be    referred


                                                   "Defendants."
         to     collectively           as the


                        11.            ST.       DEMETRIOS                       GREEK                ORTHODOX                          CHURCH,                 GREEK                  ORTHODOX


         ARCHDIOCESE                          OF        AMERICA,                      THE          BOY           SCOUTS                  OF        AMERICA,                    and           THE              BOY




                                                                                                      4 of 28
FILED: QUEENS COUNTY CLERK 10/11/2019 11:49 AM                                                                                                                                               INDEX NO. 717381/2019
NYSCEF DOC. NO. 1              Case 20-50527-LSS                                          Doc 112-1                     Filed 11/05/20                         Page RECEIVED
                                                                                                                                                                    42 of 95 NYSCEF: 10/11/2019



         SCOUTS              OF AMERICA                             GREATER                  NEW YORK                      COUNCILS                    will     be        referred          to    collectively

                                                  Defendants."
         as the      "Supervisory


                       12.            The          Supervisory                      Defendants,                  who           employed,               supervised,                   and/         or     directed


         LAWRENCE                      SVRCEK,                      failed          to     take          steps      to         prevent           LAWRENCE                       SVRCEK                   a      from



         molesting           the      children               in     his     care.        Instead,          the     Defendants               left      a sexual             predator              in    charge         of


         school-age            children                and        took        no     steps         to    protect          the     young            victims           on     whom             LAWRENCE


         SVRCEK              preyed.




                                                                                                            THE          PARTIES


                       13.            Plaintiff              N.P.         resided        in New           York      County,              New       York.        At    the     time          of the      events


         complained            of,     he was            a minor             residing         in        Queens         County,           New        York.


                       14.            LAWRENCE                             SVRCEK             is a resident               of    Suffolk          County         New          York.


                       15.            LAWRENCE                             SVRCEK             was         a teacher            at St.     Demetrios,             N.Y.        Day        School,          and      a


         scoutmaster            for    THE             BOY           SCOUTS               OF AMERICA                        during         the     periods           of the     molestations                  and


         abuse.


                       16.            ST.     DEMETRIOS                             GREEK               ORTHODOX                    CHURCH                    is a New         York          not-for-profit


         corporation           located            in     Queens             County.



                       17.            At    all        times        herein          mentioned              is,   ST.     DEMETRIOS                      GREEK               ORTHODOX


         CHURCH,              is a Greek                Orthodox               Parish        within          and       under       the     authority           of the        GREEK


         ORTHODOX                     ARCHDIOCESE                              OF AMERICA.


                       18.            At    all        times        herein          mentioned              is,   ST.     DEMETRIOS                      GREEK               ORTHODOX


         CHURCH,              created,            oversaw,                 supervised,             managed,              controlled,             directed        and        operated             St.



         Demetrios,           N.Y.         Day          School.




                                                                                                          5 of 28
FILED: QUEENS COUNTY CLERK 10/11/2019 11:49 AM                                                                                                                                      INDEX NO. 717381/2019
NYSCEF DOC. NO. 1               Case 20-50527-LSS                                       Doc 112-1                   Filed 11/05/20                         Page RECEIVED
                                                                                                                                                                43 of 95 NYSCEF: 10/11/2019



                         19.            At      all    times      herein          mentioned             is,   ST.     DEMETRIOS                     GREEK               ORTHODOX


          CHURCH,               oversaw,               supervised,             managed,              controlled,             directed           LAWRENCE                  SVRCEK.


                         20.            The           GREEK            ORTHODOX                     ARCHDIOCESE                           OF AMERICA                     is the     governing


          and    controlling             body          of the      Greek          Orthodox             Church             in the    United         States.          It controls         and     operates


                                                                          "metropolises"
          over     500     parishes             within         eight                                      and       the     Archdiocesan                District.


                         21.            Upon           information             and       belief,      the     GREEK                ORTHODOX                   ARCHDIOCESE                           OF


          AMERICA                   controls,          owns,          operates,         and        governs         ST.      DEMETRIOS                     GREEK            ORTHODOX


          CHURCH               in     accordance               with      its   own        Parish        Guidelines.                The     GREEK             ORTHODOX


         ARCHDIOCESE                            OF AMERICA                      is headquartered                    in New          York,        New         York.


                         22.            At      all    times      herein        mentioned              is, the       GREEK                ORTHODOX                    ARCHDIOCESE                        OF


         AMERICA,                   created,           oversaw,           supervised,               managed,              controlled,           directed        and      operated,            ST.


         DEMETRIOS                      GREEK              ORTHODOX                       CHURCH.


                         23.            At      all    times      herein        mentioned              is, the       GREEK                ORTHODOX                    ARCHDIOCESE                        OF


         AMERICA,                   created,           oversaw,           supervised,               managed,              controlled,           directed        and      operated         St.



         Demetrios,            N.Y.          Day        School.


                         24.            At      all    times      herein       mentioned               is the       GREEK                ORTHODOX                    ARCHDIOCESE                         OF


         AMERICA,                   oversaw,             supervised,              managed,            controlled,             directed          LAWRENCE                    SVRCEK.


                         25.            THE           BOY       SCOUTS                  OF AMERICA                    was        and      is a corporation               with      a principle


         place      of    business           in Irving,           Texas.


                         26.             THE           BOY        SCOUTS                OF AMERICA                        is authorized            to   do     business           and    does


         business          in the        State         of New          York,       in    Queens          county,           and     various        other       counties          in the        state


         through          various         local        and     regional           Boy       Scout       organizations                    such    as THE         BOY         SCOUTS               OF


         AMERICA                GREATER                    NEW           YORK            COUNCILS.




                                                                                                      6 of 28
FILED: QUEENS COUNTY CLERK 10/11/2019 11:49 AM                                                                                                                                                  INDEX NO. 717381/2019
NYSCEF DOC. NO. 1                 Case 20-50527-LSS                                   Doc 112-1                   Filed 11/05/20                            Page RECEIVED
                                                                                                                                                                 44 of 95 NYSCEF: 10/11/2019



                      27.               THE          BOY         SCOUTS              OF AMERICA                      GREATER                   NEW YORK                             COUNCILS                      is


         located       in New            York             County,        New     York.




                                                                             FACTUAL                   BACKGROUND


                      28.                ST.          DEMETRIOS                        GREEK              ORTHODOX                              CHURCH                            and           the        GREEK


         ORTHODOX                       ARCHDIOCESE                          OF AMERICA                       operated           St.     Demetrios,                N.Y.             Day         School         during


          1972-1982.


                      29.               LAWRENCE                         SVRCEK             duties       and      responsibilities                    as     a teacher                    and      scoutmaster


         included        supervising,                     interacting        with,       mentoring,             and      counseling                 minor          boys.


                      30.               LAWRENCE                         SVRCEK              developed            an       inappropriate                    relationship                    with           Plaintiff


         N.P.      inducing             Plaintiff            as a very         young         child,      to     look       up     to     him        and      to        place         absolute             trust        and


         confidence               in    him.         LAWRENCE                   SVRCEK                 then      abused           that        trust       and          confidence                  by      sexually


         molesting           N.P..


                      31.               From               1978-1982,           LAWRENCE                         SVRCEK                    engaged                 in        this         explicit             sexual


         behavior           and        lewd         and     lascivious         conduct         with      N.P.        when        N.P.         was     a minor                 child.


                      32.               LAWRENCE                         SVRCEK              was       acting          within          the      scope             of        his     employment                         as    a


         teacher       and         scoutmaster,                 soliciting           N.P.     trust     and       meeting              with       him        outside                the     supervision                     of


         other        adults.            LAWRENCE                         SVRCEK                abused            N.P.'s           trust          and         used                such           meetings                   as


         opportunities                 to rape        and      otherwise         molest         N.P..



                      33.               LAWRENCE                         SVRCEK              molested            N.P.       at     the        premises                 of     St.       Demetrios,                N.Y.



         Day       School         and         ST.    DEMETRIOS                   GREEK                ORTHODOX                    CHURCH.


                      34.               LAWRENCE                        SVRCEK              molested          N.P.       while         at Boy         scout             outings            and        trips.




                                                                                                      7 of 28
FILED: QUEENS COUNTY CLERK 10/11/2019 11:49 AM                                                                                                                                                           INDEX NO. 717381/2019
NYSCEF DOC. NO. 1                      Case 20-50527-LSS                                      Doc 112-1                          Filed 11/05/20                              Page RECEIVED
                                                                                                                                                                                  45 of 95 NYSCEF: 10/11/2019



                          35.              LAWRENCE                          SVRCEK                    encouraged                     underage               drinking              and      supplied             N.P.         with


         alcohol          while          on      Boy       Scout       camping                trips.


                          36.              LAWRENCE                          SVRECK,                   recommended                           Brian         Hughes            aka     Gerald            Esposito,           to      be


         a     teacher            at     St.                                 N.Y.                       School              and            be                   Scout        leader                           the       above-
                                                  Demetrios,                                 Day                                                   Boy                                       during


         mentioned                time          period,         and        Brian          Hughes             subsequently                        was        hired        as a teacher                  and     Boy        Scout


         leader


                         37.               Brian          Hughes             also      engaged            in     sexually                  explicit          behavior              and     lewd         and      lascivious


         conduct            minor          boys,        including              N.P..


                         38.               Brian          Hughes             left      his      employ            at       St.        Demetrios,                 N.Y.        Day         School          suddenly               and


         without           warning               during         the    above-mentioned                          time         period.               Several          weeks          later     Brian           Hughes           was


         arrested           for        child      molestation                 in     New           Jersey.           Brian            Hughes               was      a known              child         molester          to      the


         BOY        SCOUTS                     OF AMERICA.


                         39.               The         Supervisory                  Defendants                 failed            to    direct          and/or           supervise            Brian           Hughes           in       a


                                                                                          Hughes'
         manner           to prevent,               or detect,             Brian                               sexual             abuse            of minor          boys,         including             N.P..


                         40.               THE          BOY           SCOUTS                 OF AMERICA                               is     one      of    the     largest         youth          organizations                   in


         the     United            States,          with        more          than        2.4       million               youth            participants              and       nearly            one     million           adult


         volunteers.               THE           BOY        SCOUTS                  OF AMERICA                             was         founded             in     1910,       and        since     then,         more         than


         110      million              Americans             have          been        participants                  in     THE            BOY           SCOUTS               OF AMERICA                          programs


         at some          time.


                         41.                   Throughout              its    history,             THE         BOY           SCOUTS                    OF AMERICA                          has    held        itself     out       to


                                                                   safe"
         the     public           as     "moral           and                   environment                    for        boys          to      participate             in    healthy            outdoor            activities


         and     to be given                   proper       guidance                and      instruction.




                                                                                                              8 of 28
FILED: QUEENS COUNTY CLERK 10/11/2019 11:49 AM                                                                                                                                                                         INDEX NO. 717381/2019
NYSCEF DOC. NO. 1                Case 20-50527-LSS                                             Doc 112-1                            Filed 11/05/20                                  Page RECEIVED
                                                                                                                                                                                         46 of 95 NYSCEF: 10/11/2019



                        42.              Despite                carrying             itself        out         as     a "moral                 and         safe        environment",                          since           the         1940s,


         THE         BOY         SCOUTS                        OF      AMERICA                     has         been          surreptitiously                      removing                    Scoutmasters                          for    child


         sexual         abuse           at     a terrifying                   and         shocking                  rate.        THE           BOY               SCOUTS                     OF        AMERICA                         records


         demonstrate                  that     it        has     long        known             that         scouting               attracts           pedophiles                     in      large          numbers                  and     that



         scouts      are       at the         heightened                   risk     of      sexual          abuse           by      child          molesters.


                        43.              Notwithstanding                             this      knowledge                         and     relationship                    of         trust        owed             to        the      children



         Boy      Scouts          and         the        parents           who          enrolled            their         children             in     the        Boy       Scouts,                THE             BOY              SCOUTS


         OF         AMERICA                         negligently,                     recklessly,                     and           willfully                failed              to          protect               plaintiff                 from


         LAWRENCE                        SVRCEK                      's sexual              abuse,          permitted                  the         abuse         to     occur,              neglected                  to     adequately


         supervise              LAWRENCE                               SVRCEK,                     failed            to      timely                investigate                  LAWRENCE                                SVRCEK                     's



         misconduct,                  acted         to    protect           their        own        self-interest                   to the           detriment                 of     innocent               children.                and     are


         otherwise              responsible                      for         LAWRENCE                               SVRCEK's                         sexual              assault                 of      Plaintiff                   and      his


         consequential                  injuries               and     damage.


                        44.              The         Supervisory                    Defendants                  hired             and/or            appointed                  LAWRENCE                            SVRCEK                    as a



         teacher,          coach,             mentor,                and      counselor                  for        minor              boys.          By         so     hiring              or        appointing                    him,      the



         Supervisory              Defendants                     made             certain       representations                          about            LAWRENCE                            SVRCEK                        's character,



         specifically             that        LAWRENCE                             SVRCEK                   was           a role        model              for     minor             boys             and     an        individual              to


         whom        minor             boys         could            be    safely           entrusted.               At      the       time         the     Supervisory                      Defendants                           hired     and/


         or    appointed               LAWRENCE                             SVRCEK                    and       made              these            representations                          about           his        character,             the



         Supervisory              Defendants                        knew,          or     should            have          known,              of     LAWRENCE                               SVRCEK                      's propensity


         to    molest          boys           and         should            not         have       put         him          in     a position                of        trust         and         confidence                       with,      and



         authority            over,      young             boys.




                                                                                                                9 of 28
FILED: QUEENS COUNTY CLERK 10/11/2019 11:49 AM                                                                                                                                                         INDEX NO. 717381/2019
NYSCEF DOC. NO. 1                  Case 20-50527-LSS                                       Doc 112-1                        Filed 11/05/20                          Page RECEIVED
                                                                                                                                                                         47 of 95 NYSCEF: 10/11/2019



                         45.             Rather              than        taking           steps            to     prevent              LAWRENCE                        SVRCEK                      from          sexually


         assaulting               children,             including                removing              him          from          a     position           of       trust       and         confidence                    with,


         authority              over,         young            boys,          the        Supervisory                    Defendants                 instead           turned            a     blind           eye       while


         LAWRENCE                       SVRCEK                   repeatedly              molested               N.P.       over        a five      period.


                         46.             The          Supervisory                   Defendants                    failed          to     direct        and/or               supervise                  LAWRENCE


         SVRCEK                  in     a manner              to      prevent,            or     detect,           LAWRENCE                         SVRCEK's                  sexual              abuse        of      minor



         boys,       including            N.P..


                         47.             As       a     result         of      LAWRENCE                           SVRCEK                  sexual           abuse,            N.P.          suffered            physical,


         psychological,                   and         emotional                injury.          N.P.            experienced               feelings            of     guilt,         loss          of     self-respect,


         shame,            embarrassment,                          sadness,              anger,            depression,                 anxiety,            and        confusion                   resulting               from


         LAWRENCE                        SVRCEK                    sexual         abuse.          N.P.           developed              life-long            problems               with          authority,              with



         sex,      and         with      being          touched             as      a result          of        LAWRENCE                        SVRCEK                sexual           abuse.            He      suffered


         from      nightmares,                  panic         attacks,           and     flashbacks.


                         48.             N.P.         only         as an         adult         came        to     understand               that       he     had      been          harmed               and       that      the


         harm        was        caused          by      the      explicit           sexual        behavior               and      lewd          and    lascivious               acts        of.        LAWRENCE


         SVRCEK.

                                                                                                                         life"
                         49.             LAWRENCE                           SVRCEK                "stole          his              from         him,       by      molesting               him          when          he was


         a child         and      leaving             him      with         lifelong,           deep-seated                 problems              whose            origins          he     did         not    until       later


         on     in his     life       suspect          or understand.




                                                                                          CAUSES                  OF ACTION


                                                                                 FIRST            CAUSE                 OF        ACTION:




                                                                                                           10 of 28
FILED: QUEENS COUNTY CLERK 10/11/2019 11:49 AM                                                                                                                                                                INDEX NO. 717381/2019
NYSCEF DOC. NO. 1                    Case 20-50527-LSS                                           Doc 112-1                         Filed 11/05/20                                 Page RECEIVED
                                                                                                                                                                                       48 of 95 NYSCEF: 10/11/2019




          ASSAULT                     AND             BATTERY,                       SEXUAL                      MOLESTATION                                    ABUSE                 OD A MINOR.                    SEXUAL
                                                                                                                 BATTERY



                         50.                That            at all     times         hereinafter                   mentioned,                    the        plaintiff           repeat,        reiterate,        and        reallege


                                                                                                                                                                                                                                    "1"
         each          and         every             allegation              contained                 in        the        paragraphs                  of       this          Complaint              designated              as


                             "49"
         through                          herein              , as though                more     fully            set forth           herein               at length.


                         51.                On         numerous                occasions                from                1977      to     1982,              Defendant                 LAWRENCE                     SVRCEK


         intentionally                    touched               N.P.          's     body         when                 he     engaged                  in      sexual            behavior            and     the       lewd         and



         lascivious                conduct              described              above.            Such            bodily         contact            was           offensive              and     was       without           consent,


         because             N.P.,         as a minor,                 was         incapable                of    consenting                to these               acts.


                         52.               The              seduction,              sexual        touching,                    and         molestations                        were         committed            against           N.P.


         without             his     consent                as N.P.         did      not       comprehend                      or understand                       what         LAWRENCE                     SVRCEK                was



         doing         or the          harm           it would           cause           him.


                         53.               By          reason          of      the        age     of        the        plaintiff            at     the         time        of     the       molestation              and      sexual



         abuse,         the        plaintiff            was       unable           to perceive                   the        harm      posed             to him            by     LAWRENCE                    SVRCEK                 and


         or      his     conduct/omissions                                   and         could          not            consent              to         the        sexual              and      physical             conduct            by


         LAWRENCE                          SVRECK                     and     did        not    consent.


                         54.               At         all     times         herein         relevant               LAWRENCE                             SVRCEK                   was         acting      within        the     course


         and       scope             of    his          employment,                      appointment                         and/or         agency                 with          ST.        DEMETRIOS                       GREEK


         ORTHODOX                          CHURCH,                     and         the     GREEK                  ORTHODOX                             ARCHDIOCESE                              OF AMERICA.


                         55.               At         all     times         herein         relevant               LAWRENCE                             SVRCEK                   was         acting      within        the     course


         and       scope             of        his          employment,                    appointment                        and/or             agency                 with       THE           BOY         SCOUTS                 OF


         AMERICA,                      and       THE           BOY           SCOUTS                OF AMERICA                               GREATER                        NEW              YORK         COUNCILS.




                                                                                                                  11 of 28
FILED: QUEENS COUNTY CLERK 10/11/2019 11:49 AM                                                                                                                                                                  INDEX NO. 717381/2019
NYSCEF DOC. NO. 1                   Case 20-50527-LSS                                           Doc 112-1                             Filed 11/05/20                             Page RECEIVED
                                                                                                                                                                                      49 of 95 NYSCEF: 10/11/2019




                        56.            At      all        times         herein             relevant,              LAWRENCE                               SVRCEK                  offensively                 touched          N.P.         's



         body,          LAWRENCE                           SVRCEK                       while              employed                    and/or                appointed                by    some               or     all     of      the



         Supervisory                Defendants                    as N.P.               's     teacher,               Scoutmaster,                       coach,             mentor,        and         counselor.              It    was


         part      of   LAWRENCE                               SVRCEK                 job        as        role        model,              teacher,                  Scoutmaster,                 and          coach,        to     gain


         N.P.       's trust.


                        57.            LAWRENCE                               SVRCEK                       used        his      position,                 and         the      representations                      made      by     the



         Supervisory                Defendants                    about         his          character               that      accompanied                          that      position,          to     gain        N.P.      's trust


         and     confidence             and          to    create         opportunities                        to be alone                  with,            and      touch,       N.P..


                        58.            N.P.           suffered                 injury           as         a    result           of        LAWRENCE                             SVRCEK                  offensive              bodily


         contact,         including            psychological                         and        emotional                    injury         as described                     above.


                        59.            By       the            reason           of      the       foregoing,                    LAWRENCE                               SVRCEK               is        liable         to     N.P.      for



         battery        in    a sum         exceeding                   the jurisdictional                           limits       of       all     lower            courts.




                                                                                SECOND                         CAUSE                  OF     ACTION.

                                                                                              NEGLIGENT                               HIRING
                                                           AGAINST                      ALL            SUPERVISORY                                     DEFENDANTS




                        60.            That          at all           times       hereinafter                   mentioned,                       the     plaintiff            repeat,      reiterate,               and     reallege


                                                                                                                                                                                                                                     "1"
         each       and        every        allegation                   contained                    in       the      paragraphs                      of     this         Complaint                 designated              as


                          "59"
         through                     herein               , as though                more         fully           set forth            herein            at length.


                        61.            The       Supervisory                         Defendants                      hired       and/or                appointed              LAWRENCE                         SVRCEK                as a



         teacher,         Scoutmaster,                    coach,          mentor,               and/           or counselor                  for        minor          boys.


                        62.            The           Supervisory                      Defendants                      were            negligent                in      hiring          LAWRENCE                           SVRCEK


         because             they      knew,              or     if     they         did        not         know,             they         should              have           known,        of         his      propensity              to




                                                                                                                  12 of 28
FILED: QUEENS COUNTY CLERK 10/11/2019 11:49 AM                                                                                                                                                                INDEX NO. 717381/2019
NYSCEF DOC. NO. 1                  Case 20-50527-LSS                                           Doc 112-1                         Filed 11/05/20                             Page RECEIVED
                                                                                                                                                                                 50 of 95 NYSCEF: 10/11/2019




         develop            inappropriate                  relationships                     with          boys      in his         charge            and      to    engage           in       sexual          behavior           and


         lewd         and     lascivious              conduct             with        such           boys.



                        63.             LAWRENCE                               SVRCEK                      would           not      and         could          not      have          been             in     a position               to



         sexually             abuse          N.P.         had        he        not      been              hired       by      the      Supervisory                     Defendants                      to     be     a teacher,



         Scoutmaster,                 coach,          mentor,             and/        or counselor                    for     minors.



                        64.             N.P.          suffered              injury           as      a result           of       LAWRENCE                           SVRCEK                  inappropriate                     sexual


         behavior             and       lewd          and         lascivious                  conduct,               including               psychological                      and         emotional                  injury          as


         described             above.


                        65.             As      the        result         of    said         negligence,                the      plaintiff            was       caused           to      suffer             severe         physical


         and     emotional              injuries            and      pain         and        suffering;               emotional              and        psychological                      distress           and      horror.


                        66.             By          the      reason             of      the          foregoing,               the      Defendants                     are       liable           to     N.P.          in     a    sum



         exceeding             the jurisdictional                      limits           of     all        lower       courts.




                                                                                  THIRD                    CAUSE              OF       ACTION:
                                   NEGLIGENT                         RETENTION,_S_UPERVISION                                                          AND/OR                DIRECTION
                                                           AGAINST                     ALL            SUPERVISORY                               DEFENDANTS




                        67.             That          at all        times         hereinafter                 mentioned,                  the     plaintiff            repeat,           reiterate,             and        reallege


                                                                                                                                                                                                                                  "1"
         each         and      every          allegation                  contained                  in     the       paragraphs                 of     this         Complaint                   designated                  as


                            "66"
         through                      herein              , as though                more         fully           set forth         herein        at length.



                        68.             At      all       times           while         LAWRENCE                             SVRCEK                   was           employed                or        appointed              by    the



         various            Supervisory               Defendants,                    he was               supervised             by,      under          the        direction            of,     and/or            answerable



         to,    the    various          Supervisory                   Defendants                     and/or          their       agents          and        employees.




                                                                                                                  13 of 28
FILED: QUEENS COUNTY CLERK 10/11/2019 11:49 AM                                                                                                                                                                           INDEX NO. 717381/2019
NYSCEF DOC. NO. 1                 Case 20-50527-LSS                                          Doc 112-1                                Filed 11/05/20                                  Page RECEIVED
                                                                                                                                                                                           51 of 95 NYSCEF: 10/11/2019



                         69.             At        all       times        while           LAWRENCE                               SVRCEK                     was              employed                    or      appointed                 by     the



         various          Supervisory                    Defendants,                he was                  supervised                 by,         under         the         direction                  of,    and/or             answerable



         to,    the     various          Supervisory                     Defendants                and/or             their            agents             and        employees.



                         70.             The           Supervisory                 Defendants                     were           negligent                 in        their       direction                    and/      or        supervision



         of     LAWRENCE                        SVRCEK                    in     that      they         knew,             or     if     they         did        not        know,             they         should             have         known,


         of his        propensity             to         develop          inappropriate                      relationships                         with     boys             under            his        charge          and           to engage



         in     sexual         behavior                and      lewd       and          lascivious                conduct               with            such          boys,          yet          they        failed         to take            steps



         to prevent             such      conduct                 from         occurring.



                         71.             The             Supervisory                Defendants                     were               negligent                 in      their             retention               of     LAWRENCE


         SVRCEK                   in     that          that       they         knew,         or        if     they         did          not         know,             they           should               have          known,             of      his



         propensity               to   develop                  inappropriate                relationships                            with         boys          under           his         charge               and        to        engage        in



         sexual          behavior             and          lewd          and      lascivious                  conduct                 with          such         boys,           yet          they            retained             him      in     his



         position          as teacher,                 coach,            and      counselor                  to   such           boys          and         thus        left      him              in   a position                 to    continue



         such         behavior.


                         72.             The           Supervisory                Defendants                      were          further              negligent                 in their                retention,             supervision,


         and/or          direction            of         LAWRENCE                         SVRCEK                     in     that         LAWRENCE                                SVRCEK                        sexually                 molested



         N.P.         on the      premises                 of     one     or more            Supervisory                        Defendants.                      The           Supervisory                      Defendants                  failed



         to take         reasonable                steps         to prevent               such         events             from          occurring                 on         their         premises.



                         73.             That            the      Supervisory                     defendants,                         has          as     a matter                   of     policy              and       practice               and



         with          deliberate               indifference                     failed           to         adequately                       train,            supervise,                        discipline,                 sanction               or



         otherwise              direct          it's      Scoutmasters,                     including,                    but         not       limited               to     LAWRENCE                                  SVRCEK.


                         74.             The           defendants,                 knew           or         should             have           known                   that               their         failure          to        adequately


         address          these        issues            within          the     school,          dioceses                 , and             the     Boy         Scouts              had           caused            problems               in the




                                                                                                                  14 of 28
FILED: QUEENS COUNTY CLERK 10/11/2019 11:49 AM                                                                                                                                                                 INDEX NO. 717381/2019
NYSCEF DOC. NO. 1                   Case 20-50527-LSS                                             Doc 112-1                      Filed 11/05/20                             Page RECEIVED
                                                                                                                                                                                 52 of 95 NYSCEF: 10/11/2019




         past,      and        would                 continue              to    cause            problems             in     the    future,            including               allowing                 pedophiles                   near



         minors           because               of     the        failure             to     adopt             and         implement                  adequate                 policies,                procedures                     and



         practices             and     to    adequately                     screen,           train,        supervise               and/or             disciple             Scoutmasters                           engaging               in,


         or    likely      engage               in     such         behavior.


                        75.               The                Supervisory                     defendants                     negligently                 failed            to      hire,          retain,                  supervise,


         individuals                who         could             safely          act       as     teachers             and/        or         Scoutmasters                     for     minors,                    by      failing           to



         conduct              proper                 background                       checks              on        LAWRENCE                          SVRCEK                   , by        failing                to     train        local



         members                in          proper                 testing            screening,                     and      selection                 of     LAWRENCE                              SVRCEK                        , as         a



         Scoutmaster,                  by        failing             to         monitor             and         supervise                LAWRENCE                              SVRCEK                    's        training             and



         activities            as      Scoutmaster.                        Defendants                     negligently                managed,                    controlled,                 supervised,                         taught,



         educated,             oversaw               Boy       Scouts             over       the     years,           including                the    Plaintiff.



                        76.               The         Supervisory                     Defendants                were          negligent               careless         in      they        knew              or        should         have



         known          that        LAWRENCE                          SVRCEK                      was      a pedophile                   and         should          have        carefully                   supervised                him



         and     limited         or prohibited                      his     activities             with        all    minors             including             N.P..



                        77.               LAWRENCE                              SVRCEK                   would             not      and         could          not     have            been             in        a position                 to



         sexually          abuse            N.P.            had      he         not        been      negligently                 retained,              supervised,                   and/or             directed                by     the



         Supervisory                 Defendants                    as a teacher,                   coach,           mentor,          and        counselor              to      at the        St.        Demetrios,                    N.Y.



         Day      School            and     by        Plaintiff's               local        Boy        Scout         Troop.


                                                                                                        Defendants'
                        78.               But         for    the      Supervisory                                                   inaction              in    hiring,           retaining,                   and         failure           to



         supervise              LAWRENCE                              SVRCEK                        and        in      failing            to     use         reasonable                   care           to            correct         and



         remove            LAWRENCE                               SVRCEK                    from         his        duties,         he     would             not      have            been         in        the        position             to



         sexually          abuse            N.P..




                                                                                                                15 of 28
FILED: QUEENS COUNTY CLERK 10/11/2019 11:49 AM                                                                                                                                                     INDEX NO. 717381/2019
NYSCEF DOC. NO. 1                 Case 20-50527-LSS                                      Doc 112-1                        Filed 11/05/20                             Page RECEIVED
                                                                                                                                                                          53 of 95 NYSCEF: 10/11/2019



                      79.               N.P.          suffered           injury         as     a result            of     LAWRENCE                        SVRCEK                     inappropriate                  sexual


         behavior              and      lewd          and     lascivious                 conduct,              including                 psychological                  and          emotional               injury         as


         described             above.


                      80.               As      the     result       of     said        negligence,                the       plaintiff           was     caused           to     suffer        severe            physical


         injuries         and     pain       and       suffering;              emotional              and      psychological                     distress         and      horror.


                      81.               By       the        reason          of     the         foregoing,                the      Defendants                   are      liable         to     N.P.          in     a     sum



         exceeding              the    jurisdictional                limits        of    all     lower         courts.




                                                                           FOURTH                     CAUSE               OF ACTION:
                                         INTENTIONAL                              INFLICTION                            OF      EMOTIONAL                            DISTRESS




                      82.               That       at all        times         hereinafter              mentioned,                   the    plaintiff           repeat,          reiterate,          and         reallege


                                                                                                                                                                                                                         "1"
         each       and         every        allegation              contained                 in     the      paragraphs                   of    this         Complaint               designated                  as


                          "81"
         through                      herein,          as though            more         fully        set forth           herein           at length.


                      83.               The        sexual          abuse           of    N.P.          when          he        was         a minor             was      extreme              and      outrageous,


         beyond         all     possible           bounds           of    decency.


                      84.               LAWRENCE                          SVRCEK                    acted      intentionally,                    maliciously,                  and     recklessly,                 for    the


         purpose          of     causing         severe          emotional               and        physical             distress          to N.P..


                      85.               The       Supervisory                    Defendants                 knew          or    disregarded                 the      substantial              probability                that



         LAWRENCE                       SVRCEK's                   conduct              would          cause            severe           physical,             psychological,                   and         emotional


         distress       to N.P..


                                                                                                                                                          SVRCEK'
                      86.               In     performing                 these         wrongful             acts,        LAWRENCE                                                    abused          his        position


         as   teacher            and      Scoutmaster                    and      acted          wantonly                and        reckless            with         complete               disregard             for     the



         consequences                   to N.P.         and      others.




                                                                                                        16 of 28
FILED: QUEENS COUNTY CLERK 10/11/2019 11:49 AM                                                                                                                                                         INDEX NO. 717381/2019
NYSCEF DOC. NO. 1                Case 20-50527-LSS                                          Doc 112-1                        Filed 11/05/20                            Page RECEIVED
                                                                                                                                                                            54 of 95 NYSCEF: 10/11/2019



                      87.               Because             of     N.P.'s             sexual           abuse,          he    suffered              severe.         Physical,              psychological,                      and


          emotional           injury.


                      88.               At     the      time           of     LAWRENCE                          SVRCEK's                      misconduct               and         sexual             abuse,            he    was



         acting       at the       direction             of      and         with       the        authority            invested              in    him,      in     a position                 of     power,            by    the



          Supervisory             Defendants,                    and        was       otherwise               acting         in the          course        and      scope          of     his        employment                   by


         the    Supervisory                  Defendants.


                      89.               By       reason             of         the         forgoing,             all        the        Supervisory                   Defendants                       are     liable              for


         LAWRENCE                       SVRCEK's                  conduct              under           the     doctrine           of     respondeat                superior.


                      90.               N.P.         suffered               injury         as     a result         of       LAWRENCE                         SVRCEK                     inappropriate                     sexual


         behavior           and         lewd         and         lascivious                 conduct,             including               psychological                    and           emotional                  injury          as


         described          above.


                      91.               As     the     result           of     said        negligence,             the       plaintiff             was     caused            to    suffer            severe            physical


         injuries       and      pain         and     suffering;                emotional               and      psychological                     distress         and       horror.


                      92.               By      the        reason              of     the         foregoing,                the    Defendants                    are      liable          to         N.P.         in     a    sum



         exceeding            the jurisdictional                       limits         of    all     lower        courts.




                                                                                    FIFTH              CAUSE            OF        ACTION:
                                                                  NEGLIGENCE/                                 GROSS               NEGLIGENCE




                      93.               That        at all       times          hereinafter                  mentioned,                the     plaintiff           repeat,         reiterate,               and        reallege


                                                                                                                                                                                                                              "1"
         each       and       every           allegation               contained                  in    the      paragraphs                   of    this      Complaint                   designated                     as


                          "93"
         through                   herein,            as though                more         fully       set forth            herein          at length.




                                                                                                             17 of 28
FILED: QUEENS COUNTY CLERK 10/11/2019 11:49 AM                                                                                                                                                                     INDEX NO. 717381/2019
NYSCEF DOC. NO. 1                   Case 20-50527-LSS                                            Doc 112-1                           Filed 11/05/20                                Page RECEIVED
                                                                                                                                                                                        55 of 95 NYSCEF: 10/11/2019



                        94.                 That          at all     times       herein            relevant                  LAWRENCE                           SVRCEK                    engaged             in    activities           of     a


          harmful            nature            and        abused       his     position                of trust              and     authority.


                        95.                 LAWRENCE                           SVRCEK                        utilized                his          role         as      a      teacher             and         Scoutmaster                     by


          violating           his        duty        of    care,     trust,      loyalty               toward                plaintiff.


                        96.                 The           wrongful             acts          and            the         injuries              resulting                 therefrom                 were            caused          by       the



          negligence,                    carelessness,                 and       recklessness                           of      LAWRENCE                               SVRCEK                    as     a     teacher            for      ST.


          DEMETRIOS                              GREEK                      ORTHODOX                                    CHURCH                            and               the          GREEK                     ORTHODOX


          ARCHDIOCESE                                OF AMERICA.


                        97.                 The           wrongful             acts          and            the         injuries             resulting                  therefrom                 were            caused          by      the



          negligence,                carelessness,                   and      recklessness                        of    LAWRENCE                               SVRCEK                   as a Scoutmaster                        for     THE


          BOY          SCOUTS                   OF          AMERICA,                   and             THE             BOY            SCOUTS                     OF           AMERICA                    GREATER                       NEW


          YORK          COUNCILS.


                        98.                 The           wrongful             acts          and            the         injuries             resulting                  therefrom                 were            caused          by      the



          negligence,               careless,               and     recklessness                   of       the        Supervisory                   Defendants.


                        99.                 Such            negligence              consisted                      of        negligence                   in        failing            exercise             ordinary             care,        in



          causing             physical,                    emotional               and            psychological                              harm              and            distress            to        the     plaintiff;                in



          humiliating                    the     plaintiff;            in      inappropriately                               touching                the        plaintiff,               in      sexually               abusing           the



          plaintiff;           in        abusing            his     position           of         authority;                    in    luring             children;                in    attempting                 other         various


          devious            sexual             acts;         in    breaching                    the         fiduciary                    duty;          in     acting             from           a position               of         power


          and       control              over         the      minor           plaintiff;               in     breaching                    the      trust             and         loyalty             to    the     plaintiff;               in



          cover-up             LAWRENCE                            SVRCEK                   's     wrongful                      acts;       in     failing            to     properly             screen          LAWRENCE


          SVRCEK;                   in     allowing                pedophiles                to        be      around                 young                   children             including                the     Plaintiff;                in



          failing       to     investigate                  the     previous           activities                  of        LAWRENCE                           SVRCEK                    ; in     failing         to     investigate




                                                                                                                  18 of 28
FILED: QUEENS COUNTY CLERK 10/11/2019 11:49 AM                                                                                                                                                                                 INDEX NO. 717381/2019
NYSCEF DOC. NO. 1                         Case 20-50527-LSS                                               Doc 112-1                           Filed 11/05/20                                  Page RECEIVED
                                                                                                                                                                                                   56 of 95 NYSCEF: 10/11/2019



         the      background,                          character               and         fitness             of     LAWRENCE                           SVRCEK                         to    serve           as a scoutmaster                             and



         teacher;               in        failing            to         adequately                        investigate                     and/or         inquire              into            LAWRENCE                              SVRCEK                        's



         background                         or        history;               in      failing               to        adequately                    investigate                LAWRENCE                                   SVRCEK                     's prior



         relationships                         with         minor           children;            in        failing         to        subject            LAWRENCE                               SVRCEK                         to      appropriate



         testing           to        uncover                his       pedophilic                 proclivities;                       in     failing          to     have          in         systems           or        policies                  in    place



         and       a procedure                        to monitor,                   and        supervise                Scoutmasters                      and/or            teachers               who             work             closely               with



         or     come             into           contact              with         children;               in        allowing               LAWRENCE                         SVRCEK                       to        have        children                   meet



         him       with              no        other         adults           present;               in     allowing                 LAWRENCE                              SVRCEK                       to     travel              with            children



         with          no            other               adults              present;                in         failing               to     take        prompt               action              to    remove                 LAWRENCE


         SVRCEK;                       in            failing            to        take         prompt                 action              regarding               complaints                      and        suspicions                       of        sexual



         molestation;                          in     failing           to        adopt         or        enforce              a two-adult                    rule;          in         failing          to        adopt            policies               and



         procedures                       to        protect            children;                in        failing          to         advise            parents             of         information                       in    the            ineligible



         volunteers                   files;           in    failing           to        adequately                   maintain,               review,             and         update               the        ineligible                      volunteer



         files;       in        failing               to     warn              parents               of     information                      regarding              scoutmaster                        and         their           propensity                     to



         engage            in        inappropriate                      behavior.


                           100.                     That       the     Supervisory                        Defendants                      were        negligent             by         failing     to        supervise               the           conduct



         and       activities                  of      LAWRENCE                               SVRCEK.


                           101.                     That        LAWRENCE                              SVRCEK                     was             negligent,                reckless               and         careless                in           sexually

                                                                                                                                                                                                                                                              '
         abusing            the           plaintiff               and        the         Supervisory                    Defendants                     are        liable          for        LAWRENCE                               SVRCEK                         s



         negligence                   under              the      doctrine               of    respondeat                  superior.



                           102.                     Upon          information                   and         belief,            the        Supervisory                  Defendants                       engaged                in         a        plan       of



         action        to cover                     up      incidents               of    the    sexual               abuse           of      minors              by        teaches               and         or     Scoutmasters                          and



         prevent            disclosure                      , prosecution,                      and        civil        litigation                including             but        not        limited              to:     failing             to       report




                                                                                                                          19 of 28
FILED: QUEENS COUNTY CLERK 10/11/2019 11:49 AM                                                                                                                                                                               INDEX NO. 717381/2019
NYSCEF DOC. NO. 1                 Case 20-50527-LSS                                                   Doc 112-1                               Filed 11/05/20                              Page RECEIVED
                                                                                                                                                                                               57 of 95 NYSCEF: 10/11/2019



         incidents           of       abuse         to       law          enforcement                            or    child            protection               agencies;                 concealing                      abuse       they         had


         substantiated                 and        failing           to     seek          out         and         redress             the        injuries         its       teachers            and/or                Scoutmasters                   and


         leaders          had          caused;               and          failing          to         advise                 local         scouting              agencies                 of    the        rampant                 problem                of


         sexual          abuse              of     scouts                by         Scoutmasters                              and          leaders             and          that          THE              BOY              SCOUTS                   OF

                                                                                                                             Files"
         AMERICA's                     system             of    "Ineligible                    volunteer                                      was       ineffective                at curbing                   the       problem.


                         103.               Based              on         these           actions                     the         Supervisory                        Defendants                   engaged                    m      fraudulent


         concealment.


                        104.                The         Supervisory                        Defendants,                               by         and         through               their          agents               representatives,


         conspired              to     cover            up      incidents                  of        sexual                 abuse             of    minors             by     teachers                  and          or     Scoutmasters,



         including                LAWRENCE                                 SVRCEK                            ,        and          to         prevent            disclosure,                     prosecution                         and          civil


         litigation          including                  but         not       limited                to:     failing               to      report           incidents              of     childhood                       sexual          abuse           to


         law        enforcement                    or       child           protection;                          aiding              criminal                child         molesters                  in        evading             detection,


         arrest        and        prosecution;                       failing              to        warn;              and           failing           to     seek          out         and      redress                  the      injuries           its


         adult        teacher         and        or Scoutmaster                          had          caused.


                        105.            Based                  on        these           actions;                     the         Supervisory                    Defendants,                         by         and         through               their


         agents           and          representatives,                                conspired                            for         the        unlawful                  purposed                      of         concealing                    and



         suppressing                   information                         on       the             danger                  and         treat         that       LAWRENCE                                  SVRCEK                     posed               to



         unsuspecting                   children                including                  the         Plaintiff.



                        106.             As       the        result           of    said            negligence,                      the       plaintiff             was     caused             to      suffer            severe          physical


         injuries        and         pain        and      suffering;                   emotional                      and         psychological                      distress           and       horror.


                        107.            By          the        reason               of     the              foregoing,                     the        Defendants                   are         liable           to        N.P.       in       a    sum



         exceeding              the jurisdictional                            limits           of     all        lower            courts.




                                                                                                                        20 of 28
FILED: QUEENS COUNTY CLERK 10/11/2019 11:49 AM                                                                                                                                                                     INDEX NO. 717381/2019
NYSCEF DOC. NO. 1                   Case 20-50527-LSS                                               Doc 112-1                          Filed 11/05/20                                Page RECEIVED
                                                                                                                                                                                          58 of 95 NYSCEF: 10/11/2019



                                                                                          SIXTH                CAUSE                 OF       ACTION
                                                                                   BREACH                       OF       FTDUCIARY                                DUTY


                        108.                 That          at all          times          hereinafter                  mentioned,                 the         plaintiff         repeat,         reiterate,               and         reallege


                                                                                                                                                                                                                                                 "1"
         each         and        every            allegation                  contained                   in      the       paragraphs                       of     this      Complaint                designated                      as


                            "107"
         through                            herein,           as though                   more        fully           set forth            herein             at length.


                        109.                There           exists            a fiduciary                      relationship                  of    trust,            confidence,                and         reliance                between


         Plaintiff          and       Defendants.                       This           relationship                    is based             on     the            entrustment             of    the     Plaintiff                  while          he


         was         a minor              child       to     the           care        and        supervision                   of     the        agent             or     servant        of     the        Defendants.                         This


         entrustment                 of     the     Plaintiff                to the          care         and         supervision                 of     the        Defendants,                while         the        Plaintiff               was


         a minor            child,          required             the          Defendants                    to        assume          a fiduciary                     relationship              and         to     act        in     the        best


         interests          of    the       Plaintiff,             as well              as to protect                   him         while         he was                 a minor       and      vulnerable                    child


                        110.                 Pursuant                 to     their         fiduciary                  relationship,                    the        Defendants              were         entrusted                    with         the



         well-being,                care,         and       safety            of    Plaintiff.


                        111.                Pursuant               to       their         fiduciary               relationship,                   Defendants                    assumed            a duty                to    act         in    the


         best      interests          of the             Plaintiff.


                        112.                The       defendants                    breached                   that     duty         to the        Plaintiff.


                        113.                At     all     times             material             hereto,             the      Defendants                     actions          and/or          inactions             were            willful,


         wanton,             malicious,                   reckless,                  and          outrageous                   in     their            disregard              for      the       rights            and             safety          of


         Plaintiff.


                        114.               As      a result             of     said        conduct               plaintiff            as suffered                   the     injuries         and       damages                 described


         herein.


                        115.                By      the        reason                of      the          foregoing,                 the         Defendants                   are      liable          to        N.P.          in      a        sum



         exceeding               the jurisdictional                           limits         of     all     lower           courts.




                                                                                                                      21 of 28
FILED: QUEENS COUNTY CLERK 10/11/2019 11:49 AM                                                                                                                                                                  INDEX NO. 717381/2019
NYSCEF DOC. NO. 1                 Case 20-50527-LSS                                           Doc 112-1                            Filed 11/05/20                             Page RECEIVED
                                                                                                                                                                                   59 of 95 NYSCEF: 10/11/2019




                                                                              SEVENTH                          CAUSE                 OF      ACTION:
                                                                                 Breach               of       Duty          in    Loco       Parentis


                          116.            That         at all      times         hereinafter                    mentioned,                  the    plaintiff            repeat,           reiterate,               and       reallege


                                                                                                                                                                                                                                     "1"
         each         and        every          allegation               contained                   in        the      paragraphs                 of     this      Complaint                     designated                  as


                              "115"
         through                          herein          , as though               more             fully            set forth          herein         at length.


                          117.            While          he      was       a minor,                 Plaintiff               was      entrusted            by      his     parents           to        the       control         of      the


         LAWRENCE                         SVRCEK,                  an    agent           or    servant                 of    the        Supervisory               Defendants,                    for    the        purposes              of


         inter        alia,     providing              Plaintiff           with          appropriate                     guidance             and        an      opportunity                to     enjoy              educational


         and     youth           activities            under        responsible                      adult            supervision.                These          Defendants                 owe             -    and        owed        - a



         duty      to     children             entrusted           to them          to        act         in   loco         parentis         and        to prevent              foreseeable                     injuries.


                          118.             Defendants                   breached              their            duty         to act       in loco        parentis.


                          119.            At     all     times         material            hereto,               the        Defendants              actions             and/or        inactions                  were        willful,


         wanton,               malicious,              reckless,              and         outrageous                        in     their      disregard                 for     the       rights                and       safety         of


         Plaintiff.


                          120.            As       a     result          of       said         conduct                   Plaintiff            as        suffered              the     injuries                  and         damages


         described              herein.


                          121.            By       the      reason            of     the            foregoing,                    the      Defendants                   are      liable          to     N.P.            in     a     sum



         exceeding               the   jurisdictional                   limits       of       all      lower            courts.




                                                                              EIGHTH                           CAUSE               OF      ACTION:
                               BREACH                  OF       STATUTORY                                 DUTY               TO REPORT                        ABUSE                 UNDER                   SOC.
                                                                                         SERV.                  LAW               §§ 413,         420




                                                                                                                22 of 28
FILED: QUEENS COUNTY CLERK 10/11/2019 11:49 AM                                                                                                                                                INDEX NO. 717381/2019
NYSCEF DOC. NO. 1             Case 20-50527-LSS                                           Doc 112-1                         Filed 11/05/20                           Page RECEIVED
                                                                                                                                                                          60 of 95 NYSCEF: 10/11/2019




                      122.              That       at all      times          hereinafter                 mentioned,                 the     plaintiff         repeat,         reiterate,          and         reallege


                                                                                                                                                                                                                          "1"
          each     and       every            allegation              contained                 in       the     paragraphs                of     this     Complaint                designated                   as


                         "121"
         through                        herein          , as though              more            fully         set forth       herein           at length.


                      123.              Pursuant            to N.Y.            Soc.        Serv.          Law         §§ 413         and        420,     the     Supervisory                Defendants                    had


         a statutorily           imposed               duty     to report             reasonable                   suspicion           of abuse           of    children          in their         care.


                      124.              The        Supervisory                   Defendants                     breached              that        duty         by     knowingly                and            willfully


         failing     to report               reasonable              suspicion             of        abuse       by    LAWRENCE                          SVRCEK.


                      125.              As      a result        of     said     conduct                plaintiff         as suffered              the     injuries         and      damages              described


         herein.


                      126.              By       the      reason          of        the         foregoing,              the         Defendants                 are    liable        to      N.P.         in      a    sum



         exceeding           the     jurisdictional                  limits         of    all        lower       courts.




                                                                              NINTH                   CAUSE             OF      ACTION:
                                                                                         P_REMISE                   LIABILITY




                      127.              That      at all       times          hereinafter                 mentioned,                the    plaintiff           repeat,         reiterate,          and         reallege


                                                                                                                                                                                                                          "1"
         each      and       every            allegation              contained                 in       the     paragraphs                of     this     Complaint                designated                   as


                         "126"
         through                        herein          , as though              more            fully         set forth       herein           at length.


                     128.               At       all       times          herein                relevant              the      Defendants                      ST.       DEMETRIOS                            GREEK


         ORTHODOX                       CHURCH                     and        the         GREEK                  ORTHODOX                         ARCHDIOCESE                            OF        AMERICA


         owned        operated,                 and      /or       controlled                   the       premises             of     Defendant                 ST.      DEMETRIOS                            GREEK


         ORTHODOX                       CHURCH                 and       at    St.        Demetrios,                  N.Y.      Day          School        including              the    areas       where                the


         sexual      abuse         of    Plaintiff            occurred.




                                                                                                          23 of 28
FILED: QUEENS COUNTY CLERK 10/11/2019 11:49 AM                                                                                                                                                         INDEX NO. 717381/2019
NYSCEF DOC. NO. 1                    Case 20-50527-LSS                                      Doc 112-1                         Filed 11/05/20                            Page RECEIVED
                                                                                                                                                                             61 of 95 NYSCEF: 10/11/2019




                        129.              At      all     times        herein         relevant             the       Defendants                THE             BOY           SCOUTS                  OF AMERICA,


          and      THE          BOY            SCOUTS               OF         AMERICA                     GREATER                      NEW YORK                          COUNCILS                         operated,            and


         /or     controlled              the       premises             of       Defendant                ST.        DEMETRIOS                       GREEK                     ORTHODOX                         CHURCH


         and       at   St.     Demetrios,                 N.Y.         Day          School             including             the      areas        where            the       sexual              abuse       of       Plaintiff


         occurred.


                        130.              Defendants                   ST.     DEMETRIOS                         GREEK                 ORTHODOX                           CHURCH                    and      the        GREEK


         ORTHODOX                         ARCHDIOCESE                                OF       AMERICA                     had          a duty        to        see      that         the      premises              at     which


         Plaintiff            was        rightfully              present            were           in     a reasonably                     safe     condition                  for      the         intended              use       by


         students,            like     Plaintiff,           whose            presence               was      reasonably                 anticipated.


                        131.              Defendants                   THE          BOY            SCOUTS                OF         AMERICA,                      and        THE           BOY             SCOUTS                   OF


         AMERICA                     GREATER                     NEW YORK                          COUNCILS                      had       a duty         to     see       that      the      premises                  at which


         Plaintiff          was        rightfully            present             were         in     a reasonably                   safe     condition                 for     the      intended             use         by     Boy


         Scouts,         like        Plaintiff,           whose         presence              was         reasonably                anticipated.


                        132.              The           Supervisory                  Defendants                     willfully,              recklessly,                   and         negligently                   failed           to


         provide            a reasonably                  safe     premise             that        was       free      from         the     presence              of      sexual           predators            and/or              the


         assault        by       the      occupants               of     the        premises,              including                LAWRENCE                         SVRECK                   thereby              breaching


         their       duty       of    care        to the     plaintiff.


                        133.              As       a result        of        said     conduct              plaintiff             suffered         the          injuries           and       damages                 described


         herein.


                        134.              By        the     reason             of     the          foregoing,             the          Defendants                 are        liable           to     N.P.          in     a     sum



         exceeding              the      jurisdictional                 limits        of    all      lower          courts.




                                                                                 TENTH                  CAUSE             OF         ACTION:
                                                                                           PUNITIVE                    DAMAGES




                                                                                                           24 of 28
FILED: QUEENS COUNTY CLERK 10/11/2019 11:49 AM                                                                                                                                                                    INDEX NO. 717381/2019
NYSCEF DOC. NO. 1                   Case 20-50527-LSS                                             Doc 112-1                              Filed 11/05/20                              Page RECEIVED
                                                                                                                                                                                          62 of 95 NYSCEF: 10/11/2019




                           135.             That        at all       times            hereinafter                  mentioned,                     the      plaintiff           repeat,         reiterate,            and      reallege


                                                                                                                                                                                                                                          "1"
          each         and        every          allegation                 contained                 in          the     paragraphs                    of      this         Complaint                 designated                  as


                             "134"
          through                           herein           , as though                   more           fully         set forth              herein        at length.


                           136.             The          actions                 of        the        Defendants                              herein-above                      alleged,               were           malicious,


          willful          and         grossly          negligent.


                           137.             The      conduct                of    the       Defendants                    was            done       with       the      utter         disregard              as to the            injuries


         that        would         ensue          and        with          depraved               indifference                      to     the      health        and         well-being               of     children,             and         to


          the       fact   that        defendants              knowingly                     subjected                  children,                including             the     plaintiff,           to sexual              predators.


                           138.             The         Supervisory                        Defendants,                         by          and       through                 their       agents              representatives,


          conspired               to     cover          up     incidents                   of     sexual                abuse            of    minors           by       teachers                 and/or          Scoutmasters,



          including                LAWRENCE                                SVRCEK                         ,   and             to         prevent             disclosure,                    prosecution                    and          civil


          litigation             including               but        riot         limited            to:       failing              to      report         incidents              of      childhood                 sexual           abuse


         to     law        enforcement                   or       child          protection                   agencies;                    aiding          criminal              child        molesters               in     evading


          detection,               arrest         and        prosecution;                       failing            to     seek           out      and      redress             the     injuries             its    adult          teacher


          and        scoutmaster                  had        caused.


                           139.             Based            on       these             actions,               the        Supervisory                        Defendants,                     by        and        through               their


          agents             and         representatives,                             conspired                     for            the         unlawful                purposed                   of        concealing                    and



          suppressing                    information                       on      the          danger              and            treat         that        LAWRENCE                             SVRCEK                    posed               to



         unsuspecting                     children             including                   N.P..


                           140.             Upon         Information                     and        belief,             the        Supervisory                 Defendants                   were        engaged              in     a plan


         of     action        to cover             up    incidents                of the           sexual            abuse              of minors.




                                                                                                                   25 of 28
FILED: QUEENS COUNTY CLERK 10/11/2019 11:49 AM                                                                                                                                                              INDEX NO. 717381/2019
NYSCEF DOC. NO. 1                  Case 20-50527-LSS                                             Doc 112-1                     Filed 11/05/20                                Page RECEIVED
                                                                                                                                                                                  63 of 95 NYSCEF: 10/11/2019



                        141.             Based             on      these                actions           the        Supervisory                            defendants               engaged                in         fraudulent


         concealment.


                        142.             As       a result              of     the        Defendants                    conduct                 that         was      wanton,           reckless,                     malicious,


         and      a conscious                   indifference                   and        utter        disregard              of      its     effect           on     the     health,           safety           and        right      of


         other       including                plaintiff,           plaintiff               is entitled             to     recover                  punitive            damages             in     the       amount              to    be


         determined                 by    the      finder          of        fact.


                        143.             By        reason            of        the         foregoing,                the           plaintiff,                 demands              judgment                  for         punitive


         damages              against             all      the     defendants,                    in      a sum              exceeding                      the     jurisdictional                 limits              of    all     the


         lower        courts.




                                                                                                  JURY             DEMAND




                        144.             Plaintiff           demands                   a trial      by jury          of      all     issues            triable        by jury         in this         action.




                        WHEREFORE                            Plaintiff                 demands            judgment                     against               the      Defendants                 on      each            cause         of


         action        as follows:


                        A.     Awarding                 compensatory                        damages             in      an     amount                  to    be     proved         at trial,          but        in    any      event


         in    an     amount             that      exceeds              the          jurisdictional              limits              of      all       lower         courts        which           would               otherwise


         have       jurisdiction;


                         B.     Awarding                punitive               damages              to the      extent              permitted                 by     law;


                         C. Awarding                    prejudgment                      interest         to the          extent            pennitted               by      law;

                                                                                                                                                                     attorneys'
                        D.      Awarding                   costs          and           fees      of     this        action,                including                                      fees,            to        the     extent



         permitted            by     law;




                                                                                                            26 of 28
FILED: QUEENS COUNTY CLERK 10/11/2019 11:49 AM                                                                                    INDEX NO. 717381/2019
NYSCEF DOC. NO. 1   Case 20-50527-LSS              Doc 112-1           Filed 11/05/20                  Page RECEIVED
                                                                                                            64 of 95 NYSCEF: 10/11/2019



                E. Awarding   such   other   and   further   relief   as to this     Court     may       seem        just   and    proper.




                                                                         BELLUCK           &   FOX,      LLP




                                                                         Kristina      Georgiø,           Es     .
                                                                                 5th               5th
                                                                         546         Avenue,             FlOOr
                                                                         New       York,     New      York      10036




                                                             27 of 28
FILED: QUEENS COUNTY CLERK 10/11/2019 11:49 AM                                                                                                                                                      INDEX NO. 717381/2019
NYSCEF DOC. NO. 1                Case 20-50527-LSS                                        Doc 112-1                    Filed 11/05/20                              Page RECEIVED
                                                                                                                                                                        65 of 95 NYSCEF: 10/11/2019




                                                                                 ATTORNEY                    VERIFICATION




          STATE           OF     NEW YORK                                   )


                                                                            )


          COUNTY                OF        NEW YORK                          )




                         Kristina            M.        Georgion.,                    an   attorney          duly           admitted           to    practice              before             the     Courts       of    the

          State       of New         York,           affirms          the       following             to be true            under       the    penalties                 of perjury:


                         I am       an associate                of    BELLUCK                   &     FOX,          LLP,          attorneys             of record           for        Plaintiff.


           I have        read       the     annexed              COMPLAINT                       and        know           the     contents             thereof,           and        the      same        are   true      to

          my        knowledge,            except            those       matters             therein      which             are     stated      to       be     alleged           upon          information              and

          belief,       and      as to       those          matters             I believe        them         to     be      true.       My         belief,             as to        those         matters       therein

          not        stated      upon         knowledge,                        is   based        upon            facts,         records,           and          other          pertinent                information

          contained            in my        files.


                         The     reason              this      verification               is   made          by      me          and    not        by       plaintiff           is    that         Plaintiff      is    not

          presently           in the      county            wherein              I maintain            my    offices.




          Dated:         New        York,         New          York


                          October           11,       2019




                                                                                                                            BELLUCK                     &     FOX,          LLP




                                                                                                                             Kristina          M.       Ge          giou,             sq.




                                                                                                       28 of 28
Case 20-50527-LSS   Doc 112-1   Filed 11/05/20   Page 66 of 95




                    EXHIBIT C
FILED: KINGS COUNTY CLERK 01/21/2020 09:17 PM                                                                                                                                    INDEX NO. 518178/2019
NYSCEF DOC. NO. 33 Case 20-50527-LSS                                            Doc 112-1                  Filed 11/05/20                             Page RECEIVED
                                                                                                                                                           67 of 95 NYSCEF: 01/22/2020




                 SUPREME                     COURT                 OF THE               STATE              OF NEW YORK
                 COUNTY                  OF        KINGS
                 _____________                          --------------------------------------------X
                 MICHAEL                     O'MALLEY,


                                                                                  Plaintiff,
                                                                                                                                                                        Index         No.:      518178/2019

                                                -against             -



                 THE      ROMAN                                      CATHOLIC                              DIOCESE                               OF                                AMENDED
                 BROOKLYN,    NEW                   YORK,   CHURCH   OF THE HOLY                                                                                     VERIFIED                 COMPLAINT
                 INNOCENTS,                      BOY     SCOUTS    OF   AMERICA,
                 GREATER                      NEW YORK     COUNCIL   OF THE    BOY
                 SCOUTS                 OF AMERICA,                              ALPINE                SCOUT                CAMP              and

                 FRANK             PEDONE,


                                                                                  Defendants.
                _________                            _______----------------------                                          ---------X

                               Plaintiff,             above-named,                     complaining                of        the         Defendants,             by      MERSON                  LAW,            PLLC,



                respectfully             alleges:


                                                                                        NATURE                   OF THE                  CLAIM


                 1.      This           is a case           of    plaintiff           Michael           O'Malley                 who       was       sexually           abused        as a child           by    Frank


                         Pedone               ("Pedone")                  at     and     of     Alpine           Scout            Camp            ("Alpine")            and      The         Roman         Catholic


                         Diocese              of     Brooklyn,                  New     York       ("Diocese").


                2.       At      all     times         herein            mentioned,             Pedone           was          a scout            master        for    the    Boy       Scouts        of    America



                         ("BSA")               and       Greater              New       York      Council              of     the       Boy       Scouts        ("Boy         Scouts").


                3.       At       all        times          herein          mentioned,                  Father         Joseph              Foley          was        aware       of     the      sexual          abuse


                         endured              by      Mr.        O'Malley              and     failed      to report              it.


                4.      At       all     times         herein            mentioned,             the      Church             of    the      Holy       Innocents              ("Holy          Innocents")           was


                        a part          of    the      Diocese.


                5.      At       all     times         herein            mentioned,              Mr.      O'Malley's                     troop       in    which        Pedone          was       scout         master



                        was        associated                with         the    Holy         Innocents.




                                                                                              1 of 29
FILED: KINGS COUNTY CLERK 01/21/2020 09:17 PM                                                                                                                                                INDEX NO. 518178/2019
NYSCEF DOC. NO. 33 Case 20-50527-LSS                                     Doc 112-1                              Filed 11/05/20                             Page RECEIVED
                                                                                                                                                                68 of 95 NYSCEF: 01/22/2020




                 6.    Mr.       O'Malley                 informed               Father              Joseph            Foley       of     the        sexual              abuse          he   suffered             at the        hands


                       of    Pedone                and        Father            Foley             failed         to     report           the         abuse            or      take        any         action        to     prevent


                       Pedone         from              having          access           to Mr.             O'Malley             or other                 young             boys        affiliated          with         the    BSA


                       the     Boy     Scouts              and/or          the        Diocese.


                7.     Pedone         was           an        agent,        servant                and/or          employee                of        the         BSA,          the       Boy         Scouts         and/or         thq


                       Diocese          and         utilized             his         position           of       authority              with             the     BSA,          the       Boy         Scouts         and/or         th


                       Diocese          to     sexually              abuse             Mr.         O'Malley.               Pedone              was             known          among             the      community                and


                       the   children              of    the       Boy      Scout            troop           as a sexual               predator.


                8.     Despite        Pedone's                   reputation               as a sexual                  predator,               he        continued                to be employed                        as a scou


                      master         under          the       supervision                    and      control           of the          BSA              and      the       Boy      Scouts.


                9.    The        Diocese,               the        BSA          and          the      Boy         Scouts           knew               or        should            have       known               that     Pedone



                      sexually          abused             boys          enrolled               in    the        BSA         and/or        Boy             Scouts             program              and/or         that     he had


                      a propensity                 to sexually                  abuse         the      young            children           of        the        troop.


                10.   Beginning               in    or     about           1968          and          continuing               until       approximately                             1970,         Pedone           forcefully


                      perfonned              oral         sex      on      Mr.        O'Malley                   and      attempted                 to         kiss     Mr.        O'Malley              after      boy        scout



                      meetings,              on         camping             trips,           at      school,            on     hikes,               in     Mr.          O'Malley's                   home,          and        other


                      locations.             Mr.         O'Malley                was         approximately                       eleven              years            old     when           the      sexual            abuse     by


                      Pedone         began.


                11.   Mr.      O'Malley                 brings           this        lawsuit           to       recover          for     the         emotional                 and        physical             suffering          he


                      incurred        because                 of   the      negligence                     of    the     Diocese,               the        Holy          Innocents,                the    BSA,           the    Boy


                      Scouts         and       Alpine              and          to     make           sure        no      other          child             is     forced           to     suffer         the       abuse        and


                      physical        and          mental           trauma             he felt         and        continues              to feel.




                                                                                          2 of 29
FILED: KINGS COUNTY CLERK 01/21/2020 09:17 PM                                                                                                                              INDEX NO. 518178/2019
NYSCEF DOC. NO. 33 Case 20-50527-LSS                                      Doc 112-1                   Filed 11/05/20                           Page RECEIVED
                                                                                                                                                    69 of 95 NYSCEF: 01/22/2020




                 12.    Mr.           O'Malley            additionally                brings         this     lawsuit           to    recover           for     the    emotional               and      physical



                        suffering               he      endured             due      to     the     predatory,               intentional               and     unlawful               sexual         actions         of


                        Pedone               directed          at   him        and         make       sure      no      other         child       is    forced        to    suffer           the     abuse       and


                        physical              and     mental         trauma           he felt        and      continues              to feel.


                                                                                                          PARTIES
            !

                 13.    At      all     times         herein        mentioned,               Defendant                THE            ROMAN                CATHOLIC                         D1OCESE               O


                        BROOKLYN,                         NEW YORK                          was      a not      for    profit         corporation              incorporated                  in the     State       of


                        New           York       and     by      virtue        of    the    laws      of the          State     of    New         York.


                 14.    At    all       times         herein        mentioned,               Defendant                THE            ROMAN               CATHOLIC                       DIOCESE                 OE


                        BROOKLYN,                         NEW               YORK             was      located           at     310      Prospect              Park       West,         Brooklyn,               New


                       York            1 1215.


                15.    At       all     times         herein         mentioned,                   Father        Joseph          Foley           was       a priest          operating                under      the


                       direction                and      control              of     Defendant                THE             ROMAN                    CATHOLIC                       DIOCESE                   O


                       BROOKLYN,                         NEW              YORK,             and     its     agents,         servants           and/or         employees.


                16.    At       all      times          herein            mentioned,                Defendant                FRANK                PEDONE                   was         a     scout      maste



                       operating                under         the        direction          and      control           of     Defendant                 THE           ROMAN                 CATHOLIC


                       D1OCESE                   OF BROOKLYN,                               NEW             YORK,             and     its     agents,         servants       and/or            employees.


                17.    At       all      times          herein            mentioned,                Father        Joseph              Foley        was          an     agent,           servant          and/or


                       employee                 of    Defendant                THE           ROMAN                CATHOLIC                        DIOCESE                   OF         BROOKLYN,


                       NEW             YORK.


                18.    At     all       times         herein         mentioned,                   Defendant             FRANK                  PEDONE                 was        an        agent,      servant


                       and/or            employee                   of        Defendant                   THE          ROMAN                     CATHOLIC                         DIOCESE                      OF


                       BROOKLYN,                         NEW             YORK.




                                                                                      3 of 29
FILED: KINGS COUNTY CLERK 01/21/2020 09:17 PM                                                                                                                             INDEX NO. 518178/2019
NYSCEF DOC. NO. 33 Case 20-50527-LSS                                       Doc 112-1                     Filed 11/05/20                           Page RECEIVED
                                                                                                                                                       70 of 95 NYSCEF: 01/22/2020




                 19.     At     all      times         herem          mentioned,                  Defendant               CHURCH                   OF        THE        HOLY              INNOCENT$


                        was          a not       for      profit          corporation              incorporated                 in    the    State      of     New       York         and       by    virtue         o


                        the       laws       of the        State          of    New       York.


                 20.    At      all      times         herein         mentioned,                  Defendant               CHURCH                   OF        THE        HOLY              INNOCENTS


                        was         located         at 279          E 17th          St,    Brooklyn,            NY         11226.


                21.     At      all      times         herein             mentioned,               Father           Joseph           Foley        was        a priest          operating             under       the


                        direction             and       control            of     Defendant               CHURCH                     OF THE             HOLY            INNOCENTS,                       and        it



                        agents,          servants            and/or             employees.


                22.     At      all      times            herein           mentioned,                 Defendant                 FRANK                 PEDONE              was         a     scout       maste



                        operating              under          the         direction             and       control         of     Defendant              CHURCH                   OF        THE          HOLY


                        INNOCENTS,                          and      its       agents,         servants        and/or           employees.


                23.    At       all      times            herein           mentioned,                 Father          Joseph            Foley         was        an     agent,        servant            and/or


                       employee               of    Defendant                   CHURCH                 OF THE                  HOLY          INNOCENTS.


                24.    At      all     times           herein         mentioned,                   Defendant               FRANK                  PEDONE                was      an       agent,       servant


                       and/or         employee               of     Defendant                  CHURCH                OF         THE         HOLY          INNOCENTS.


                25.    At     all     times         herein          mentioned,                  Plaintiff           was        a young          boy     enrolled          in     a   BOY           SCOUTS


                       OF AMERICA                            scouting             program,            specifically               Troop        #256.


                26.    At     all     relevant            times,           Defendant              GREATER                      NEW YORK                      COUNCIL                  OF THE                BOY


                       SCOUTS                  OF         AMERICA                        was      a not       for     profit         corporation              incorporated                in    New          York


                       corporation                 that      at     all        relevant          times       was          an    agent        of    Defendant             BOY          SCOUTS                   OF


                       AMERICA                      subject          to        Defendant              BOY           SCOUTS               OF       AMERICA's                     control         or    right         to


                       control.           As       Defendant                   BOY        SCOUTS               OF         AMERICA's                     agent,        Defendant                GREATER


                       NEW YORK                         COUNCIL                     OF THE                  BOY           SCOUTS              OF AMERICA                         controlled            or      had




                                                                                          4 of 29
FILED: KINGS COUNTY CLERK 01/21/2020 09:17 PM                                                                                                                        INDEX NO. 518178/2019
NYSCEF DOC. NO. 33 Case 20-50527-LSS                                  Doc 112-1                     Filed 11/05/20                      Page RECEIVED
                                                                                                                                             71 of 95 NYSCEF: 01/22/2020




                        the      right        to    control         local       Boy        Scout    troops,           including          Plaintiff's         troop           (Troop            #366),       and



                        chartering                   organizations                   of      such           troops,         including               Defendant                   THE             ROMAN


                        CATHOLIC                         DIOCESE                    OF BROOKLYN,                        NEW YORK                       and/or         CHURCH                    OF       TH


                        HOLY               INNOCENTS.


                 27.    At      all       times       herein         mentioned,               Defendant               GREATER                  NEW           YORK                COUNCIL                    O


                        THE            BOY           SCOUTS                 OF AMERICA                        was       located         at   475       Riverside                Drive,          Suite       600


                        New           York,        NY      10115.


                 28.    At    all      times         herein        mentioned,               Defendant             ALPINE           SCOUT               CAMP            was          a not       for     profit


                        corporation                 incorporated               in    the    State      of   New        Jersey      and       by    virtue       of    the       laws      of     the     State


                       of     New          Jersey.


                29.    At     all      times         herein        mentioned,               Defendant             ALPINE           SCOUT               CAMP             was          located           at 441


                       Rte.         9W,       Alpine,         NJ     07620.


                30.    At       all     times         herein         mentioned,               Father         Joseph        Foley         was        a priest          operating                under        the


                       direction              and       control        of      Defendant            ALPINE               SCOUT               CAMP,           and       its      agents,          servants


                       and/or          employees.


                31.    At       all       times         herein        mentioned,               Defendant                FRANK                PEDONE                  was        a      scout          master



                       operating              under       the      direction          and     control        of    Defendant            ALPINE               SCOUT               CAMP,                and   its



                       agents,            servants        and/or        employees.


                32.    At     all         times         herein        mentioned,               Father          Joseph           Foley         was       an      agent,            servant             and/or


                       employee               of    Defendant               ALPINE            SCOUT               CAMP


                33.    At     all      times         herein         mentioned,                Defendant               FRANK             PEDONE                  was        an       agent,        servant


                       and/or          employee             of     Defendant               ALPINE            SCOUT           CAMP.




                                                                                      5 of 29
FILED: KINGS COUNTY CLERK 01/21/2020 09:17 PM                                                                                                                      INDEX NO. 518178/2019
NYSCEF DOC. NO. 33 Case 20-50527-LSS                                   Doc 112-1                     Filed 11/05/20                        Page RECEIVED
                                                                                                                                                72 of 95 NYSCEF: 01/22/2020




                34.    At     all   times          herein        mentioned,                Defendants             THE            ROMAN             CATHOLIC                      DIOCESE               O


                       BROOKLYN,                         NEW               YORK,                CHURCH                   OF          THE        HOLY              INNOCENTS,                        BOY


                       SCOUTS                OF         AMERICA,                         GREATER                  NEW               YORK          COUNCIL                    OF        THE          BO


                       SCOUTS                 OF         AMERICA                         and         ALPINE              SCOUT               CAMP              were         agents,         servantsy


                       employees             and/or            alter      egos      of    each       other.


                                                                                           FACTS              OF THE               CASE


                35.    Defendants             THE           ROMAN                   CATHOLIC                    DIOCESE                    OF BROOKLYN,                          NEW         YORK,


                       CHURCH                     OF           THE           HOLY                INNOCENTS,                           BOY        SCOUTS                  OF        AMERICA,


                       GREATER                     NEW YORK                         COUNCIL                   OF THE                BOY        SCOUTS              OF AMERICA                         and


                      ALP1NE                SCOUT                 CAMP's                 negligence             and          recklessness           caused            Defendant            FRANK


                      PEDONE                 to      have          access           to    children,            including              on     Diocese           and/or        camp         premises,


                      despite        their         knowledge                 that        Defendant             FRANK                  PEDONE              sexually          abused          children


                      and/or        had      the     propensity              to     sexually          abuse       children             and    therefore         are     responsible           for     the


                      injuries       that      Plaintiff               incurred          because         but     for     Defendants              THE        ROMAN                 CATHOLIC


                      DIOCESE                      OF          BROOKLYN,                             NEW            YORK,                  CHURCH                  OF         THE            HOLY


                      INNOCENTS,                        BOY            SCOUTS              OF        AMERICA,                   GREATER                 NEW YORK                    COUNCIL


                      OF THE              BOY           SCOUTS                OF         AMERICA                  and        ALPINE            SCOUT             CAMP's                negligence,


                      Plaintiff       would           not       have       suffered            the    mental           and      physical       anguish          inflicted         by     defendant


                      FRANK                 PEDONE.                       Defendants                  THE           ROMAN                    CATHOLIC                       DIOCESE                  OF


                      BROOKLYN,                         NEW               YORK,                CHURCH                  OF          THE        HOLY              INNOCENTS,                     BOY


                      SCOUTS                OF        AMERICA,                       GREATER                    NEW               YORK          COUNCIL                     OF     THE         BOY


                      SCOUTS              OF        AMERICA                       and     ALPINE               SCOUT                CAMP's             gross      negligence,             reckless,


                      wanton,        and/or          willful           conduct           supports        punitive             liability.




                                                                                     6 of 29
FILED: KINGS COUNTY CLERK 01/21/2020 09:17 PM                                                                                                                           INDEX NO. 518178/2019
NYSCEF DOC. NO. 33 Case 20-50527-LSS                              Doc 112-1                      Filed 11/05/20                           Page RECEIVED
                                                                                                                                               73 of 95 NYSCEF: 01/22/2020




                 36.    Defendant            FRANK                PEDONE               sexually             assaulted             Mr.         O'Malley           while         Mr.     O'Malley            wa


                        a     young          boy         scout          at    Defendants                  THE             ROMAN                   CATHOLIC                       DIOCESE                      OI¶


                        BROOKLYN,                        NEW             YORK,              CHURCH                       OF         THE            HOLY               INNOCENTS,                         BOY


                        SCOUTS               OF       AMERICA,                       GREATER                       NEW            YORK                COUNCIL                    OF       THE            BOY


                        SCOUTS               OF          AMERICA                     and     ALPINE                     SCOUT                  CAMP              on      their       premises.            The


                        Defendants            THE           ROMAN                 CATHOLIC                       DIOCESE                  OF BROOKLYN,                               NEW YORK

                        CHURCH                   OF         THE              HOLY            INNOCENTS,                             BOY               SCOUTS                   OF       AMERICA


                        GREATER                    NEW YORK                       COUNCIL                   OF         THE         BOY           SCOUTS                 OF AMERICA                        and


                       ALPINE              SCOUT                 CAMP             failed         to     remove            Defendant                FRANK                 PEDONE                  from         his


                       position        as a scout           master           or   to take         any          steps     to keep          the      dangerous              predator         away          from


                       the    young        men      of     the    camp.


                37.    In    approximately                 1968      and      continuing                through           approximately                    1970,         Mr.     O'Malley               was     a


                       member         of     the    Holy         Innocents           Troop            Number            366    of       the     Boy      Scouts          ("the       Troop").


                38.    In     or     about          1968          and        continuing                 until          approximately                     1970,          Defendant                FRANK


                       PEDONE,               repeatedly            and       forcefully               forced       Mr.      O'Malley               to kiss        him      and       engage           in oral


                       sex    with    him.


                39.    Mr.    O'Malley             reported         the      sexual         abuse         to Father           Joseph            Foley      of     the     Church         of     the     Holy


                       Innocents.


                40.    Mr.    O'Malley's              Boy        Scout       troop         was        associated           with         the     Church          of the      Holy        Innocents.


                41.    Mr.    O'Malley             and/or        other       members             of     the      Troop        reported            the     abuse         to the       assistant         troop


                       masters.




                                                                                  7 of 29
FILED: KINGS COUNTY CLERK 01/21/2020 09:17 PM                                                                                                                                         INDEX NO. 518178/2019
NYSCEF DOC. NO. 33 Case 20-50527-LSS                                   Doc 112-1                        Filed 11/05/20                                 Page RECEIVED
                                                                                                                                                            74 of 95 NYSCEF: 01/22/2020




                 42.    Neither          Father        Foley            nor        the      assistant          troop              masters                took     any           steps      to        remove           Pedone


                        from       his      position              of     power               and        authority                 in      the          troop,         church             or         community                  and


                        continued          to allow           him        unfettered                access          to the             children            of    the        community.


                43.     The       Boy      Scouts            of        America               claims          to        be        "a      program                for        young          people              that        builds



                        character,           trains          them             in     responsibilities                        of         participating                      citizenship                 and         develops


                        personal          fitness",           however,                    Plaintiff's              experience                     with          the         Boy         Scouts             operated              by


                        Defendants            THE            ROMAN                   CATHOLIC                          DIOCESE                         OF BROOKLYN,                                  NEW             YORK,


                        CHURCH                   OF          THE              HOLY                  INNOCENTS,                               BOY                SCOUTS                        OF           AMERICA,


                        GREATER                  NEW YORK                           COUNCIL                       OF         THE             BOY            SCOUTS                    OF AMERICA                               and


                       ALPINE              SCOUT                  CAMP               proved             to   be         a    forum               for      the     open            sexual             exploitation                of



                       young       boys       at the         hands        of       adults.


                44.    As      a result          of    the        actions            of      Defendant                  FRANK                     PEDONE,                       Mr.      O'Malley                  felt        and


                       continues          to feel       ashamed                and        humiliated.


                45.    As      such,      Plaintiff           suffered              catastrophic                  and        lifelong               injuries               as   a result             of      Defendants


                       THE         ROMAN               CATHOLIC                           DIOCESE                      OF BROOKLYN,                                    NEW              YORK,                CHURCH


                       OF THE             HOLY               INNOCENTS,                            BOY            SCOUTS                     OF           AMERICA,                      GREATER                       NEW

                       YORK            COUNCIL                    OF THE                   BOY           SCOUTS                        OF        AMERICA                        and      ALPINE                   SCOUT


                       CAMP's             negligence               in     undertaking                    a duty             to        keep         its     young            child        participants,                    of    its



                       camp(s)          and/or        parishes           safe        from          predators                and        failing           to act       in    accord            with         that    duty        by


                       allowing          Defendant                FRANK                  PEDONE,                  a known                 predator,             to     continue               his     role        where        he


                       would       continue            to    have         the       opportunity                   to    prey           on        children             and/or          failed          to     adequately


                       supervise         Defendant                FRANK                   PEDONE                  after       allowing                   Defendant                FRANK                PEDONE                   to


                       continue         to have        his     position             of     authority              and       power.




                                                                                     8 of 29
FILED: KINGS COUNTY CLERK 01/21/2020 09:17 PM                                                                                                                                         INDEX NO. 518178/2019
NYSCEF DOC. NO. 33 Case 20-50527-LSS                                         Doc 112-1                        Filed 11/05/20                               Page RECEIVED
                                                                                                                                                                75 of 95 NYSCEF: 01/22/2020




                                    AS AND                     FOR           A FIRST                  CAUSE                OF ACTION                         FOR NEGLIGENCE
                       AS     FOR            THE              ROMAN                   CATHOLIC                          DIOCESE                      OF BROOKLYN.                            NEW YORK

                 46.    Plaintiff            repeats,                 reiterates            and         realleges                each          and        every      allegation              contamed                 in    those


                        paragraphs                  of        this      Complaint                   marked           and         designated                 1. through             45.,      inclusive,              with        the


                        same        force          and         effect           as if hereinafter                   set     forth         at length.


                 47.    At    all     times             mentioned                    herein,           defendant              THE               ROMAN               CATHOLIC                         DIOCESE                    OF


                        BROOKLYN,                              NEW YORK                             owed         a duty            of     care       to    keep     the      young           boy       participants               of


                        the     boy         scouts            safe      from           sexual          abuse        by       its        Scout        Masters            and/or       other          adult      employees


                        under         its     control                 that       ultimately              befell            the      Plaintiff,              as    the      Diocese's                agents,          servants


                       and/or         employees                      were           specifically             told       about            the     abuse       and        failed      to act.


                48.    At     all     times             mentioned                    herein,         defendant               THE               ROMAN                CATHOLIC                         DIOCESE                    OF


                       BROOKLYN,                               NEW YORK                             and/or        its      agents,             servants           and/or          employees                 breached            the


                       above-stated                      duty          in       a     negligent,                reckless,                willful           and      wanton            manner,                and       caused


                       Plaintiff            to be sexually                       assaulted.


                49.    As     a result             of    the         negligence                of      defendant              THE              ROMAN                CATHOLIC                        DIOCESE                     OF


                       BROOKLYN,                               NEW               YORK                and/or          its     agents,               servants          and/or          employees,                    plaintiffs


                       were         caused               serious             personal               injuries,              emotional                 distress,           mental            pain       and      suffering,


                       mental         anguish                 and/or         physical               manifestations                       thereof,          and     other         losses,      all     of     which         have


                       not    as of         yet     been             ascertained.


                50.    By     reason          of        the     foregoing,                 Plaintiff          is entitled                 to compensatory                        damages            from       defendant


                       THE          ROMAN                     CATHOLIC                         DIOCESE                      OF BROOKLYN,                                 NEW YORK                       in such            sums


                       as a jury            would             find      fair,       just     and       adequate.




                                                                                               9 of 29
FILED: KINGS COUNTY CLERK 01/21/2020 09:17 PM                                                                                                                                                      INDEX NO. 518178/2019
NYSCEF DOC. NO. 33 Case 20-50527-LSS                                           Doc 112-1                      Filed 11/05/20                                      Page RECEIVED
                                                                                                                                                                       76 of 95 NYSCEF: 01/22/2020




                 51.     By      reason          of    the         foregoing,                 Plaintiff            is entitled                  to punitive                   damages               from         defendant                 THE


                         ROMAN                  CATHOLIC                               DIOCESE                     OF         BROOKLYN,                                 NEW YORK                           in        such       sums           as a



                        jury         would        find           fair,     just        and     adequate.


                 52.    The          amount           of     damages                   sought          exceeds                the     jurisdiction                      of     all    lower          courts            which             would


                        otherwise              have          jurisdiction.


                 53.    This         action       falls          within           exceptions                 to Article               I6        of        the     C.P.L.R.


                                                      AS AND                    FOR A SECOND                                  CAUSE                       OF ACTION                         FOR
                                      NEGLIGENCE                                  AS FOR                   CHURCH                     OF THE                      HOLY               INNOCENTS


                 54.    Plaintiff             repeats,              reiterates               and       realleges                each            and             every         allegation              contained                    in     those!


                        paragraphs               of        this          Complaint                 marked            and         designated                       1. through                 53.,     inclusive,                 with          thei


                        same         force       and         effect            as if hereinafter                    set       forth        at length.


                55.    At      all     times          mentioned                      herein,          defendant                  CHURCH                             OF THE                   HOLY                INNOCENTS


                       owed           a duty          of     care,          including                but     not     limited               to        in    locis        parentis,             to    keep         the        young          boy


                       participants               of        the          boy      scouts           safe      from             sexual            abuse             by     its       Scout           Masters             and/or            other


                       adult         employees                     under             its    control           that        ultimately                       befell            the     Plaintiff,             as        the       Church's



                       agents,          servants             and/or             employees                   were        specifically                       told     about            the     abuse         and         failed           to act.


                56.    At      all     times          mentioned                      herein,          defendant                 CHURCH                             OF         THE            HOLY                INNOCENTS


                       and/or           its      agents,                 servants              and/or              employees                     breached                     the          above-stated                     duty          in      a



                       negligent,               reckless,                  willful           and           wanton             manner,                     and       caused             Plaintiff                to     be       sexually


                       assaulted.


                57.    As      a result          of        the      negligence                  of     defendant                 CHURCH                             OF        THE            HOLY               INNOCENTS


                       and/or          its     agents,               servants                and/or          employees,                     plaintiffs                   were          caused              serious              personal



                       injuries,         emotional                       distress,           mental           pain            and      suffering,                      mental          anguish              and/or              physical


                       manifestations                      thereof,             and        other      losses,           all     of    which                have         not        as of      yet    been            ascertained.




                                                                                             10 of 29
FILED: KINGS COUNTY CLERK 01/21/2020 09:17 PM                                                                                                                                         INDEX NO. 518178/2019
NYSCEF DOC. NO. 33 Case 20-50527-LSS                                         Doc 112-1                        Filed 11/05/20                           Page RECEIVED
                                                                                                                                                            77 of 95 NYSCEF: 01/22/2020




                 58.     By        reason          of    the          foregoing,            Plaintiff          is entitled                 to compensatory                     damages           from         defendant


                         CHURCH                      OF THE                   HOLY                INNOCENTS                           in    such       sums        as a jury           would         find       fair,     just


                         and           adequate.


                 59.     By        reason           of        the       foregoing,                Plaintiff              is    entitled          to    punitive               damages           from         defendan


                        CHURCH                      OF THE                    HOLY                INNOCENTS                           in    such      sums        as a jury            would         find      fair,      just


                        and         adequate.


                 60.    The            amount           of     damages              sought            exceeds             the     jurisdiction              of    all     lower        courts        which           wouki


                        otherwise                have         jurisdiction.


                 61.    This           action       falls          within         exceptions              to Article              16 of the            C.P.L.R.


                                                                    AS AND             FOR            A THIRD                   CAUSE              OF      ACTION                 FOR
                                                                   NEGLIGENCE                           FOR              BOY          SCOUTS               OF AMERICA


                62.     Plaintiff               repeats,            reiterates           and          realleges               each         and     every         allegation             contained              in      those


                       paragraphs                  of        this      Complaint                  marked            and       designated               1. through              61.,     inclusive,            with        th


                       same             force      and        effect         as if hereinafter                     set    forth        at length.


                63.    At        all     times       mentioned                    herein,            Defendant                BOY           SCOUTS               OF       AMERICA                    owed           a duty


                       of     care,        including                  but    not      limited           to    in     locis        parentis,           to   keep         the     young       boy        participants


                       of     the        Boy       Scouts,             including             Plaintiff,             safe        from        sexual         abuse         by    its    scoutmasters                  and/or


                       other           adult      employees                   under         its      supervision                and        control,        including            on     company              premises,


                       that       ultimately                 befell         the    Plaintiff,           and        they       had      a duty         to supervise              FRANK             PEDONE.


                64.    At        all     times          mentioned                  herein,            Defendant                 BOY           SCOUTS                OF         AMERICA                      and/or        its



                       agents,            servants             and/or         employees                 breached                the    above-stated                duty        in a negligent,               reckless,


                       willful           and      wanton               manner,          and          caused         Plaintiff              to be sexually               assaulted.


                65.    As        a result          of        the      negligence                of     Defendant                  BOY            SCOUTS             OF         AMERICA                      and/or        its



                       agents,             servants                 and/or           employees,                    Plaintiff               was        caused            serious         personal              injuries,




                                                                                            11 of 29
FILED: KINGS COUNTY CLERK 01/21/2020 09:17 PM                                                                                                                                           INDEX NO. 518178/2019
NYSCEF DOC. NO. 33 Case 20-50527-LSS                                        Doc 112-1                    Filed 11/05/20                                 Page RECEIVED
                                                                                                                                                             78 of 95 NYSCEF: 01/22/2020




                        emotional                    distress,               mental             pain          and           suffering,                    mental                anguish                and/or              physica


                        manifestations                        thereof,          and       other       losses,         all     of     which           have           not     as of       yet       been        ascertained.


                 66.    By      reason          of      the        foregoing,             Plaintiff         is entitled               to compensatory                             damages               from        Defendan


                        BOY            SCOUTS                       OF       AMERICA                      in         such          sums         as           a jury             would           find       fair,          just      an


                        adequate.


                 67.    By     reason           of      the        foregoing,             Plaintiff           is also         entitled             to punitive                   damages               from         Defendant


                        BOY            SCOUTS                       OF       AMERICA                     in      such              sums         as        a jury               would            find       fair,      just         and


                        adequate.


                 68.    The         amount            of       damages              sought            exceeds           the        jurisdiction                     of    all     lower           courts           that      would


                       otherwise              have           jurisdiction.


                69.    This         action          falls      withm            exceptions             to Article              16 of         the        C.P.L.R.


                                    AS AND                  FOR A FOURTH                               CAUSE                OF ACTION                           FOR             NEGLIGENCE                                AS
                        FOR           GREATER                           NEW YORK                      COUNCIL                      OF THE                    BOY           SCOUTS                  OF AMERICA


                70.    Plaintiff             repeats,              reiterates             and     realleges             each           and         every             allegation               contained               in         those


                       paragraphs               of          this        Complaint            marked             and         designated                  l.     through             69.,         inclusive,            with         the


                       same          force      and          effect        as if hereinafter                   set    forth         at length.


                71.    At     all      times           mentioned                  herein,         defendant                  GREATER                           NEW               YORK               COUNCIL                        OF


                       THE           BOY            SCOUTS                   OF AMERICA                          owed              a duty          of        care,        including              but     not        limited          to


                       in    locis         parentis,               to    keep       the     young         boy         participants                   of       the        boy      scouts          safe        from          sexual


                       abuse          by      its       Scout             Masters           and/or          other            adult         employees                       under          its      supervision                    and



                       control,         including                  on      company              premises,             that         ultimately                befell         the     Plaintiff,             and       they         had


                       a duty         to supervise                      Defendant           FRANK                PEDONE.


                72.    At     all     times           mentioned                  herein,          defendant                  GREATER                          NEW               YORK               COUNCIL                        OF


                       THE           BOY             SCOUTS                     OF        AMERICA                      and/or             its      agents,                servants              and/or          employees




                                                                                          12 of 29
FILED: KINGS COUNTY CLERK 01/21/2020 09:17 PM                                                                                                                                          INDEX NO. 518178/2019
NYSCEF DOC. NO. 33 Case 20-50527-LSS                                           Doc 112-1                      Filed 11/05/20                            Page RECEIVED
                                                                                                                                                             79 of 95 NYSCEF: 01/22/2020




                        breached               the         above-stated                   duty         in    a negligent,                  reckless,          willful           and      wanton           manner,               and


                        caused           Plaintiff               to be sexually                   assaulted.


                 73.    As          a result         of        the      negligence                of        defendant               GREATER                       NEW           YORK              COUNCIL                       OF


                        THE            BOY               SCOUTS                  OF         AMERICA                          and/or          its      agents,             servants         and/or          employees,


                        plaintiffs             were              caused          serious               personal               mjuries,             emotional                 distress,        mental           pain             and



                        suffering,             mental                anguish         and/or               physical               manifestations                   thereof,         and     other         losses,          all     of


                        which          have          not       as of       yet    been          ascertained.


                 74.    By      reason          of       the      foregoing,               Plaintiff            is entitled                to compensatory                     damages             from      defendant


                        GREATER                          NEW             YORK               COUNCIL                         OF THE                 BOY             SCOUTS                OF        AMERICA                        in


                       such          sums       as a jury               would            find     fair,       just     and         adequate.


                75.    By       reason              of     the         foregoing,                Plaintiff            is      entitled           to    punitive              damages              from      defendant


                       GREATER                           NEW             YORK               COUNCIL                        OF        THE           BOY            SCOUTS                 OF       AMERICA                         in


                       such          sums       as a jury               would        find         fair,      just      and         adequate.


                76.    The          amount           of     damages               sought            exceeds                the     jurisdiction              of     all    lower         courts        which         would


                       otherwise               have         jurisdiction.


                77.    This         action       falls         within          exceptions                   to Article             16 of the           C.P.L.R.


                                                                        AS AND                  FOR          A FIFTH                 CAUSE              OF ACTION
                                                           FOR           NEGLIGENCE                              AS         FOR          ALPINE               SCOUT                CAMP


                78.    Plaintiff             repeats,             reiterates              and       realleges                each          and     every           allegation            contained             in     those


                       paragraphs               of        this        Complaint                 marked               and      designated               1. through               77.,      inclusive,           with         the


                       same          force      and         effect        as if hereinafter                     set        forth      at length.


                79.    At     all     times         mentioned                  herein,          defendant                  ALPINE                SCOUT               CAMP              owed        a duty       of        care,



                       including              but        not         limited        to     in     locis        parentis,              to    keep       the        young         boy       participants               of     the




                                                                                           13 of 29
FILED: KINGS COUNTY CLERK 01/21/2020 09:17 PM                                                                                                                                                        INDEX NO. 518178/2019
NYSCEF DOC. NO. 33 Case 20-50527-LSS                                        Doc 112-1                           Filed 11/05/20                                      Page RECEIVED
                                                                                                                                                                         80 of 95 NYSCEF: 01/22/2020




                         boy         scouts             safe         from       sexual               abuse            by         its      Scout          Masters               and/or            other         adult    employees


                         under         its    supervision                   and      control                that      ultimately                   befell           the      Plaintiff.


                 80.     At     all     times             mentioned                herein,                 defendant                     ALPINE                 SCOUT                       CAMP           and/or       its      agents


                         servants             and/or            employees                 breached                 the       above-stated                       duty         in      a negligent,              reckless,           willful


                         and        wanton           manner,                and    caused                 Plaintiff              to be sexually                       assaulted.


                 81.     As     a result             of       the      negligence                    of     defendant                    ALPINE                     SCOUT                   CAMP           and/or       its      agents


                         servants             and/or                employees,                 plaintiffs                  were            caused             serious             personal              injuries,          emotiona



                        distress,             mental                 pain         and          suffering,                   mental                anguish                 and/or             physical            manifestations



                        thereof,             and        other         losses,       all        of    which            have              not    as of          yet     been          ascertained.


                82.     By     reason           of        the       foregoing,             Plaintiff               is entitled                    to compensatory                            damages            from    defendant


                        ALPINE                 SCOUT                   CAMP               in        such      sums           as a jury              would             find          fair,     just     and      adequate.


                83.     By      reason             of         the      foregoing,                   Plaintiff               is         entitled          to     punitive                    damages            from     defendant


                        ALPINE                SCOUT                    CAMP               in such            sums            as a jury              would             find        fair,       just    and       adequate.


                84.     The         amount              of     damages             sought                 exceeds                the      jurisdiction                 of     all      lower          courts        which        would


                        otherwise              have           jurisdiction.


                85.     This        action         falls        within          exceptions                   to Article                   16 of         the     C.P.L.R.


                                                          AS AND                  FOR           A SlXTH                     CAUSE                   OF         ACTION                       FOR
                                             NEGLIGENT                            HIRING.                       RETENTION                               AND            SUPERVISION
                       AS     FOR        THE                 ROMAN                CATHOLIC                             DIOCESE                          OF      BROOKLYN,                             NEW YORK

                86.     Plaintiff            repeats,               reiterates            and             realleges                each           and         every          allegation               contained             in     those


                       paragraphs                  of        this     Complaint                     marked             and             designated                   1. through                85.,     inclusive,           with       the


                       same         force          and        effect        as if hereinafter                         set        forth        at length.




                                                                                           14 of 29
FILED: KINGS COUNTY CLERK 01/21/2020 09:17 PM                                                                                                                                             INDEX NO. 518178/2019
NYSCEF DOC. NO. 33 Case 20-50527-LSS                                          Doc 112-1                      Filed 11/05/20                             Page RECEIVED
                                                                                                                                                             81 of 95 NYSCEF: 01/22/2020




                 87.     Defendant                  THE                ROMAN                  CATHOLIC                     DIOCESE                      OF        BROOKLYN,                               NEW               YORK,


                         had         a duty         to     supervise               and        prevent         known            risks         of    harm          to the           children              of        its    camps          b


                         its     Scout        Masters.


                 88.     Defendant                  was          negligent               in     hiring,        retaining               and        supervising                     their        personnel,                   such        a


                         Father          Foley,           who           was       careless,           unskillful,              negligent,               reckless            and           acted         in    a willful              and


                        wanton             manner               in not          possessing             the     requisite          knowledge                     and       skill         of     a priest            who         should


                        have          properly                 been          supervising              the      Scout        Masters                to      ensure          the          safety          of        the      childre


                        participants                of     the         boy      scouts.


                 89.    Defendant                THE               ROMAN                  CATHOLIC                         DIOCESE                      OF BROOKLYN,                                      NEW YORK

                        knew          or    should               have         known            Defendant              FRANK                  PEDONE                     sexually                abused              and/or           had


                        the      propensity                to sexually               abuse          children          and       did     nothing              to stop          it.


                90.     As       a result           of         such       negligent              hiring,        supervising                  and          retention,               Plaintiff             was            caused         to


                        suffer         serious            personal               injuries,          emotional              distress,              conscious               pain          and          suffering,             mental


                        anguish            and/or              physical           manifestations                    thereof,           and        other         losses,           all     of    which             have         not     as


                       of      yet    been       ascertained.


                91.    By       reason         of        the     foregoing,               Plaintiff          is entitled           to compensatory                           damages                   from             defendant


                       THE           ROMAN                     CATHOLIC                        DIOCESE                 OF BROOKLYN,                                     NEW YORK                             in     such        sums


                       as a jury           would               find     fair,     just        and     adequate.


                92.    By       reason        of     the         foregoing,              Plaintiff           is entitled          to punitive                   damages                 from          defendant                 THE


                       ROMAN                  CATHOLIC                            D1OCESE                    OF BROOKLYN,                                  NEW YORK                             in     such             sums      as a



                       jury      would         find            fair,    just      and         adequate.


                93.    The       amount             of     damages                sought            exceeds          the    jurisdiction                   of     all     lower              courts          which             would


                       otherwise              have         jurisdiction.




                                                                                              15 of 29
FILED: KINGS COUNTY CLERK 01/21/2020 09:17 PM                                                                                                                                              INDEX NO. 518178/2019
NYSCEF DOC. NO. 33 Case 20-50527-LSS                                     Doc 112-1                     Filed 11/05/20                                Page RECEIVED
                                                                                                                                                          82 of 95 NYSCEF: 01/22/2020




                 94.    This        action        falls       within        exceptions                to Article              16 of          the     C.P.L.R.


                       AS AND              FOR A SEVENTH                                CAUSE                OF       ACTION                       FOR        NEGLIGENT                                      HIRING,
                  RETENTION                    AND            SUPERVISION                          AS       FOR          CHURCH                       OF THE                     HOLY                   INNOCENTS


                 95.    Plaintiff            repeats,            reiterates            and      realleges             each             and         every         allegation                   contamed                     in     those


                        paragraphs                of      this      Complaint             marked              and      designated                    1. through                      94.,      inclusive,                 with         the


                        same        force         and      effect        as if hereinafter                 set      forth        at length.


                96.     Defendant                 CHURCH                   OF          THE         HOLY               INNOCENTS,                                 had         a duty                to        supervise                and


                       prevent          known             risks         of harm         to the        children           of      its    camps           by       its    Scout               Masters.


                97.    Defendant                  was       negligent             in    hiring,          retaining                and         supervising                    their           personnel,                    such          as


                       Father         Foley,            who       was      careless,            unskillful,              negligent,                 reckless             and           acted            in    a willful               and


                       wanton          manner              in not        possessing              the    requisite                knowledge                 and         skill          of    a priest                who       should


                       have         properly             been        supervising                the     Scout          Masters                to      ensure            the           safety            of     the        children


                       participants               of    the      boy      scouts.


                98.    Defendant               CHURCH                      OF          THE         HOLY               INNOCENTS                              knew               or         should             have          known


                       Defendant               FRANK                    PEDONE                  sexually            abused              and/or             had         the       propensity                     to        sexually


                       abuse        children            and       did     nothing         to stop          it.


                99.    As       a result          of     such        negligent           hiring,           supervising                   and         retention,                 Plaintiff                was         caused            to


                       suffer       serious            personal           injuries,          emotional               distress,               conscious                 pain           and       suffering,                 mental


                       anguish         and/or            physical          manifestations                     thereof,            and        other         losses,             all     of     which             have            not    as


                       of yet       been       ascertained.


                100.   By    reason          of    the      foregoing,              Plaintiff          is entitled               to compensatory                          damages                   from             defendant


                       CHURCH                  OF         THE           HOLY            INNOCENTS                           in    such         sums          as a jury                     would             find     fair,       just


                       and      adequate.




                                                                                       16 of 29
FILED: KINGS COUNTY CLERK 01/21/2020 09:17 PM                                                                                                                                             INDEX NO. 518178/2019
NYSCEF DOC. NO. 33 Case 20-50527-LSS                                         Doc 112-1                         Filed 11/05/20                              Page RECEIVED
                                                                                                                                                                83 of 95 NYSCEF: 01/22/2020




                 101.     By      reason           of        the         foregoing,                Plaintiff           is         entitled          to     punitive              damages               from         defendant
            í


                         CHURCH                    OF THE                     HOLY                 INNOCENTS                           in     such        sums          as a jury            would           find     fair,     just


                         and      adequate.


                 102.    The         amount            of     damages               sought            exceeds            the        jurisdiction                  of    all     lower        courts          which          would


                         otherwise              have         jurisdiction.


                 103.    This        action        falls           within       exceptions                 to Article                16 of the            C.P.L.R.



                                          AS AND                   FOR        AN EIGHTH                          CAUSE                  OF         ACTION                   FOR NEGLIGENT
                        HIRING,                RETENTION                            AND            SUPERVISION                                AS TO               BOY          SCOUTS                  OF     AMERICA


                104.     Plaintiff            repeats,              reiterates             and        realleges              each            and     every             allegation             contamed                in      those


                         paragraphs               of        this      Complaint                  marked           and        designated                   1. through                 103.,    inclusive,              with       the


                        same          force      and         effect          as if hereinafter                   set     froth          at length.


                105.    Defendant                BOY               SCOUTS                  OF AMERICA                                had      a duty             to    supervise             and       prevent             known


                        risks        of   hann          to         the      young          boy      participants,                    including                 Plaintiff,         in    scouting             activities          by


                        its     scoutmasters.


                106.    Defendant                 BOY                SCOUTS                  OF           AMERICA                            was         negligent              in      hiring,          retaining              and



                        supervising                their            personnel,              such        as defendant                        FRANK                  PEDONE,                   who        were         careless,


                        unskillful,             negligent,                  reckless         and        acted       in      a willful               and        wanton           manner            in   not     possessing


                        the     requisite           knowledge                    and       skill      of       scoutmasters                   and        other         troop         supervisors              who      should


                        have         properly           been             supervising                the        scoutmasters                    to    ensure             the     safety        of       the    children             of


                        their     troops,          including                 Plaintiff..


                107.    Defendant                BOY                SCOUTS                   OF         AMERICA                             knew          or       should            have         known             FRANK


                        PEDONE                   sexually                   abused           and/or              had         the        propensity                     to      sexually            abuse            children,



                        including             Plaintiff,              and     did      nothing             to stop          it.




                                                                                            17 of 29
FILED: KINGS COUNTY CLERK 01/21/2020 09:17 PM                                                                                                                                 INDEX NO. 518178/2019
NYSCEF DOC. NO. 33 Case 20-50527-LSS                                    Doc 112-1                     Filed 11/05/20                          Page RECEIVED
                                                                                                                                                   84 of 95 NYSCEF: 01/22/2020




                 108.     As       a result          of     such       negligent            hiring,          supervising               and          retention,             Plaintiff            was         caused                to


                          suffer       serious             personal         injuries,             emotional             distress,           conscious               pain      and           suffering,             menta


                         anguish             and/or         physical         manifestations                      thereof,        and        other       losses,         all    of      which             have          not     as


                         of    yet     been      ascertained.


                 109.    By     reason          of    the      foregoing,             Plaintiff        is entitled             to compensatory                        damages                from         Defendant


                         BOY           SCOUTS                   OF         AMERICA                    in         such        sums       as      a jury              would           find         fair,          just         and


                         adequate.


                 110.    By     reason          of    the      foregoing,             Plaintiff            is also        entitled          to punitive               damages                from         Defendant


                         BOY           SCOUTS                   OF         AMERICA                    in      such           sums      as      a jury            would              find        fair,       just          and


                         adequate.


                111.    The         amount            of    damages              sought           exceeds           the      jurisdiction              of     all     lower            courts            that      would


                        otherwise             have         jurisdiction.


                112.    This        action       falls        within       exceptions               to Article             16 of      the     C.P.L.R.


                                                              AS AND             FOR         A NINTH                    CAUSE           OF ACTION                            FOR
                                       NEGLIGENT                           HIRING,                RETENTION                         AND        SUPERVISION                              AS          FOR
                               GREATER                      NEW YORK                        COUNCIL                     OF    THE           BOY         SCOUTS                  OF AMERICA


                113.    Plaintiff            repeats,          reiterates             and    realleges              each        and         every        allegation              contained                  in         those


                        paragraphs              of     this      Complaint              marked             and      designated               1. through               112.,         inclusive,              with          the


                        same         force      and        effect      as if hereinaRer                    set    forth       at length.


                114.    Defendant               GREATER                       NEW             YORK                 COUNCIL                     OF           THE              BOY             SCOUTS                      OF


                        AMERICA,                     had       a duty       to    supervise             and        prevent           known            risks      of     harm           to     the    young              boy


                        participants             in the         boy     scouts         by    its    Scout          Masters.


                1 15.   Defendant              was          negligent            in    hiring,         retaining              and      supervising                   their      personnel,                      such         as


                        Defendant              FRANK                   PEDONE,                who           were          careless,          unskillful,              negligent,                reckless                and




                                                                                      18 of 29
FILED: KINGS COUNTY CLERK 01/21/2020 09:17 PM                                                                                                                                       INDEX NO. 518178/2019
NYSCEF DOC. NO. 33 Case 20-50527-LSS                                        Doc 112-1                     Filed 11/05/20                             Page RECEIVED
                                                                                                                                                          85 of 95 NYSCEF: 01/22/2020




                           acted        in     a willful             and     wanton           manner            in      not      possessing                the     requisite             knowledge                 and     skil


                           of    Scout         Masters               and     other      troop         supervisors                 who         should            have      properly            been          supervising


                          the        Scout       Masters              to ensure         the     safety          of      the     children            of    the      boy     scout          troops.


                 1 I6.    Defendant                   GREATER                        NEW              YORK                   COUNCIL                     OF            THE          BOY             SCOUTS                  011


                          AMERICA                      knew           or    should          have      known              Defendant                FRANK                  PEDONE                sexually             abuse


                          and/or         had      the        propensity              to sexually            abuse              children          and       did     nothing           to stop          it.


                 1 17.    As       a result           of      such         negligent          hiring,           supervising                   and        retention,             Plaintiff           was       caused          to


                          suffer        serious             personal            injuries,          emotional                 distress,           conscious               pain       and      suffering,             mental


                          anguish             and/or          physical           manifestations                   thereof,           and         other         losses,        all   of      which           have     not     as


                          of    yet    been        ascertained.


                118.      By     reason          of    the         foregoing,          Plaintiff           is entitled              to compensatory                        damages            from           Defendant


                         GREATER                       NEW                 YORK         COUNCIL                         OF        THE            BOY            SCOUTS                OF       AMERICA                       in


                         such         sums       as a jury             would         find     fair,      just        and       adequate.


                1 19.    By        reason         of        the       foregoing,             Plaintiff            is     entitled          to       punitive             damages              from          Defendant


                         GREATER                       NEW                 YORK         COUNCIL                        OF        THE            BOY            SCOUTS                 OF       AMERICA                       in


                         such         sums       as a jury             would         find     fair,      just     and          adequate.


                I20.     The         amount           of     damages             sought         exceeds                the     jurisdiction               of     all     lower       courts          which          would


                         otherwise             have         jurisdiction.


                I21.     This        action       falls           within      exceptions              to Article                16 of      the      C.P.L.R.


                                             AS AND                  FOR A TENTH                         CAUSE                 OF ACTION                         FOR         NEGLIGENT
                            HIRING_,               RETENTION                           AND         SUPERVISION                             AS FOR                  ALPINE                SCOUT               CAMP


                122.     Plaintiff            repeats,             reiterates          and      realleges                each        and         every           allegation           contained               in     those


                         paragraphs              of        this      Complaint              marked          and         designated                1. through               121.,         inclusive,           with         the1



                         same         force      and         effect        as if hereinafter                set        forth      at length.




                                                                                        19 of 29
FILED: KINGS COUNTY CLERK 01/21/2020 09:17 PM                                                                                                                                             INDEX NO. 518178/2019
NYSCEF DOC. NO. 33 Case 20-50527-LSS                                         Doc 112-1                     Filed 11/05/20                              Page RECEIVED
                                                                                                                                                            86 of 95 NYSCEF: 01/22/2020




                 123.    Defendant                ALPINE                     SCOUT              CAMP,               had         a duty        to supervise                  and         prevent            known         risks      of



                         harm          to the          children             of    its   camps         by     its        Scout       Masters.


                 124.    Defendant                   was            neghgent            m     hinng,            retammg                 and        supervising                    their         personnel,               such       as


                         Defendant                   FRANK                   PEDONE,                   who          were          careless,            unskillful,                 negligent,                reckless            and


                         acted         in     a willful               and     wanton            manner             in     not     possessing               the     requisite                   knowledge                and     skill


                         of    Scout          Masters                and      other      troop         supervisors                  who       should            have            properly              been        supervising


                         the     Scout          Masters               to ensure           the    safety            of    the      children           participants                  of     the        boy     scouts.


                125.     Defendant                ALPINE                     SCOUT              CAMP                knew           or      should          have          known                 Defendant             FRANK


                         PEDONE                   sexually               abused          and/or           had       the         propensity            to     sexually               abuse             children          and      did



                        nothing             to stop           it.


                126.    As       a result            of       such          negligent           hiring,            supervising                and       retention,                 Plaintiff               was      caused         to


                        suffer          serious           personal               injuries,           emotional                 distress,           conscious               pain          and         suffering,          mental


                        anguish             and/or            physical            manifestations                    thereof,            and        other        losses,           all     of     which           have     not      as


                        of     yet     been       ascertained.


                127.    By      reason          of      the         foregoing,           Plaintiff         is entitled                to compensatory                           damages               from        Defendant


                        ALP1NE                 SCOUT                   CAMP             in such         sums            as a jury          would           find         fair,     just         and     adequate.


                128.    By       reason           of      the         foregoing,              Plaintiff             is     entitled           to     punitive              damages                   from         Defendant


                        ALPINE                 SCOUT                   CAMP             in such        sums             as a jury          would           find     fair,         just         and     adequate.


                129.    The      amount              of       damages              sought         exceeds                the     jurisdiction              of     all      lower           courts           which        would


                        otherwise              have        jurisdiction.


                130.    This         action       falls        within            exceptions            to Article                16 of the           C.P.LR.




                                                                                          20 of 29
FILED: KINGS COUNTY CLERK 01/21/2020 09:17 PM                                                                                                                                    INDEX NO. 518178/2019
NYSCEF DOC. NO. 33 Case 20-50527-LSS                                      Doc 112-1                        Filed 11/05/20                             Page RECEIVED
                                                                                                                                                           87 of 95 NYSCEF: 01/22/2020




                                     AS AND                  FOR         AN ELEVENTH                               CAUSE                  OF ACTION                     FOR          NEGLIGENT
                        INFLICTION                           OF EMOTIONAL                                 DISTRESS                       AS FOR BOY                        SCOUTS             OF AMERICA


                 131.    Plaintiff             repeats,            reiterates           and         realleges             each           and        every        allegation              contained              in     those


                         paragraphs                 of      this     Complaint              marked               and      designated                  1. through             130.,       inclusive,             with      th


                         same        force          and       effect      as if herein               set       forth      at length.


                 132.    Defendant                  BOY            SCOUTS              OF         AMERICA                       and      their        agents,         servants           and/or          employees


                         knew        or    reasonably                   should         have         known              that     the      failure         to properly             advise,           supervise            and


                         hire      FRANK                  PEDONE,                 the       scoutmaster                   who         sexually               abused         Plaintiff,           would          and       did



                         proximately                  result        in physical             and       emotional                 distress            to Plaintiff.


                133.     Defendant               BOY               SCOUTS              OF         AMERICA                       and       their        agents,        servants           and/or           employeed


                        knew         or reasonably                      should        have          known          that        the    sexual           abuse        and      other        improper             conduct


                        would         and       did       proximately                 result        in physical                 and      emotional              distress        to Plaintiff.


                134.    Defendant               BOY            SCOUTS                 OF        AMERICA                        had       the        power,       ability,        authority               and    duty       t


                        intervene              with         and/or        stop        the      improper                conduct           that        resulted         in    Plaintiff         being            sexually


                        abused        by        FRANK                   PEDONE.


                135.    Despite           said           knowledge,              power              and        duty,          Defendant                BOY          SCOUTS                  OF       AMERICA


                        negligently                 failed         to    act     so    as      to    stop,         prevent,              and        prohibit          the     improper              conduct            that


                        resulted          in    FRANK                   PEDONE                 sexually            abusing            Plaintiff.


                136.    By      reason         of     the      foregoing,             Plaintiff            is entitled            to compensatory                      damages              from         Defendant


                        BOY          SCOUTS                        OF     AMERICA                         in     such          sums            as     a jury        would            find        fair,     just        and


                        adequate.


                137.    By      reason         of     the      foregoing,             Plaintiff             is also           entitled         to punitive             damages              from         Defendant


                        BOY          SCOUTS                        OF     AMERICA                      in        such          sums         as       a jury         would            find        fair,     just        and


                        adequate.




                                                                                       21 of 29
FILED: KINGS COUNTY CLERK 01/21/2020 09:17 PM                                                                                                                                  INDEX NO. 518178/2019
NYSCEF DOC. NO. 33 Case 20-50527-LSS                                        Doc 112-1                      Filed 11/05/20                           Page RECEIVED
                                                                                                                                                         88 of 95 NYSCEF: 01/22/2020




                 138.    The         amount            of     damages             sought               exceeds           the     jurisdiction               of    all     lower         courts       that        would


                         otherwise              have        jurisdiction.


                 139.    This        action       falls        within          exceptions                to Article            16 of        the     C.P.L.R.


                                                            AS AND               FOR A TWELTH                                  CAUSE               OF ACTION                      FOR
                                         NEGLIGENT                             INFLICTION                          OF        EMOTIONAL                        DISTRESS                  AS FOR
                                 GREATER                      NEW YORK                           COUNCIL                  OF THE                  BOY        SCOUTS                OF AMERICA


                 140.    Plaintiff            repeats,             reiterates           and        realleges             each         and         every      allegation               contained             in     thos


                         paragraphs              of     this        Complaint               marked             and       designated                1. through             139.,       inclusive,            with      th


                         same        force       and        effect          as if herein            set      forth      at length.


                141.     Defendant               GREATER                          NEW              YORK                 COUNCIL                      OF          THE           BOY          SCOUTS                   OF


                        AMERICA                    and         their        agents,        servants            and/or          employees,                 knew      or reasonably                  should          have


                        known            that         the         failure        to       properly                 advise,           supervise             and      hire        Defendant              FRANK


                        PEDONE,                  the        Scout           Master         who           sexually            abused          Plaintiff,           would         and      did       proximatel


                        result       in physical                  and     emotional               distress           to Plaintiff.


                142.    Defendant                GREATER                         NEW               YORK                 COUNCIL                      OF          THE           BOY          SCOUTS                  OF


                        AMERICA                   and         their         agents,        servants            and/or          employees                  knew      or    reasonably               should          have


                        known           that      the         sexual           abuse         and         other         improper              conduct             would         and      did      proximately


                        result       in physical                  and    emotional               distress           to Plaintiff.


                143.    Defendant               has         the     power,            ability,           authority             and     duty         to     mtervene            with      and/or         stop         the


                        improper              conduct             that      resulted          in       Plaintiff         being         sexually            abused         by      Defendant            FRANK


                        PEDONE.


                144.    Despite         said      knowledge,                    power            and      duty,       defendant             negligently             failed         to act      so as to stop,



                        prevent,         and      prohibit               the    improper               conduct          that     resulted            in    Defendant              FRANK             PEDONE


                        sexually         abusing              Plaintiff.




                                                                                        22 of 29
FILED: KINGS COUNTY CLERK 01/21/2020 09:17 PM                                                                                                                                         INDEX NO. 518178/2019
NYSCEF DOC. NO. 33 Case 20-50527-LSS                                        Doc 112-1                       Filed 11/05/20                              Page RECEIVED
                                                                                                                                                             89 of 95 NYSCEF: 01/22/2020




                 145.    By     reason          of    the         foregoing,           Plaintiff                 is entitled              to compensatory                     damages              from       Defendant


                         GREATER                      NEW                 YORK          COUNCIL                            OF        THE              BOY          SCOUTS                    OF AMERICA                         in


                         such        sums       as a jury                 would     find        fair,       just        and       adequate.


                 146.    By      reason          of        the       foregoing,              Plaintiff               is     entitled             to     punitive            damages              from         Defendant


                         GREATER                      NEW                 YORK          COUNCIL                            OF        THE              BOY          SCOUTS                 OF       AMERICA                      in


                         such       sums        as a jury             would         find        fair,       just       and        adequate.


                 147.    The        amount           of     damages               sought            exceeds               the     jurisdiction                of    all   lower           courts        which          would


                        otherwise             have         jurisdiction.


                148.    This        action       falls           within       exceptions                  to Article               16 of        the     C.P.L.R.


                                 AS AND                   FOR            A THIRTEENTH                                CAUSE                 OF ACTION                        FOR NEGLIGENT
                              INFLICTION                          OF EMOTIONAL                                    DISTRESS                      AS FOR               ALPINE                  SCOUT            CAMP


                149.    Plaintiff            repeats,             reiterates           and          realleges               each          and         every        allegation                contamed           in     those


                        paragraphs              of        this      Complaint              marked                 and      designated                  1. through              148.,         inclusive,         with      the


                        same        force       and         effect         as if herein              set forth             at length.


                150.    Defendant              ALPINE                     SCOUT            CAMP                    and      their         agents,         servants            and/or          employees,               knew


                        or    reasonably                  should           have     known                 that      the         failure         to    properly            advise,            supervise          and      hire


                        Defendant              FRANK                      PEDONE,                   the     Scout            Master             who          sexually          abused            Plaintiff,          would


                        and     did    proximately                    result       in physical                   and       emotional                 distress        to Plaintiff.


                151.    Defendant              ALPINE                     SCOUT            CAMP                    and      their         agents,            servants         and/or           employees               knew


                        or     reasonably                 should            have       known                that          the      sexual             abuse        and        other          improper           conduct


                        would         and      did        proximately               result          in physical                  and       emotional               distress         to    Plaintiff.


                152.    Defendant              has         the      power,          ability,              authority               and       duty        to      intervene             with       and/or         stop     the


                        improper             conduct              that      resulted           in    Plaintiff              being          sexually             abused         by        Defendant            FRANK


                        PEDONE.




                                                                                       23 of 29
FILED: KINGS COUNTY CLERK 01/21/2020 09:17 PM                                                                                                                                                           INDEX NO. 518178/2019
NYSCEF DOC. NO. 33 Case 20-50527-LSS                                       Doc 112-1                            Filed 11/05/20                                 Page RECEIVED
                                                                                                                                                                    90 of 95 NYSCEF: 01/22/2020




                 153.    Despite            said        knowledge,                    power          and        duty,          defendant                  negligently                        failed         to     act      so as to stop,



                         prevent,            and        prohibit           the     improper                    conduct              that     resulted                 in     Defendant                     FRANK                   PEDONE


                         sexually            abusing              Plaintiff.


                 154.    By     reason         of       the       foregoing,              Plaintiff              is entitled               to compensatory                                   damages                from        Defendant


                         ALPINE               SCOUT                     CAMP            in such                sums           as a jury         would                 find          fair,        just      and      adequate.


                 155.    By        reason          of      the         foregoing,                 Plaintiff              is     entitled             to        punitive                 damages                  from           Defendant


                         ALPINE               SCOUT                    CAMP             in        such     sums            as a jury           would                  find      fair,            just      and      adequate.


                 156.   The         amount           of       damages              sought            exceeds                  the    jurisdiction                     of      all      lower              courts         which           would


                        otherwise             have         jurisdiction.


                157.    This        action         falls         within        exceptions                  to Article                 16 of        the         C.P.L.R.



                                                                  AS AND                FOR           A FOURTEENTH                                         CAUSE                      OF
                                                    ACTION                     FOR           ASSAULT                          AS FOR               FRANK                      PEDONE


                158.    Plaintiff            repeats,             reiterates             and         realleges                  each         and          every              allegation                    contained                in     those


                        paragraphs              of        this         Complaint              marked                 and        designated                     1. through                     157.,        inclusive,               with      the


                        same        force       and         effect         as if herein                  set     forth         at length.


                159.    Defendant                  FRANK                   PEDONE                        predatory,                   abusive,                  mampulative                               and        unlawful               acts


                        against        Plaintiff,                created          a reasonable                       apprehension                         in    Plaintiff                   of     immediate                  hannful          or


                        offensive            contact              to    plaintiff's               person,            all      of     which           were             done           intentionally                     by      Defendant


                        FRANK                PEDONE                     to plaintiff               without             plaintiff's             consent.


                160.    As     a direct         and         proximate                  result        of        the     aforementioned                            assault,                   Plaintiff            has        sustained          in


                        the                  and         will          continue              to     sustain              in     the                            serious                and           severe           psychologicali
                               past,                                                                                                       future,


                        injuries       and         emotional                distress,              mental            anguish,              embarrassment                              and          humiliation.


                161.    As     a direct            and          proximate               result            of     the          aforementioned                               assaults,               plaintiff             has       incurred


                        medical          expenses                  and       other           economic                  damages,                 and            will          now             be         obligated             to    expend




                                                                                          24 of 29
FILED: KINGS COUNTY CLERK 01/21/2020 09:17 PM                                                                                                                                                INDEX NO. 518178/2019
NYSCEF DOC.   NO.I   33 Case 20-50527-LSS                                          Doc 112-1                       Filed 11/05/20                            Page RECEIVED
                                                                                                                                                                  91 of 95 NYSCEF: 01/22/2020




                               sums          of     money                for     medical         care        and     attention             in     effort       to       cure        himself            of    his   injuries         and


                               to     alleviate              her         pain          and     suffering,            emotional                  distress,           mental             anguish,              embarrassment


                               and        humiliation.


                       162.    By      reason          of     the         foregoing,             plaintiff          is entitled            to compensatory                            damages               from        Defendan


                               FRANK                  PEDONE                       in    such          sums        a jury             would           find       fair,         just        and     adequate,               and       the



                               plaintiff,            Plaintiff,                is further            entitled       to     punitive             and     exemplary                     damages               from        Defendan


                               FRANK                 PEDONE                       in    such         sums       as a jury             would           find      fair,        just      and       appropriate               to     deter


                               said       defendant                and         others         from       future       similar          misconduct.


                      163.     The        amount             of     damages                  sought         exceeds             the   jurisdiction               of      all        lower        courts        which            would


                              otherwise               have         jurisdiction.


                      164.    This        action          falls          within         exceptions              to Article             16 of the             C.P.L.R.



                                                                               AS AND            FOR            A FIFTEENTH                           CAUSE                  OF
                                                            ACTION                      FOR      BATTERY                        AS     FOR          FRANK                    PEDONE


                      165.    Plaintiff             repeats,              reiterates            and         realleges            each         and       every            allegation               contained               in    those


                              paragraphs                of        this         Complaint              marked          and        designated                  1. through               164.,       inclusive,             with       the


                              same          force      and         effect          as if herein              set   forth         at length.


                      166.    When            Plaintiff              was           approximately                    eleven             years          old,       Defendant                    FRANK                 PEDONE


                              intentionally                  and          unlawfully                 sexually         abused            him         forcing           plaintiff             to   engage            in    oral      sex
                                                                                                                                                                                                                                           !
                              with      him         without               plaintiff's           consent.


                      167.    Defendant                FRANK                      PEDONE's                      unlawful,              abusive,              manipulative,                       and        predatory             acts


                              against          plaintiff,                amounted               to      a series           of     harmful             and       offensive                   contacts          to    plaintiff's


                              person          all    of      which              were         done        intentionally                by      defendant                 to     plaintiff          without           plaintiff's


                              consent.




                                                                                                 25 of 29
FILED: KINGS COUNTY CLERK 01/21/2020 09:17 PM                                                                                                                                          INDEX NO. 518178/2019
NYSCEF DOC. NO. 33 Case 20-50527-LSS                                         Doc 112-1                       Filed 11/05/20                            Page RECEIVED
                                                                                                                                                            92 of 95 NYSCEF: 01/22/2020




                 168.    As      a direct          and            proximate             result         of    the     aforementioned                     batteries,              Plaintiff             has     sustained             in


                         the        past,         and          will         continue             to        sustain         in    the        future,          psychological                         injury,         pain       and



                         suffering,               serious               and          severe           psychological                    and         emotional                  distress,              mental          anguishy


                         embarrassment                          and        humiliation.


                 169.    By      reason           of     the       foregoing,             plaintiff            is entitled           to compensatory                           damages               from        Defendan


                         FRANK                PEDONE                        in such        sums            a jury     would          find      fair,       just     and        adequate,               and       plaintiff         is


                         further        entitled                to punitive               and         exemplary              damages               from          Defendant                  FRANK               PEDON


                         m     such         sums            as a jury             would            find      fair,    just       and        appropriate                 to     deter         said      defendant             and


                        others         from            future         similar          misconduct.


                170.    The         amount             of     damages                 sought          exceeds          the      jurisdiction                of    all        lower          courts        which           would


                        otherwise             have           jurisdiction.


                171.    This        action         falls          within        exceptions                  to Article          16 of the             C.P.L.R.


                                                                              AS AND                  FOR           A SIXTEENTH                         CAUSE                  OF
                                                                      ACTION                  FOR           INTENTIONAL                            INFLICTION                          OF
                                                                EMOTIONAL                             DISTRESS                  AS       FOR           FRANK                  PEDONE


                172.    Plaintiff            repeats               reiterates,            and         realleges            each        and         every          allegation                contained              in      those


                        paragraphs                of        the       Complaint               marked            and        designated               1. through                 171.,         inclusive,            with      the


                        same        force         and        effect          as if hereafter                 set forth          at length.


                173.    Defendant                 FRANK                    PEDONE                  engaged            in     outrageous                conduct               towards           plaintiff           with      the


                        mtention             to    cause,              or     with       reckless             disregard            for       the      probability                of        causing,           plaintiff        to


                        suffer        severe            emotional                 distress            by     sexually           assaulting                him       while             he     was       a child            under


                        Pedone's             supervision                    and       control.


                174.    As       a proximate                      result         of     the        aforementioned                      assaults,            batteries,                and       other          violations


                        committed                 against              Plaintiff,             he       has      suffered           and         continues                to      suffer          extreme              mental




                                                                                           26 of 29
FILED: KINGS COUNTY CLERK 01/21/2020 09:17 PM                                                                                                                                             INDEX NO. 518178/2019
NYSCEF DOC. NO. 33 Case 20-50527-LSS                                             Doc 112-1                    Filed 11/05/20                              Page RECEIVED
                                                                                                                                                               93 of 95 NYSCEF: 01/22/2020




                          distress,               humiliation,                     anguish,          and      emotional               and        physical             injuries,              as     well         as economic



                          losses,           all     her         damage             in amounts              to be proven                  at trial.


                 175.     Defendant                       FRANK                      PEDONE                   committed                    the        acts           alleged                 herein              maliciously,


                          fraudulently,                        and      oppressively                  with      the        wrongful              intention             of        injuring           plaintiff          from         an


                         improper                  and          evil      motive             amounting               to    malice          and       in      conscious                  disregard            of     plaintiff's



                         rights,        entitling                 plaintiff           to recover             punitive            damages             in amounts                   to be proven                   at trial.


                 176.    By      reason             of     the         foregoing,             plaintiff        is entitled            to compensatory                             damages             from         Defendant


                         FRANK                    PEDONE                    in     such        sums        a jury         would       find       fair,       just      and        adequate,                and     plaintiff        is


                         further            entitled              to     punitive             and     exemplary                  damages             from          Defendant                 FRANK                 PEDONE


                         in     such        sums               as a jury             would          find     fair,        just     and       appropriate                   to     deter       said         defendant              and


                         others        from              future          similar            misconduct.


                177.     The       amount                 of     damages               sought         exceeds             the     jurisdiction                of     all        lower        courts         which          would


                         otherwise                 have         jurisdiction.


                178.     This      action               falls      within           the      exceptions              to Article           16 of       the      C.P.L.R.



                         WHEREFORE,                                    Plaintiff            demands          judgement                against             Defendants                    in    such         sum       as a jury


                would     find      fair,         adequate                and       just.


                Dated:     New         York,              New           York

                          January                 22,     2020


                                                                                                                                                     MERSON                      LAW,          PLLC




                                                                                                                                   By:
                                                                                                                                                     Jordan           K.        Merson
                                                                                                                                                     Attomeys                   for     Plaintiff
                                                                                                                                                     150      East         58th         Street,       34th         Floor
                                                                                                                                                     New        York,             New        York          10155

                                                                                                                                                     (212)          603-9100




                                                                                               27 of 29
FILED: KINGS COUNTY CLERK 01/21/2020 09:17 PM                                                                                                                                INDEX NO. 518178/2019
NYSCEF DOC. NO. 33 Case 20-50527-LSS                                        Doc 112-1                    Filed 11/05/20                             Page RECEIVED
                                                                                                                                                         94 of 95 NYSCEF: 01/22/2020




                  SUPREME                  COURT                OF THE                  STATE           OF         NEW YORK
                  COUNTY                 OF KINGS
                  _____                                                                               _________----------X
                  MICHAEL                  O'MALLEY,


                                                                                 Plaintiff,
                                                                                                                                                                  Index        No.:      518178/2019

                                                -against             -



                  THE                 ROMAN                          CATHOLIC                           DIOCESE                               OF                             ATTORNEY
                  BROOKLYN,                       NEWYORK,   CHURCH   OF THE HOLY                                                                                       VERIFICATION

                  INNOCENTS,                      BOY     SCOUTS    OF   AMERICA,
                  GREATER                      NEW YORK     COUNCIL   OF  THE   BOY
                  SCOUTS                OF AMERICA,                             ALPINE               SCOUT                 CAMP             and
                  FRANK               PEDONE,


                                                                                Defendants.
                 ----              ---------                                                          -----             ---------       X
                                 JORDAN                  K.     MERSON,                       ESQ.,         an     attorney            duly        admitted        to      practice        in     the      Courts

             I
                 of      New      York          State,        and         a member              of    the        firm        MERSON                  LAW,          PLLC,              attorneys            for      the


                 Plaintiff         in the        within         action,          hereby          affirms            under           penalty         of perjury:

                                                                                                                                                                                                                          I
                                 That     he       has        read        the     within         Amended                    Verified          Complaint             and       knows         the         contents



                 thereof,         and    that      the        same        is true       to his        own         knowledge,                except       as to the          matters        therein          stated


                 to be alleged             upon          information              and      belief,          and     that        as to those          matters       he believes             it to be true;


                                 That    the      sources            of   his    information                and         knowledge             are    investigations             and      records           in the



                 file;    and,


                               That      the      reason        he makes                this    verification                 as opposed             to the     Plaintiff        is that      the        Plaintiff


                 is not      within       the     County             where        the     he has       his        office.


                 Dated:        New       York,           New        York

                               January          22,      2020




                                                                                                                         JORDAN               K.    MERSON




                                                                                          28 of 29
FILED: KINGS COUNTY CLERK 01/21/2020 09:17 PM                                                                                       INDEX NO. 518178/2019
NYSCEF DOC. NO. 33 Case 20-50527-LSS                        Doc 112-1                 Filed 11/05/20              Page RECEIVED
                                                                                                                       95 of 95 NYSCEF: 01/22/2020




                     Index         No.    518178                                                               Year    2019


                     SUPREME                  COURT         OF    THE       STATE               OF     NEW YORK
                     COUNTY               OF    KINGS


                     MICHAEL                  O'MALLEY,


                                                                                           Plaintiff


                                                   -against-



                     THE           ROMAN           CATHOLIC                DIOCESE               OF     BROOKLYN,             NEW
                     YORK            CHURCH            OF      THE       HOLY          INNOCENTS,                BOY     SCOUTS
                     OF AMERICA,                    GREATER                NEW YORK                    COUNCIL        OF THE
                     BOY           SCOUTS          OF AMERICA,                    ALPINE               SCOUT     CAMP         and
                     FRANK               PEDONE,


                                                                                           Defendants.




                                              AMENDED             VERIFIED               COMPLAINT




                                                               Merson       Law,     PLLC

                                                               Attorneys    for    Plaintiff


                                                    Office and Post Office Address, Telephone
                                                      150 East 58th Street. 34th Floor
                                                         New     York,     New York            10155
                                                                  (212)     603-9100




                    To:      All    Parties




                                                                      29 of 29
